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1                       IN THE UNITED STATES DISTRICT COURT
2                 FOR THE DISTRICT OF MARYLAND/NORTHERN DIVISION
3      UNITED STATES OF AMERICA
4                                               CRIMINAL NO.
5       v.                                      L 06-0444
6      STEVEN SODIPO, ET AL                     July 7, 2008
7                       Defendants
8      ______________________________/
9                              DAY SEVENTEEN
10                      TRANSCRIPT OF PROCEEDINGS
11                BEFORE THE HONORABLE BENSON E. LEGG,
12                 UNITED STATES DISTRICT CHIEF JUDGE
13     APPEARANCES:
14     On behalf of the United States:
15     Andrea Smith, AUSA
16     Paul Budlow, AUSA
17

18     On behalf of the Defendants:
19     Kenneth W. Ravenell, Esquire
20     Kevin Jesse McCants, Esquire
21

22

23     Reported By:
24     Jacqueline Sovich, RPR, CMR, FOCRR
25     Official Court Reporter
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1                       (PROCEEDINGS)
2                 THE COURT:    Mr. Thompson, we're still waiting for a
3      juror; are we not?
4                 THE CLERK:    Yes.
5                 THE COURT:    My understanding is there are three
6      issues that counsel wish to take up.        The first has to do with
7      the proposed stipulation concerning whether RC and RH
8      hydrocodone abusers and who are unavailable.          The second is a
9      motion in limine regarding Dr. Catizone, and the third is a
10     motion for reconsideration of a court's denial of the
11     defendant's motion for a mistrial.        Neither the government nor
12     I have had an opportunity to look at the last of the three
13     motions so we'll take up the first two.
14                Mr. Ravenell, I'd be happy to hear from you on the RC
15     and RH issue.
16                MR. RAVENELL:     Thank you, Your Honor.      Your Honor, I
17     think we've laid out in the matter pretty well in the letter.
18     I'm not sure the Court has reviewed the letter.
19                THE COURT:    I have.
20                MR. RAVENELL:     We sent it before the weekend.      And I
21     think, Your Honor, we wanted to discuss this with the Court
22     obviously was traveling and was unable to do that last week.
23     The Court's suggestion we think puts us in a conundrum to
24     basically agree to some facts that we just don't know to be
25     true, first of all.
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1                 We certainly, as I've indicated to the Court, have no
2      problem with stipulating that or having the Court tell the jury
3      that these two individuals are unavailable to both parties, and
4      the Court indicated that, and that was fine.
5                 When the Court came back later, though, and suggested
6      that there was an additional point that the parties would need
7      to stipulate to, the defendants, we asked the Court to give us
8      a chance to think about it.       And, obviously, the day after none
9      of us took up the issue, and it got away from all of the of us,
10     with the testimony of Dr. Christo lasting all day.
11                But the point, Your Honor, we're asking at this
12     point, Your Honor is, asking the defense to stipulate that
13     these people were abusers, as I would point out the first thing
14     we don't know they were abusers.       What we do know is that they
15     in fact received prescription amounts of hydrocodone on some
16     occasions from New Care and other places.         None of these were
17     received, prescriptions just from New Care, but New Care and
18     other places over a period of time.        Those individuals being RC
19     and RH.
20                And if I may grab a document, there was -- let me
21     pull this out so I can give you the views.         I'm trying to find
22     the chart the government has proposed to introduce regarding
23     those two individuals, with Mr. Short, with their witnesses,
24     and now that I have those, the government has a proposed
25     exhibit that has the dates that Mr. Hackett received
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1      prescription from different pharmacies on the website.           And if
2      I look at it I see two, looks like --
3                  THE COURT:   My notes say October 24th.       October 25th,
4      15th, October 24th, October 5th and October 13th, and New Care
5      I think was the 5th and then there was the Elite Pharmacy on
6      the 13th.
7                  MR. RAVENELL:    Correct.
8                  THE COURT:   So that there was --
9                  MR. RAVENELL:    Well, those are not the only dates
10     that he received prescriptions.       He received prescriptions, Mr.
11     Hackett on many other dates, in addition, but the dates the
12     Court has certainly are the 10-5 or the I think it's 10-6
13     according to this document, we were told 10-5.          It's either
14     10-5 or 10-6, that the person received prescriptions, Mr.
15     Hackett from New Care, and then received on 10-13 from Elite.
16                 And there appear to be at least 20 or so occasions,
17     and I haven't countered them that he in fact received
18     prescriptions.    Actually, the government says 48 on their
19     chart, and I haven't counted the number.
20                 And then as to Mr. Chartrand, there appears to be a
21     11 times that he in fact received prescriptions.
22                 In my review of the prescriptions that were received
23     by these men, they're all generally within the time period of a
24     25 days or so time period that they received prescriptions.
25                 From what I observed, there wasn't any overlap in
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1      time when they were receiving prescriptions maybe one or two,
2      if I look at Mr. Chartrand back to '05 that do not come from
3      New Care.
4                  But what we basically have two men like many of the
5      individuals who are involved who are patients of the websites
6      received numerous shipments of hydrocodone over a period of
7      time.
8                  And for us to agree that these individuals were
9      abusers of hydrocodone merely because they in fact did receive
10     prescriptions and because these two individuals died, unlike
11     the others, we don't have any facts to know that they were in
12     fact abusers.
13                 What we do know on this particular occasion they
14     died, and they in fact had in their system hydrocodone.          We
15     don't know that the hydrocodone in fact came from New Care that
16     was in their system, one of the reasons we -- for all the
17     reasons we talked about.
18                 But to ask us to stipulate, Your Honor, these people
19     were abusers, what it has, the jury then able to conclude is
20     that while the defendants are agreeing that those individual
21     were hydrocodone abusers, if we look at the 26,000 patients,
22     and we look at the records for all of them, others received the
23     same amount or a similar amount of shipments of hydrocodone,
24     then the defendants must know that those people were abusers as
25     well.
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1                 And we should not be on that kind of going to the
2      limit as trying to argue all 26,000 were not abusers because we
3      have stipulated that these were, individuals were, when we just
4      don't have those facts.
5                 It would be unfair to have the defendants be in a
6      position to basically tell the jury we're concluding that
7      anyone who receives the amounts of hydrocodone that these two
8      men received, and if you look at Mr. I think it was Mr. Hackett
9      or Mr. Chartrand, he received I think about 11 shipments.
10     There will be many people who received more than 11 shipments.
11     If we're stipulating that he was a hydrocodone abuser, how do
12     then we argue to the jury that the other people were not also
13     hydrocodone abusers?     It just puts us in a position that we
14     should not be in, particularly where the Court has found that
15     the evidence of the defense are too prejudicial to be
16     introduced.
17                Additionally, to have the proposed testimony of
18     doctor, or Mr. Catizone, that the combinations are somehow
19     exceptionally dangerous would basically tell the jury the same
20     thing, these individuals, who have used these drugs, that it's
21     exceptionally dangerous, and they're now unavailable, that the
22     likelihood is that they're dead.
23                We don't know, Judge, whether these people, for
24     example, were attempting to commit suicide when they used these
25     drugs on the dates in question.       We have no clue about that.
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1      The government has not proffered any such information.             So for
2      us to say that we can conclude that they were abusers because
3      on this particular occasion they died when they had these drugs
4      in their system, is we think very unfair to us, to ask us to do
5      that just to keep out information that the Court has found
6      should not be before the jury because of the prejudicial effect
7      outweighing the probative value.
8                 What we have suggested is that we will not argue to
9      the jury that these people are in fact not abusers.              We will
10     not take a position before the jury at any point during closing
11     argument about these particular individuals.          And the
12     government can certainly stand up and argue under that scenario
13     much as they wish that they were abusers, and if they can
14     somehow make the argument from those facts that the defendant
15     should have known, I don't think there's any evidence that the
16     defendants would have had knowledge, whether they were abusers
17     or not, but they can make the argument they wish.          We would not
18     argue anything against that.
19                But I don't think we should have to stipulate that
20     they're in fact abusers and for other reasons set forth in our
21     papers, Your Honor.
22                THE COURT: Good.     Thank you, Mr. Ravenell.
23                Miss Smith or Mr. Budlow, I'd be happy to hear from
24     you.
25                MS. SMITH:    Good morning, Your Honor.
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1                   THE COURT:   If you be so kind to use the podium so
2      your voice will be properly amplified.
3                   MS. SMITH:   Yes, sir.
4                   Just one point of clarification, I don't believe the
5      Court's requested stipulation is asking that the defendants
6      includes the fact that the defendants knew it.          I think that's
7      a stretch.
8                   THE COURT:   Well, if I could just interrupt for a
9      second, there would be no stipulation that the defendants knew.
10     There would simply be to sort of the price to pay for avoiding
11     the evidence of the death of RC and RH, would be twofold.            The
12     stipulation that they were unavailable.
13                  And, two, that they were hydrocodone abusers.       But
14     there would be no stipulation concerning knowledge.
15                  MS. SMITH:   And I agree with the Court that this is a
16     compromise position.      So for the defendants to say that there's
17     no evidence that they were abusers, first of all, I disagree
18     with that, but even for the moment if that were true, this is a
19     compromise being offered by the Court.
20                  Yes.   There's evidence that they were abusers.        The
21     toxicology report, their history of ordering.          And if Dr.
22     Catizone were permitted to testify to what is obvious to him
23     when he looks at these orders, of course, that would establish
24     that they were abusers.
25                  But I think you know if that is really the
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1      defendant's complaint, and I do this at a risk to my own case,
2      because you know the government wants to present this evidence,
3      but if that's really the defense's concern, then the second
4      stipulation can state something like based upon evidence
5      evaluated by the parties which will not be brought and
6      discussed in court, it is stipulated that these men were
7      hydrocodone abusers, and it is not a stipulation that the
8      defendants knew it at the time.
9                 I mean if that's really what their concern is, that
10     would take care of it.
11                Again, the government stands by its belief that this
12     evidence is thoroughly admissible.        It reflects that these
13     prescriptions were not valid and so forth.         I won't repeat all
14     of it.
15                THE COURT:    Good.    Thank you.
16                Mr. Ravenell, do you have anything in rebuttal, sir?
17                MR. RAVENELL:     Yes, Your Honor.     Your Honor, if the
18     government is correct that there's evidence that these men were
19     abusers and will present that evidence and have already
20     presented it, then why should the defendants be required to
21     stipulate to what they can argue without the defendants arguing
22     against it?
23                I think, then, if that is the government's position,
24     if they have the evidence that they were abusers and that --
25     and we do not argue against it, then why is there a necessary
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1      stipulation?
2                  In fact, often what happens, and where the parties
3      don't want to want to stipulate, the parties will simply say I
4      will allow to you move the evidence in and make no comment.          It
5      happens all the time.      We just don't comment on the evidence
6      the government moves in.       And it's not done with a stipulation.
7                  Similar to this, the government moves into evidence,
8      they introduce their evidence, whatever evidence they have
9      before the jury, they argue it, we don't comment on it.
10                 Why should we have to stand before the jury and say
11     we stipulate to it at the risk that even if the Court doesn't
12     tell the jury that the defendants have knowledge, that the jury
13     in fact may conclude that the defendants had knowledge because
14     the defense attorney is stipulating that they were abusers.
15                 We can't control how the jury perceives this.
16                 THE COURT:    Good.   Thank you.
17                 Here's my view of it.      The government is required to
18     show that the prescriptions were invalid, meaning that they
19     were not for legitimate medical purpose, evidence that RC and
20     RH were hydrocodone abusers is probative on the validity of the
21     prescriptions as tending to show the prescriptions were not for
22     legitimate medical purpose.
23                 The fact that the two men died with this cocktail of
24     different drugs in their system is evidence of hydrocodone
25     abuse and the illegitimacy of the prescription.           So my view was
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1      that the government should not be deprived of that kind of
2      evidence unless there was a stipulation that these two people
3      were hydrocodone abusers.
4                  And the defense, and for perfectly understandable
5      reasons, is unwilling to enter into that kind of stipulation.
6      So that means that the compromise has been rejected, and the
7      government can put in the evidence of the death.
8                  There are a couple of factors that draw the sting in
9      a 403 sense from this evidence.        First of all, even if there
10     were direct evidence that the New Care hydrocodone was what
11     caused the death, my view would be that, absent the
12     stipulation, that this evidence would be admissible under Rule
13     404 and Rule 403.     But there are a couple of points that draw
14     the sting of the fact these two men died.
15                 The first is that you have this intervening
16     prescription from Elite Pharmacy on October the 13th.             So based
17     upon the testimony of the two hydrocodone abusers that we've
18     had, Mr. Ravenell has a very good argument that he can make to
19     the jury that the hydrocodone that came from New Care on the
20     fifth was probably long gone by the time Mr. Hackett died.
21                 And the same argument can be made for RC, because my
22     understanding is that he died on the 19th, and the New Care
23     prescription was on the 31st.       So that makes it either unlikely
24     or the defense can certainly argue that there's no evidence,
25     the evidence does not point to the New Care prescriptions being
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1      prescriptions that caused death.
2                   You also have the testimony of Dr. Christo that he
3      believes that hydrocodone abusers or drug abusers have been
4      able to get drugs from him.       So the government, the probative
5      value of this evidence is that it's hydrocodone, these people
6      are hydrocodone abusers, invalid prescription, and the fact and
7      circumstances of death tend to prove that they were hydrocodone
8      abusers.
9                   So, in my view, the evidence, toxicology report, and
10     the fact of death are properly admissible under 403, and the
11     defendants are certainly entitled to an exception from my
12     ruling.
13                  Let's then move on to Dr. Catizone.       The defendants
14     have filed a motion in limine which seeks to exclude the
15     testimony from Dr. Catizone concerning, one, the dangers of
16     combining hydrocodone Alprazolam and carisoprodol the drug that
17     RH and RC bought from New Care and were in their systems when
18     they died.
19                  Two, the references listed on the disclaimer that
20     appeared on the prescriptions produced by the Florida websites
21     cites.
22                  And, three, the general retail price of hydrocodone.
23                  Mr. Ravenell, I'd be happy to hear from you on all
24     three of those issues.      To me, if I could just, it's primarily
25     a notice issue, they didn't give you notice of these at least
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1      two of these three things, the dangers of combining the
2      references, the disclaimer, then they may not come in now
3      because there's not enough notice.        They might come in on
4      rebuttal, but they wouldn't come in now.         The general retail
5      price of hydrocodone that seems to be more a fact than expert
6      conclusion, but I'd be happy to hear from you on all three.
7                       MR. RAVENELL:     Your Honor, I think the Court
8       certainly hits the nail on the issue, it's mainly the issue of
9         notice and the Court indicated on this trial at least three
10       occasions now, government has given us late notice as to Mr.
11       Cloud, Mr. Mouli, and now this, and Dr. Christo and now again
12       with Dr. Catizone.     The Court is aware we'd point out on June
13       25 we got a letter from the government essentially telling us
14     they gave Dr. Catizone this prescription, defense 2, to review.
15                 THE COURT:    You mean the disclaimer?
16                 MR. RAVENELL:    The disclaimer, excuse me.       The
17     prescription that has the disclaimer on it to review.             And that
18     is all that we had.
19                 On July 1 the Court is aware we got the letter
20     regarding Dr. Christo and then on July 2 leaving here basically
21     we get this information, here we are, we're going to seek this
22     information from Catizone.
23                 After the Court had said we have this conversation
24     with the government's deadline, the Court made it clear that
25     you would not allow, you know, the late introduction of this
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1      kind of information, where the defense has not had a chance to
2      prepare for it and have not had a chance to prepare proper
3      cross-examination.
4                   We've cited to the Court for all the reasons why we
5      have not had a chance to prepare one main reason is that our
6      expert is out of the country, I believe in Shanghai or
7      something.     He's due back, you know, this week.
8                   THE COURT:   We hope he's due back.
9                   MR. RAVENELL:   I hope he's back, Judge.       He's due
10     back this week.     We can't even communicate with him to follow
11     up on these particular issues.        And it is so clear that this is
12     in violation of Rule 16(a)(1)(G) and also the violation of the
13     Court's order that you can't give late disclosures.           We don't
14     think information where the Court says it's factual testimony,
15     we still don't know what that is, Judge.         He's expected to
16     testify to the price, to the customer, retail generic
17     hydrocodone.     I have no clue what that means.
18                  And we should not be, you know, have to wait until
19     the witness testifies.       He's being called as an expert not as a
20     fact witness.     This witness does not have any information about
21     the facts of this case.      He's been called as an expert.        So as
22     far as we're concerned, all this testimony is based as an
23     expert before a jury, and that it's based on his experience and
24     expertise that he would have knowledge about the generic
25     pricing.     It's not something that the jury would know.         And,
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1      therefore, it's based on his experience and expertise and
2      training, and he's going have training experience and expertise
3      in the field that he would even know the distinction how to
4      gauge those prices.
5                  So without obviously all the reasons we've set forth
6      in the paper relying on all of those, we think this should be
7      excluded.
8                  If the Court finds at some other time in the case it
9      may become admissible, we'll deal with that at that time.
10                 THE COURT:    Good.   Thank you, Mr. Ravenell.
11                 Miss Smith?
12                 MS. SMITH:    Thank you, Your Honor.
13                 Your Honor, I just got this motion this morning.         I
14     haven't had time to digest it all, but let me just put a few
15     facts on the record.
16                 We notified the defense as early as June 23rd that we
17     had given defendant's exhibit number 2 to Dr. Catizone, a
18     prescription.     Let me back up.
19                 Actually, maybe Mr. Ravenell was right.         Maybe it was
20     the 25th.    But we did advise, it would seem to me, just like
21     Dr. Christo, that Dr. Catizone can talk about whether he'd ever
22     seen that, and what, if any, meaning it has to him.
23                 He has also, he will also, he has already been
24     identified as someone that is familiar with the laws, federal
25     and state, and he can talk about the references within that
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1      certification as to what they mean or what relevance they might
2      have to either a doctor/patient relationship or to a
3      prescription.
4                  To me I think I agree with the Court it's more of a
5      factual determination.
6                  With regard to retail prices, the government does not
7      intend to go there.
8                  Finally, with regard to alprazolam and those
9      combinations, we provided this information to the defense on
10     Thursday, which was July second.
11                 As the Court will recall, we provided similar notice
12     to the defense with regard to Dr. Christo's testimony on July
13     first.   The Court ruled that was late considering the testimony
14     was July second.
15                 The government turned around and provided this
16     information five days ahead of time, not one day ahead of time.
17     I realize it was a holiday weekend, but I can tell the Court
18     that I was exchange e-mails with defense counsel through most
19     of the weekend.
20                 I also have a hard time believing that these
21     documents that were handed to us this morning were prepared in
22     the last hour of Thursday night or the first hour this morning.
23     So to say they didn't have five days to ask us question, to
24     register this information, is just not correct.
25                 I don't think it's late the way the disclosure was
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1      with Dr. Christo.     I also believe that it's perfectly relevant
2      testimony.     It goes to the government's burden of proving the
3      validity of these prescriptions and what a pharmacist should
4      have noticed about these prescriptions.
5                   And I think that's all the points I care to make.
6                   THE COURT:   Thank you.
7                   MR. RAVENELL:   Do you wish to hear from me further?
8                   THE COURT:   No, thank you.
9                   My view is that, well, let's see.       The retail prices
10     is off the table.
11                  My view is that in order to give proper notice, the
12     government has to say that these references on the
13     prescriptions are irrelevant and meaningless because so we need
14     both things, that they're meaningless, and they're meaningless
15     because, and that that will require proper notice.           You can
16     bring back your Dr. Catizone on rebuttal.
17                  But there have to be two prongs.       One meaningless,
18     two, because and the meaningless can because can either be that
19     no such reference could ever be meaningful or it could be that
20     it's meaningless because these don't have any significance
21     within the canon of documents that define the standard for
22     pharmacy, or because they deal with Florida or because they
23     don't say what -- they don't support proposition that these
24     prescriptions are valid.
25                  But there has to be some content provided to the
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1      defense, and with respect to the hydrocodone, these other two
2      drugs, we need to -- we have to have -- it's not only that they
3      are dangerous when combined, but because --
4                   MS. SMITH:   There is a because, Your Honor.
5                   THE COURT:   Pardon?
6                   MS. SMITH:   There is a because.      It says because of
7      the synergistic effect.      That is precisely why they're
8      dangerous.
9                   THE COURT:   Now, the synergistic effect is pretty
10     general, but they need to have it more than this.           So if you
11     can give them more medicine for the synergistic effect, then I
12     will be happy, if you think you might want to have Catizone
13     back on redirect excuse me, back on rebuttal case, out of the
14     presence of the jury, you can ask him why can't these three
15     drug be combined, and what do you have to say about the
16     reference?     And then he can do it here in real time, it would
17     be out of the presence of the jury.         Mr. Ravenell would know
18     the reasons.     Mr. Ravenell doesn't have to cross-examine on
19     these points.     And the that burden would probably be filled,
20     and then you could bring him back on rebuttal.
21                  But I think that there has to be a meaningful, these
22     are my views, these are why I hold the views.          There doesn't
23     have to be as extensive in a criminal case as in a civil case
24     but he those, at least some content.
25                  MS. SMITH:   Is the Court saying I can't elicit
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1      factual information from him as opposed to opinion information?
2                   THE COURT:   Well, you can ask him have you ever seen,
3      just with Christo, have you ever seen a disclaimer like this
4      before on a prescription?         And he can say I've never seen one
5      before.
6                   MS. SMITH:   I can ask him if he's familiar with the
7      information that is contained in it and what he understands it
8      to be, but not ask him the next opinion, what is his opinion
9      about it.
10                  THE COURT:   Well, in other words, you would ask him,
11     have you read these references.
12                  MS. SMITH:   Yes.
13                  THE COURT:   And he would say, yes, I've read the
14     references, but he's not going to be able to say whether he
15     thinks the references are good or bad.
16                  But what he can't do at this point is give an opinion
17     as to the legal or pharmaceutical professional effect of the
18     disclaimers.     But he can say I've never seen anything like this
19     before.
20                  MS. SMITH:   Okay.    The government also would intend
21     to ask him about the synergistic effect in an abstract fashion
22     not in relationship to any of the particular facts of this
23     case.   I mean, again, as an expert, that's part of his
24     expertise.
25                  THE COURT:   Well, you can ask him about the perils of
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1      combining drugs, but the problem here is, with respect to these
2      specific, three specific drugs, but it's within his belief to
3      say as, you know, one of the dangers of any prescription
4      including hydrocodone is you have to have a handle on what the
5      patient was taking with hydrocodone.
6                  MS. SMITH:    Very well.
7                  THE COURT: And that can include alcohol and
8      everything else.       But it's these drugs that were found in the
9      blood stream of I forget it's RC or RH, that you would need,
10     that he can't opine about, but he can disclose here and come
11     back later so long as they have meaningful information about
12     what to expect.
13                 So, Pete, do you want to see if they're ready?
14                 (Pause.)
15                 THE COURT:    Miss Smith, are we going to start off
16     with Mr. Short who's going to be brief?
17                 MS. SMITH:    No.     Actually, we're going to start off
18     with Dr. Catizone.
19                 THE COURT:    Good.
20                 (Pause.)
21                 THE COURT:    What we'll do is the same procedure,
22     we'll go through his qualifications, proffer as to any general
23     and specific expertise, and then I'll ask whether you wish to
24     voir dire and you can certainly reserve.
25                 MR. RAVENELL:    Thank you.
                                                                                21
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1                  THE COURT:    And the same thing for Mr. McCants.
2                  MR. MCCANTS:    Thank you, Your Honor.
3                  MS. SMITH:    Your Honor, I would -- I will state that
4      a long time ago I did disclose to the defense the initial
5      charts that Mr. Short had put into evidence.          It included a
6      list of all the other drugs that were prescribed.           I did intend
7      to show him that list, and ask him what some of those drugs
8      were.   Again, in an anesthetic setting, if you will.
9                  And I just wanted to let the Court know because I'm
10     sure, once I get there, there will be an objection and if we
11     can avoid a bench conference, that would be great.
12                 THE COURT:    So drugs prescribed by New Care?
13                 MS. SMITH:    Prescriptions filled by New Care.       It's
14     one of Mr. Short's charts.       It includes the list of all the
15     other type of drugs.
16                 THE COURT:    What are they?
17                 MS. SMITH:    What is this?     This what is it for, what
18     does it do?    And I think that's again within his expertise.
19                 (Jury present)
20                 THE CLERK:    Jurors all present.
21                 THE COURT:    Mr. Thompson, thank you.      Ladies and
22     gentlemen, good morning.
23                 THE JURY:    Good morning.
24                 THE COURT:    I hope you had a wonderful weekend.
25     Sorry to detain you.      But we are ready, and the government will
                                                                                 22
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1      now call its next witness.
2                  MS. SMITH:    Thank you, Your Honor.
3                  THE COURT:    Miss Smith?
4                  MS. SMITH:    At this time the government calls Dr.
5      Carmen A. Catizone.
6                  THE COURT:    Good morning, sir.     If you would step
7      forward, please?
8                  THE WITNESS:    Good morning.
9                  THE CLERK:    Raise your right hand.
10                 (The Witness is sworn.)
11                 THE CLERK:    Please be seated.
12                 THE COURT:    If I could ask you, I thought when were
13     you buttoning your jacket, I might have seen a cell phone.           If
14     you could turn that off, it would be great.
15                 THE WITNESS:    I did.
16                 THE COURT:    Oh, great.    Thank you.
17                 THE CLERK:    If you would first adjust that microphone
18     to yourself?
19                 Good.   State your name and then spell your name for
20     the record.
21                 THE WITNESS:    Carmen Catizone, C A R M E N, C A T I Z
22     O N E.
23                         DIRECT EXAMINATION
24     BY MS. SMITH:
25     Q.   Good morning, Dr. Catizone.
                                                                               23
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1      A.   Good morning.
2      Q.   Sir, can you tell us what is your current occupation?
3      A.   I'm a pharmacist and the Chief Executive Officer of the
4      National Association of Boards of Pharmacy.
5      Q.   And tell us what is the National Association of Boards of
6      Pharmacy?
7      A.   The National Association of Boards of Pharmacy, or NABP,
8      was founded in 1904 to assist the states in protection of
9      public health.     We provide the national licensure exam for
10     pharmacists that the states require to determine if a
11     pharmacist is competent.
12                  We also handle the transfer of license from state to
13     state for pharmacists, whereby we review disciplinary history,
14     competency, and practices of the pharmacists, and then provide
15     recommendations to the states on whether or not the person is
16     qualified to transfer a license.        And then we work with the
17     states on every issue that affects the regulation of pharmacy
18     practice and what pharmacies should be doing as pharmacies.
19     Q.   And who makes up the membership of the NABP?
20     A.   Our members are the state agencies that regulate the
21     practice of pharmacy.      No individual pharmacists are members.
22     No pharmaceutical companies, no pharmacy organizations.           You
23     have to be a state agency empowered by the legislature to
24     regulate the practice of pharmacy.
25     Q.   Okay.   And is this a nonprofit corporation?
                                                                              24
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1      A.   Yes, it is.
2      Q.   Okay.   And you've probably said as much, but the objectives
3      of the NABP?
4      A.   The objective is to assist the state boards in protecting
5      public health.
6      Q.   How long, sir, have you been the director?
7      A.   I joined the association in 1985 as the Testing Director
8      and became the Executive Director in 1988.
9      Q.   That's about 20 years?
10     A.   Yes.
11     Q.   And what are the qualifications for director of the NABP?
12     A.   You have to be a pharmacist.       You have to hold an advanced
13     degree in pharmacy administration or pharmacy law.           And you
14     have to be knowledgeable and experienced in the practice of
15     pharmacy and the regulation of pharmacy practice.
16     Q.   And can you tell us, sir, what your duties are as Executive
17     Director of the NABP?
18     A.   I oversee the operations of the association on behalf of
19     the State Boards of Pharmacies, making sure the programs and
20     services provide the types of results that the states are
21     requiring, and also that the association is functioning
22     appropriately.
23     Q.   Sir, I'm going to show you what has been marked as
24     government's exhibit 94 A, it's entitled "Vitae." If you could
25     identify that, please?
                                                                              25
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1      A.   This is my current resume or vitae.
2      Q.   Okay.   I'm just going to put that there.        You hold on to
3      that.
4                   And when was that prepared, if you know?
5      A.   It's updated on a regular basis, so this was probably last
6      updated just a few weeks ago.
7      Q.   Okay.   Has anything changed recently on that?
8      A.   I had two recent media appearances one on Fox Television to
9      talk about Internet pharmacies.        One on CNN again to talk about
10     the dangers of Internet pharmacy.
11     Q.   Sir, can you tell us your educational background, which I
12     believe appears on the first paper of your CV?
13     A.   Bachelor of Science Degree from University of Illinois.
14     Also a Master of Science Degree from the University of Illinois
15     in Pharmacy Administration and Pharmacy History.
16     Q.   Is that your professional experience outlined in your
17     vitae?
18     A.   Yes, it is.    I've practiced as a pharmacist in all
19     settings, retail, for a chain pharmacy that I worked for 14
20     years, hospital pharmacy I worked there for 12 years, and
21     institutional long-term care nursing setting that I worked for
22     five years.
23     Q.   And the rest of your professional experience, pages two and
24     three, you were a research assistant?
25     A.   While I was in graduate school, I worked with the Food and
                                                                             26
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1      Drug Administration to conduct studies on medications as well
2      as on the pharmacy.
3      Q.   You were a teaching assistant?
4      A.   Yes, I was.
5      Q.   And you've already indicated you are a registered
6      pharmacist.
7                  You have also been involved as an expert witness in
8      litigation?
9      A.   Yes.
10     Q.   What kind of litigation?
11     A.   I've testified in federal criminal cases involving Internet
12     pharmacies, as well as in DEA hearings regarding the
13     registration of pharmacies, pharmacists, and physicians.
14     Q.   Have you testified in any state disciplinary actions?
15     A.   I've appeared before just about every state board of
16     pharmacy with the exception of Alaska to testify on issues, but
17     not in any hearings.
18     Q.   Now, let me ask you, sir, your honors and awards are listed
19     on page one?
20     A.   Yes.
21     Q.   Can you tell us, there's at least, there's approximately
22     eight of them, two are from the Food and Drug Administration.
23     Could you tell us what those are?
24     A.   The Food and Drug Administration awarded two awards for
25     distinguished service in assisting the FDA.          One was I think in
                                                                          27
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1      2004.   And other I think was some time in 1998 or so.
2      Q.   Now, also on your vitae are publications and chapters of
3      books, for example, I think that's on page 4.
4                   Is that correct, sir?
5      A.   Yes.
6      Q.   And the last one listed here, is called VIPPS, V I P P S,
7      creating a new regulatory model for the Internet age.
8                   Can you tell us generally what was that chapter about
9      and what kind of book?
10     A.   Sure.   The chapter was about a program that we started in
11     1997 to help consumers learn about Internet pharmacies and
12     empower consumers to make decisions about what Internet
13     pharmacies they should use for their prescription medicines and
14     standards for verified Internet pharmacy practice, and it was
15     launched in 1999, and it researches and distinguishes a legal
16     Internet pharmacy from rogue or illegal sites.
17                  That book is a pharmacy law reference that pharmacy
18     students utilize in preparing for practice and for their
19     national or state law examinations.
20     Q.   And directing your attention to page 8 of your vitae,
21     there's an additional 10 articles written, or 10, it says
22     publications.     There's approximately 10 of them are these
23     articles in magazines?      What are these?
24     A.   They represent a whole variety of either they're magazine
25     articles, articles that have appeared in the Wall Street
                                                                            28
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1      Journal or other publications and also on refereed journals
2      reviewed by somebody to make sure they're accurate and the
3      material presented is unbiased.
4      Q.   And directing your attention, sir, between pages and five
5      and seven, there are approximately 70 media appearances?
6      A.   Yes.
7      Q.   And what are those, sir?
8      A.   Those are appearances on various television programs,
9      either national or local, to talk about the practice of
10     pharmacy and more specifically most recently Internet
11     pharmacies.
12     Q.   Okay.   And are some of these repeats, if you will, some of
13     these presentations?      Like there's maybe a film that goes with
14     it and the same film is shown and then you're asked questions?
15     A.   There's been a recurring theme on these media
16     presentations, and it's been to try and help consumers identify
17     what may be illegal Internet sites and things consumers should
18     do in protect themselves in selecting or using an Internet
19     pharmacy.
20     Q.   Okay.   And just noting a couple of these media appearances,
21     ABC Nightly News; is that correct?
22     A.   Yes.
23     Q.   CNN Money Line?
24     A.   Yes.
25     Q.   Maryland Public Television?
                                                                         29
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1      A.   Yes.
2      Q.   Okay.   Several others?
3      A.   Yes.
4      Q.   Okay.   And then finally with reference to your vitae, you
5      have listed presentations, from page 9 to the end, and again
6      this document's approximately 22 pages?
7      A.   Yes.
8      Q.   Okay.   And what generally comes under the topic of
9      presentations?
10     A.   Generally, again, it's the practice of Internet pharmacy,
11     the distinctions between legal and illegal sites and then
12     advice for pharmacists, doctors, or consumers on how to become
13     more knowledgeable about Internet pharmacies and how to
14     distinguish between legal and illegal Internet pharmacies.
15     Q.   I note, sir, the earliest presentation is 1992 on here?
16     A.   Yes.
17     Q.   And moving forward in your CV, to page -- let me stop at
18     page 14.     On August second, 1996, you did a presentation of the
19     American Association of Pharmacy Technicians, National
20     Conventions.     The presentation was called the "Regulation of
21     Pharmacy Technicians, Certification versus Registration."
22                  What was that about, sir?
23     A.   Besides Internet pharmacies, we're involved in any aspect
24     that the State Board of Pharmacy might be to regulate the
25     practice of pharmacy.      So any entity or any person regulated by
                                                                              30
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1      a state board of pharmacy, a pharmacist, a pharmacy technician,
2      a wholesale distributors, we are involved in all of those
3      activities, and we provide guidance to the states on what types
4      of laws, what types of regulations should be in place, and
5      technicians is one of those persons that state boards regulate
6      and that we're very much involved with in working with the
7      states to decide safe regulations for consumers.
8      Q.   Okay.   And on page 15, there was a presentation called "New
9      Challenges in the Future of Pharmacy Practice."           And it was the
10     Drug Enforcement Administration Conference on controlled and
11     diversion of controlled substances and chemicals.
12                  What was your talk about that there?
13     A.   It was an opportunity to share with the DEA representatives
14     personnel and stakeholders from across the country what we saw
15     in new trends in pharmacy practice, Internet pharmacy,
16     electronic transmission, all of the new things we thought might
17     be appearing on the horizon and what might be needed to
18     regulate these.
19     Q.   And for the record, I don't know if I said it, it was in
20     March of 1998?
21     A.   Yes.
22     Q.   Direct your attention to page 16, you appeared in July of
23     1999 the before the Subcommittee on Oversight and Investigation
24     Committee on Commerce, U.S. House of Representatives.
25                  Do you recall, sir, what you were talking to them
                                                                              31
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1      about?      There's no title for the statement.
2      A.   We were asked to testify at that time about the dangers of
3      Internet pharmacy, what our association was doing in
4      identifying rogue and illegal sites, and that what Congress and
5      the Senate could do to pass federal legislation or put in place
6      resources for the states to deal with this issue.
7      Q.   Lower down on that page, you testified or you were at a
8      workshop presentation on cyber drugstores and Internet savvy
9      customer in 1999; is that correct?
10     A.   Yes, it is.
11     Q.   But was the topic the same?
12     A.   Yes.
13     Q.   And again in '99, in August, Internet Pharmacy Program of
14     presentation at NACDS, what is NACDS?
15     A.   NACDS is the association for chain drug stores, National
16     Association of Chain Drug Stores.        Its members consist of the
17     Walmarts, Rite Aids, Giants, CVS's and a number of local
18     smaller chains.
19     Q.   On page 17, you had a presentation on Internet pharmacies
20     in Canada in Toronto, Ontario Canada, February of 2000.
21                   What was going on there?
22     A.   Our membership includes not only the state jurisdictions,
23     but also Canada, South Africa, New Zealand, and Australia.        So
24     we share information with Canada and with those other foreign
25     jurisdictions.      And Canada was experiencing the same problems
                                                                             32
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1      that the United States was in regard to Internet pharmacies.
2      And they asked us to come up and speak about that issue and
3      share information on what we've learned here as well to learn
4      from them what was happening in Canada.
5      Q.   In March of 2000, you gave a prepared statement before the
6      Committee on Health Education Labor and Pension at the U.S.
7      Senate, the topic was e-drugs, who regulates Internet pharmacy.
8      What was the purpose of your appearance there, sir?
9      A.   Again, it involved Internet pharmacy, dangers and what
10     Congress or the Senate could do to assist the states.
11     Q.   In August of 2000, you were in Baltimore, and you gave a
12     presentation called "VIPPS or not to VIPPS."          And what was that
13     about?
14     A.   It was a question about the VIPPS program that I mentioned
15     earlier and whether or not a pharmacy should be VIPPS, and
16     again what the values of the program were, and how consumers
17     could use that program, and how the states could use it so
18     people could buy medication safely online.
19     Q.   I direct your attention on the next page, page 18, to an
20     appearance in Tokyo, Japan, "Licensure of Pharmacists in the
21     United States, History, Process, and Qualification."
22                 What brought you to Tokyo, Japan, sir?
23     A.   Because our association and the United States system for
24     licensure of pharmacists and transfer of license is quite
25     unique, and in my opinion probably the best in the world, other
                                                                            33
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1      countries and other governments invite us over from time to
2      time to talk about our system and try to assist them in
3      developing a similar system.
4                   So I was invited by the Japanese government to go
5      over there and explain to them what we do to assist competence
6      of pharmacists and how our system can be put in place in Japan
7      to achieve the same results we have here, which is significant
8      protection of the public.
9      Q.   And I see in 2002, you gave a prepared statement to the
10     Federal Trade Commission; is that right?
11     A.   Yes.
12     Q.   Okay.   In 2003, you gave a presentation, the domestic sale
13     of prescription drugs over the Internet.         It was a prepared
14     statement for the Committee on Government Reform, U.S.
15     Congressional hearing --
16     A.   Yes.
17     Q.   in Washington?
18                  Again, was that the same topic?
19     A.   Yes, the FTC presentation concerned problems that they were
20     seeing with Internet sites that were making false claims and
21     false allegations about medications and about what the sites
22     could or couldn't do.      So the FTC was analyzing a research
23     issue and asked us to send in and provide some background.
24     Q.   You've appeared before the Food and Drug Administration?
25     A.   Yes, I have.
                                                                          34
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1      Q.   Okay.   Again, another statement before the Senate Committee
2      on Commerce Science and Transportation in November '03?
3      A.   Yes.
4      Q.   You've also appeared before some state senates; is that
5      correct?
6      A.   Yes.
7      Q.   Different state legislatures?
8      A.   Yes, it is.
9      Q.   In March of 2004, sir, you gave a prepared statement for
10     the U.S. House of Representatives on Internet Pharmacy Consumer
11     Protection Act?
12     A.   Yes.
13     Q.   And National Conference of State Legislatures in April of
14     '04, "E-pharmacies Consumer Protection and Regulatory
15     Challenges"?
16     A.   Yes.
17     Q.   A prepared statement before the Secretary's Task Force on
18     importation, U.S. Surgeon General, in '04?
19     A.   Yes.
20     Q.   Again, in 2004, in July, you gave a prepared statement
21     called "Electronic Transmission of Prescription Medications and
22     State Regulation of the Practice of Pharmacy and its Impact on
23     Patient Safety" before the National Committee on Vital and
24     Health Statistics Subcommittee on Standards and Security"?
25     A.   Yes.    And all of these statements before these government
                                                                         35
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1      and house committees were at their request, because NABP
2      doesn't have involvement in lobbying or campaigning.
3      Therefore, we appear when the house, senate, or various
4      committees or the Surgeon General requests us to come.
5      Q.   And coming to the end of your excess of 150 presentations,
6      did you give testimony in March of '06 before the Maryland
7      House, Health, and Government Operations Committee?
8      A.   Yes.
9      Q.   And in July of '06, was there a prepared statement and
10     testimony before the Subcommittee on Criminal Justice Drug
11     Policy and Human Resources Regarding Pharmaceutical Supply
12     Chain Security?
13     A.   Yes.
14                 MS. SMITH:    Okay.   Your Honor, at this time, I'd
15     offer Dr. Catizone as specifically as an expert in the field of
16     pharmacy practice, pharmacy regulation, pharmacy legislation,
17     and Internet pharmacy practices, both legal and illegal.
18                 THE COURT:    So if you could say again, pharmacy
19     practice, pharmacy regulation?
20                 MS. SMITH:    Pharmacy legislation and Internet
21     pharmacy practices, both legal and illegal.
22                 THE COURT:    Good.   Is there any voir dire on
23     credentials, Mr. Ravenell?
24                 MR. RAVENELL:    Yes, Your Honor.      Thank you.
25                 THE COURT:    Good.   Thank you.    If I could just
                                                                               36
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1      explain briefly to the jury what we're doing.
2                   Dr. Catizone has been called by the government as an
3      expert witness, and you'll remember in the case I explained the
4      difference between a fact witness and an expert witness.          The
5      part of the process is evaluating whether or not any proposed
6      expert has the requisite experience, knowledge, training, and
7      education to state an opinion on the topics which have been
8      proposed.
9                   And it's customary for the other side to have an
10     opportunity to examine the expert on his qualifications, or her
11     qualifications, and that's what Mr. Ravenell is doing.
12                  Go right ahead, sir.
13                         CROSS-EXAMINATION
14     BY MR. RAVENELL:
15     Q.   Thank you, Your Honor.
16                  Good morning, sir.
17     A.   Good morning.
18     Q.   Mr. Catizone, you're aware that, in this particular case,
19     the two defendants who are on trial were active practicing
20     pharmacists?
21     A.   Yes.
22     Q.   Okay.   And you're aware of that from information provided
23     you by the government?
24     A.   Yes.
25     Q.   Now, from reviewing your resume, or vitae, am I correct
                                                                               37
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1      that you only -- you were only employed as a full-time
2      pharmacist for three years, from 1983 to 1986?
3      A.   Yes, sir.
4      Q.   All right.    And that was well before the Internet age,
5      correct?
6      A.   Yes, sir.
7      Q.   On your resume you have something listed as a DPH.           What is
8      a DPH?
9      A.   It's a designation from the State of Oklahoma of the Doctor
10     of Pharmacy Practice.
11     Q.   Okay.   And you have a DPH; is that correct?
12     A.   Yes.
13     Q.   And that DPH is honorary, correct?
14     A.   Yes, sir.
15     Q.   And when did you receive the DPH, honorary DPH?
16     A.   From the State of Oklahoma, sir.
17     Q.   You didn't complete any course work to earn that honorary
18     degree, correct?
19     A.   It was awarded by the state for my activities.
20     Q.   You didn't complete any course work --
21     A.   No, sir.
22     Q.   -- to that earn that honorary degree, correct?
23     A.   No, sir.
24     Q.   And you said that degree was given to you, honorary degree,
25     by the Oklahoma State Board of Pharmacy?
                                                                         38
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1      A.   I said it was an honorary designation, sir, by the State of
2      Oklahoma.
3      Q.   So it's not even a degree?
4      A.   No, sir.
5      Q.   It's just a designation by the Board of Pharmacy?
6      A.   By the State of Oklahoma, the powers of the Board of
7      Pharmacy.
8      Q.   But it's actually Oklahoma State Board of Pharmacy, not the
9      State of Oklahoma, such as the governor, who gave that
10     designation, correct?
11     A.   Yes, sir.
12     Q.   All right.    And you received that designation in 2001?
13     A.   Yes, sir.
14     Q.   And the Oklahoma State Board of Pharmacy is not an
15     institution of higher learning, correct?
16     A.   No, sir.
17     Q.   You do not have a doctorate, correct?
18     A.   Yes, sir.
19     Q.   Yes, what?    You do or do not?
20     A.   Yes, I said it's correct, I don't have doctorate.
21     Q.   Okay.   I noticed that the DPH, that you talked about that's
22     on your resume, you're aware of something called a Doctor of
23     Pharmacy Degree, correct?
24     A.   Yes, sir.
25     Q.   And what is a Doctor of Pharmacy Degree?
                                                                            39
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1      A.   It is the educational requirement for pharmacists now to
2      become licensed in the states.
3      Q.   And you have never completed a doctor or earned a Doctor of
4      Pharmacy Degree, correct?
5      A.   No, sir.     Or, correct, yes.
6      Q.   If I understand you correctly, you did not go to medical
7      school, correct?
8      A.   No, sir.
9      Q.   And you're not an MD?
10     A.   No, sir.
11     Q.   And you can't practice medicine, correct?
12     A.   Correct.
13     Q.   You can't write a prescription for a patient, correct?
14     A.   Correct.
15     Q.   And, in fact, you have never written a prescription for a
16     patient, correct?
17     A.   No, sir, I have.
18     Q.   You say you have?
19     A.   Yes.
20     Q.   All right.     So while you're not a doctor, you've written a
21     prescription for a patient?
22     A.   Yes.
23     Q.   And is that acting under a doctor?
24     A.   Yes.
25     Q.   So you were working for a doctor?
                                                                         40
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1      A.   I was working in collaboration with a doctor.
2      Q.   Okay.   And you wrote a prescription because a doctor told
3      you to write the prescription?
4      A.   The doctor consulted with me, and we jointly wrote the
5      prescriptions.
6      Q.   Okay.   And you don't hold a law degree, correct?
7      A.   Correct.
8      Q.   Have you ever taught law?
9      A.   No, sir.    Yes, I have taught classes at Midwestern
10     University, University of College Pharmacy as a guest lecturer.
11     Q.   As a guest lecturer?
12     A.   Yes.
13     Q.   But you were not on the faculty?
14     A.   I was adjunct faculty.
15     Q.   When is the last time you filled a prescription?
16     A.   Last time I filled a prescription was ten years ago.
17     Q.   And you indicated that you're with the National Association
18     of Boards of Pharmacy, correct?
19     A.   Yes, sir.
20     Q.   And that has been in existence for how long?
21     A.   Since 1904, 104 years, sir.
22     Q.   And your role is, as executive director, and you've been in
23     that position for the last 20 years, correct?
24     A.   Yes, sir.
25     Q.   And before that you served in another position with the
                                                                         41
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1      NABP?
2      A.   Yes, sir.
3      Q.   And what was that position?
4      A.   I was test and measurements director, oversaw the licensure
5      examinations.
6      Q.   How long did you serve in that position?
7      A.   Three years.
8      Q.   So you've been an administrator for the last 23 years?
9      A.   Yes, sir.
10     Q.   All right.     Now, on your CV or your resume, you have an
11     unusual section entitled "Expert Witness Litigation."
12                 How many times have you testified against pharmacists
13     or pharmacies?
14     A.   In hearings or?
15     Q.   Hearings, courtrooms, how many times?
16     A.   Three in federal cases, and three DEA hearings.
17     Q.   I'm sorry?
18     A.   A total of six, sir.
19     Q.   And tell the jury what you list on your CV as your expert
20     witness litigation experience?
21     A.   Is there a particular page, sir, you're referring to?
22     Q.   Yes.   Page three, at least my copy's page three, seems like
23     Miss Smith may have a different copy.
24                 MS. SMITH:    No.
25     A.   Drug Enforcement Administration Trinity Healthcare, May 31,
                                                                           42
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1      2006.
2                   U.S. Attorney's Office, District of Minnesota,
3      November 15, 2006.
4                   Drug Enforcement Administration, April 10th, 2007.
5                   Drug Enforcement Administration Grand Pharmacy, April
6      16th, 17th, 2007.
7      Q.   And are there others that did you not list on your resume
8      where you testified for the government?
9      A.   Yes, sir.
10     Q.   And how many others?
11     A.   There's two others, I believe.
12     Q.   Okay.   I don't see on that resume that you ever testified
13     for a pharmacy or pharmacist?
14     A.   Correct.
15     Q.   Have you ever done so?      Have you ever testified for a
16     pharmacy or pharmacist?
17     A.   Your Honor, just, I'm trying to understand the scope of the
18     question.    I've testified for pharmacists and pharmacies, but
19     not in regard to Internet.
20     Q.   All right.    As to the Internet, have you ever testified --
21     A.   No.
22     Q.   -- for a pharmacy or pharmacist?
23     A.   No, sir.
24                  MR. RAVENELL:   Now, may counsel approach, Your Honor?
25                  THE COURT:   You may.
                                                                              43
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1                  (At the bench)
2                  MR. RAVENELL:    I object to this witness being called
3      as an expert, first in the area of Internet pharmacy practice,
4      legal and illegal.
5                  I have reviewed this witness's testimony from prior
6      trials, and what he tends to do is throughout his testimony he
7      determines that, you know, Internet sites are legal or illegal,
8      and it runs throughout his testimony.         It is just rank and
9      improper testimony.      I don't think any witness is an expert in
10     illegal or legal pharmacies.       And Internet pharmacy being
11     practices legal or illegal, that it's going to be a question
12     for the jury to decide at some point whether this particular
13     Internet site was legal or illegal.
14                 There's been nothing that this witness has given in
15     his voir dire that suggests that he is an expert and whether a
16     pharmacy is illegal or legal, or he has in fact indicated that
17     he has appeared on TV shows and talked about whether certain
18     pharmacy, the whole issue of Internet pharmacy because he's
19     involved in this VIPPS certification process with the NABP.
20     It doesn't make him an expert that he's called to speak on TV
21     about it.
22                 There's been no course that he's taught on Internet
23     pharmacy and whether it's illegal or legal.
24                 He's done presentations.      He's not held any position
25     with any university where he's given any such information.
                                                                              44
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1                  So we strongly object to this witness giving
2      information and being designated as an expert in Internet
3      pharmacy practice, legal and illegal.
4                  We obviously object to him being designated in
5      pharmacy legislation.      The fact that he has been asked to
6      testify before various house or senate committees does not make
7      him an expert in that area.       He's mainly a person who has given
8      information to the house, but it doesn't make him an expert,
9      and there's nothing that he said that would indicate that he is
10     more expert than anyone else who is asked to give information.
11     The voir dire in fact does not establish that.
12                 The issue of pharmacy practice, while certainly the
13     jury will be able to determine whether he's an expert in that
14     area based on his lack of any real pharmacy practice in the
15     last 20 something years and as a pharmacy regulation, I'm not
16     even sure what that means, pharmacy regulation.           So I'd ask for
17     a proffer on what that means before the Court can somehow rule
18     that he's an expert.
19                 THE COURT:    Good.   And do you adopt that argument?
20                 MR. MCCANTS:    I do.
21                 THE COURT: Good.      My view is that I haven't heard
22     from the government yet, but there is no subspecialty
23     concerning Internet pharmacy practice whether it's legal or
24     illegal and pharmacy legislation as I understand it.
25                 There are two issues.      One is what are the standards
                                                                                45
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1      pharmacy practice, and the standards of pharmacy practice
2      encompass pharmacy regulation because pharmacists fill
3      prescriptions who are doing a matrix of both state and federal
4      laws so you have to know what the law is in order to be a
5      pharmacy practioner.
6                  So plus the government has stated that the same
7      standards that apply to all pharmacists when filling
8      prescriptions also apply to Internet prescriptions being
9      filled.    So he can talk about the Internet, and ins and outs of
10     the Internet.     But I don't believe that he can accept somehow
11     as an Internet pharmacy here, because I don't think -- that's
12     not a recognized discipline.       But he certainly can talk about
13     pharmacy practice, pharmacy regulation, that encompasses
14     everything.
15                 MS. SMITH:    Your Honor, two things.      I can certainly
16     develop his expertise in the VIPPS field, how he created
17     program and what it's all based on.         And I was saving that for
18     his testimony, but if the Court needs it to see that he is an
19     expert in Internet pharmacy, Internet pharmacy as the
20     defendants have argued many, many, times, is the wave of the
21     future, and presents new wrinkles.        It is a specialty.      I think
22     that has been the defendant's argument is that everyone just
23     doesn't understand, and I would like the opportunity to voir
24     dire him a little bit more on that topic and then have the
25     Court make that decision.
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1                  THE COURT:    If I could just --
2                  MR. RAVENELL:    I'm sorry.
3                  THE COURT: He can testify about Internet pharmacy and
4      the wrinkles of it.
5                  MS. SMITH:    All right.
6                  THE COURT:    And the challenges and how the pharmacy
7      should regulate under the Internet, but my understanding is
8      that the government's position has always been that somehow
9      that they were filling prescriptions generated over the
10     Internet is subject to the same standards as filling a
11     prescription when somebody walks into a Rite Aid.           It's the
12     same inquiry, and there is not a separate standard that applies
13     to the Internet, but that all pharmacists are bound by the same
14     requirements to fill valid prescriptions.
15                 So and the government's argument has been that the
16     Internet needs to operate the way the rest of the world
17     operates.
18                 MS. SMITH:    Very well.
19                 THE COURT:    So I will accept him in pharmacy practice
20     and pharmacy regulation, which includes the legislative wrinkle
21     in which pharmacies exist, and he can certainly testify as to
22     how pharmacies should exist in the Internet.
23                 And I've reviewed, simply incorporate by reference
24     the categories that I've discussed with counsel earlier as to
25     what I consider to be appropriate.
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1                  Why don't we do this, let's just take a recess until
2      11:00 and then we'll plow on.
3                  MR. RAVENELL:    Thank you, Your Honor.
4                  MS. SMITH:    Thank you, Your Honor.
5                  (Open court)
6                  THE COURT:    Good.   Let's take a recess, ladies and
7      gentlemen, until 11:00, and then we'll continue.
8                  (Recess.)
9                  THE COURT:    Please be seated, unless you wish to
10     stand for the jury.
11                 (Pause.)
12                 (Jury present)
13                 THE CLERK:    Jurors all present.
14                 THE COURT:    Thank you, Mr. Thompson.      Please be
15     seated.
16                 Ladies and gentlemen, I have will accept Mr. Christo
17     as --
18                 MS. SMITH:    Dr. Catizone.
19                 MR. BUDLOW:     It's not just me.
20                 THE COURT:    It was a long weekend.
21                 MR. RAVENELL:    Your Honor, may counsel approach just
22     briefly?
23                 THE COURT:    Yes, you may.
24                 (At the bench)
25                 MR. RAVENELL:    Your Honor, I'm sorry.
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1                  THE COURT:    It is Mr. Catizone.
2                  MR. RAVENELL:    I was going to say that.
3                  MS. SMITH:    All right.    That's fine.
4                  THE COURT:    Because he doesn't have a doctorate, just
5      has --
6                  MS. SMITH:    Very well.
7                  MR. RAVENELL:    That's why I was approaching.
8                  (Open court)
9                  THE COURT: Ladies and gentlemen, I'm accepting Mr.
10     Catizone as an expert in the fields of pharmacy practice and
11     pharmacy regulation.
12                 I anticipate that Mr. Catizone will discuss the laws
13     and state opinions about the laws that govern the practice of
14     pharmacy.
15                 At the end of the case, I will be instructing you as
16     to the law that will govern your deliberations, and you will
17     match up the law with the facts as you find them.           So the law I
18     give you will match the law with the facts as you find them and
19     then you'll reach a verdict.
20                 The reason that I will permit an expert witness to
21     discuss the law is that the practice of a regulated field, such
22     as pharmacy, the pharmacy is practiced in a regulatory matrix,
23     so the jury needs to understand what that matrix is.
24                 You must still evaluate whether you will accept or
25     reject the testimony of any expert in or in part, and if when
                                                                              49
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1      it comes to the law, if I were to instruct you at the end of
2      the case in a way that's inconsistent with the testimony of an
3      expert, then you must be bound by my instruction as to what the
4      law is.
5                  So if there's -- it's a long way of saying that
6      pharmacy's a regulated activity.        The jury needs to understand
7      the regulations.     I'm going to permit the experts to testify as
8      to those regulations.      You must weigh and assess the testimony
9      of the expert and decide whether you accept it or reject it.
10                 And since I'm the ultimate arbiter of the law, if the
11     expert were to testify in a way that conflicts with my
12     statement as to what the law is, then you're bound by what I
13     say.
14                 Good.   Miss Smith?
15                 MS. SMITH:    Thank you, Your Honor.
16     BY MS. SMITH:
17     Q.   Sir, let me just ask you, you were asked moments ago when
18     the last time you practiced full-time as a pharmacist?
19     A.   Yes.
20     Q.   And when was that?
21     A.   It was about ten years -- I was on a three-year period but
22     I practiced as a pharmacist part-time up until ten years.         Part
23     of my requirements a testing director was to work as a
24     part-time pharmacist to stay active in the field of pharmacy.
25     Q.   And let me also ask you, you were asked about your
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1      testimony in other matters.       Have you always only represented
2      the government or the state board authority that is prosecuting
3      or bringing the action?
4      A.   No.   We've testified against boards of pharmacy even
5      against states when we felt the regulation was unfair or the
6      regulation did not hold the pharmacist to the scope of
7      responsibility or the pharmacist wasn't properly regulated.
8      Q.   And what other activity have you been involved in, in terms
9      of litigation where you've taken a position against a state
10     board or a federal board?
11     A.   Over the years, numerous hearings where we've opposed the
12     action of a state board of pharmacy or if a state board of
13     pharmacy has disciplined a pharmacist, we've spoken on behalf
14     the pharmacist, if we felt that the pharmacist was wrongly
15     disciplined or if the regulation was unfair.
16                 We've also submitted amicus briefs, or friends of the
17     Court, in litigation in which the Board of Pharmacy we felt
18     didn't take the appropriate steps or the regulation wasn't
19     appropriate to protect the public.
20     Q.   And amicus brief or friends of the Court, Your Honor, I
21     would just like to establish for the record that it's a legal
22     paper filed by someone who's not a party to litigation who
23     chimes in on their opinion to the extent a Court would want to
24     hear from them.     Is that a nice inartful way of saying that?
25                 THE COURT:    That's essentially correct.
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1                   Ladies and gentlemen, if there is an issue that's
2      before the Court, and it usually happens either before one of
3      the appellate courts or before the Supreme Court, then any
4      interested group can file what is called a friend of the Court
5      brief.     It is usually not a brief that is solicited by the
6      Court.     It's usually a brief that is filed by somebody with an
7      interest in the outcome, and the Court can accept the brief and
8      read it, and give it whatever weight the Court feels it's
9      justified.
10                  MS. SMITH:   Thank you, Your Honor.
11     BY MS. SMITH:
12     Q.   Sir, let me ask you, tell us a little bit about the history
13     of pharmacies, when did they first start?          Where did they come
14     from?
15     A.   In the prior to the 1800, pharmacy was practiced like most
16     other trades.     You simply found somebody that was making
17     medications who worked under an individual as an apprentice.
18     As you learn how to prepare medications, you worked and
19     dispensed those or gave those to patients.          There was no formal
20     regulation.    There was no system.      There was no checks or
21     balances on whether or not medication was right or even wasn't
22     harmful.
23     Q.   And I remind you to keep your voice up.         And who were
24     typically the people that were dispensing medications?
25     A.   Typically the people dispensing were either the barbers or
                                                                             52
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1      doctors, because back in those times, barbers performed
2      surgery, and they needed some sort of medications for that
3      process, and these were the primary people who gave medications
4      to people.
5      Q.   And it may seem obvious, but why did it change?
6      A.   There was so much problems with that, and they needed a
7      check and balance system, and they needed to make sure that the
8      people that were dispensing medicines weren't simply dispensing
9      snake oil medicines or something that was actually harmful to
10     people.
11     Q.   So when were some of the earliest regulations?
12     A.   In the late 1800s, Louisiana was the first state to
13     actually regulate and require pharmacists to go through some
14     sort of formal training and distinguish and separate barbers
15     and doctors and pharmacists and say these are the individuals
16     to be responsible and they need to be competent in order to
17     dispense those meds.
18     Q.   Has the purpose, the goal of the regulations and the laws
19     involving pharmacy, has it always been the same?
20     A.   The goal has always been the same, to make sure the patient
21     is protected and to make sure that the pharmacist serves as a
22     gatekeeper in that process.       That's the last check before that
23     patient gets the medication so the pharmacist is there to make
24     sure what the doctor is writing is correct and won't harm the
25     patient, and to make sure that the patient takes the medication
                                                                          53
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1      as they should.
2      Q.   Now, directing your attention, sir, to the 21st century.
3      Are you familiar with both the federal and Maryland laws as
4      they exist with regard to pharmacy?
5      A.   Yes.
6      Q.   Or actually with regard to controlled substances?
7      A.   Yes.
8      Q.   Okay.   Now, specifically, the Controlled Substances Act is
9      the federal law that regulates controlled substances?
10     A.   Yes.
11     Q.   Okay.   And that is Title 21 841?
12     A.   Yes.
13     Q.   And do you recall, sir, generally, I'm not asking you
14     specifically, how that statute begins and what it says?
15     A.   It's to protect people from narcotics and controlled
16     substances.
17     Q.   Okay.   But do you recall the opening language?
18     A.   No, I don't, I'm sorry.
19     Q.   Okay.   And the Maryland statute, are you familiar with
20     criminal statute Maryland 5-902?
21     A.   Yes.
22     Q.   And you've had an opportunity to look at that?
23     A.   Yes, I have.
24     Q.   Okay.   What observations have you made about the Maryland
25     statute and the federal statute?
                                                                               54
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1      A.   Two observations.       One, the Maryland statute is almost
2      exactly the same as the DEA statutes.         In fact, it's
3      word-for-word verbatim the same language.
4      Q.   Okay.   Now, specifically, what is the difference between a
5      statute and a regulation?
6      A.   A statute is generally what's passed by the legislators in
7      a state.     It's a law that's passed and says we're going to
8      regulate this area or this is something that we need to look at
9      as a state and for people to then be protected or to assist
10     people in that state, a regulation that is charged to a Board
11     of Pharmacy or some other state agency to implement that law,
12     and to design the parameters in how that should be regulated.
13     Q.   Sir, I'm going to ask you to look at -- this is the
14     Maryland pharmacy laws.       And I'm going ask you to look at
15     5-902, and if you just look at the opening language of that
16     statute, do you recall that?
17     A.   Yes, I do.
18     Q.   And what is the opening language?
19                  MR. RAVENELL:    Objection, Your Honor.
20                  THE COURT:   I'll sustain the objection.
21                  MR. RAVENELL:    May counsel approach?
22     Q.   Do you recall, sir, specifically between the federal
23     statute and the Maryland statute the similarities and the way
24     they are structured?
25                  MR. RAVENELL:    Objection, Your Honor.      May counsel
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1      approach?
2                   THE COURT:   You may.
3                   (At the bench)
4                   THE COURT:   Yes, sir.
5                   MR. RAVENELL:    Your Honor, this witness is -- to have
6      the witness do your job, to advise the jury what the law is.
7      It is one thing for this witness to testify about his
8      experience and expertise, but to have the witness basically, A,
9      as the Court, wanted to read the statute and now to basically
10     interpret the statute is just not proper for this witness.          The
11     Court's going to at some point read the law.
12                  THE COURT:   I'm looking at the list of what Mr.
13     Catizone can testify to, his background, training, and
14     experience, what the law requires of a pharmacist when he fills
15     a prescription.
16                  He's got to follow both state and federal law.       The
17     definition of the doctor/patient relationship, the definition
18     of a scope of professional medical practice.
19                  What actions fell outside the scope.       What
20     constitutes a legitimate medical purpose within the medical
21     community.     Standard practices within the pharmacy industry.
22                  Things pharmacists generally look for when attempting
23     to verify legitimacy of prescriptions.
24                  The significance of receiving a large number of calls
25     from agitated patients.
                                                                           56
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1                  The significance of other flags of illegitimacy,
2      doctor/patient or his doctor, the flag of legitimacy and
3      geographic distance, et cetera.
4                  The actions of pharmacist can take to verify a
5      prescription about what he has concerns.
6                  Whether a type of claim that the Florida website
7      companies placed on the prescriptions were typical or atypical,
8      whether in his opinion a prescription is filled is so valid.
9                  Whether a reasonable pharmacist would have known that
10     the prescriptions filled in this case were valid.
11                 He may not testify about his personal practices
12     unless he'll testify that the practice is representative of the
13     industry standard.
14                 And he can't testify about whether Mr. Sodipo and Mr.
15     Nwaehiri individually should have known that the prescriptions
16     that they were filling were valid.
17                 My understanding was that Mr. Catizone would talk
18     about the law as it relates to the facts, incidentally as to
19     the facts, and then wouldn't be going through legislation and
20     describing the legislation.       He can testify that the general
21     purpose of the law is to protect the citizens and make sure
22     that they're getting the right medicine and this and that, and
23     I think it's inappropriate to have him go through the law and
24     read the language.
25                 He can testify to the law because it's essential for
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1      him to say what the legal effects of certain facts are, but
2      he's not to give a legal discourse.
3                  MS. SMITH:    I wasn't going to ask him for a legal
4      discourse, Your Honor.      I was asking him to explain both the
5      Maryland and the federal statutes before we -- one question
6      before we move to the regs is that they are statutes of
7      prohibition.    Nothing is allowed.      They both start unless
8      authorized by law.
9                  And so that authorization is then found in the
10     regulations.    This is purely mechanical.       And I believe it is
11     -- I mean, I can do it in this order or go back to it after
12     he's testified to something.       Then I can go back and have him
13     explain how he arrived at that.
14                 But it just seems a little bit more orderly to just
15     do it in this order.      That's all I'm doing.
16                 And I'm going to discuss 1306.4, which is the federal
17     regulation, the CFR, which is identical in language to the
18     Maryland regulation.      And I was going to have him establish
19     that, you know, essentially what one means the other means.
20     And that's all I'm doing.       I'm not going to ask him for an
21     overview on the law.
22                 MR. RAVENELL:    Your Honor, having the witness say
23     that the statute is one of prohibition is a legal conclusion
24     that this witness should never be telling the jury.           In fact,
25     when the Court instructs the jury, the Court doesn't say this
                                                                              58
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1      is a statute of legal prohibition.        When you give the law,
2      you're not going to even use that term there.          I don't know
3      I've had a court ever say the statute is of legal prohibition.
4      The Court tells the jury what the law is.
5                  Now this witness is going beyond what the courts even
6      tell the jury about the law.
7                  MS. SMITH:    I don't know, Your Honor, how I can
8      explain what the obligation of the pharmacist is without just
9      very superficially starting with the statute, moving to the
10     regs and then moving to the facts.
11                 THE COURT:    Well, he can testify, but you have to
12     follow the law, state law, you have to follow the federal law.
13     You have to follow the regulations, that you must fill a
14     prescription within the confines of the law.
15                 MS. SMITH:    And he can't tell them what the law --
16                 THE COURT:    Yes.   You have to have a legitimate
17     medical purpose.     It has to be within the scope of professional
18     medical practice, and it has to be that the doctor/patient
19     relationship.     But he can't testify that it's, you know, a
20     statute of prohibition.      But he can certainly define these
21     terms.   He's got to -- a pharmacist has to follow federal law,
22     state law, and then we're going to get into the terms it has to
23     be a valid medical prescription.        What's a valid prescription.
24                 MS. SMITH:    All I'm seeking to do is give a framework
25     for that testimony.
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1                   THE COURT:   But I would prefer if you just went right
2      into it without having him talk about reading the statutes and
3      talking about the statute of prohibition.          My understanding is
4      there are terms that he must establish, so I think you need to
5      go right to it.
6                   (Open court)
7      BY MS. SMITH:
8      Q.   I don't remember if I asked you the difference between a
9      statute and a regulation.
10     A.   Yes, you did.
11     Q.   Okay.   And what did you tell us?
12                  MR. RAVENELL:   Your Honor, the witness has already
13     testified.
14                  THE COURT:   Well, we're getting back into it, so I'll
15     permit it.
16                  Go ahead, Miss Smith.
17     A.   The statute is a law that's passed by the legislature very
18     similar to if a state the speed limit on expressways or
19     highways is 55 miles an hour, the regulations are the
20     implementing requirements for that law or regulation, so that
21     if there was construction on a highway and the speed limit had
22     to be less than 55, there's a state agency empowered by the
23     legislature to put those requirements into place and to amend
24     that and make those changes so it's safe for the public.
25     Q.   Now, are you familiar with the federal, the Code of Federal
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1      Regulations, CFR 1306.4?
2      A.   Yes, I am.
3      Q.   And how does that regulation relate to the controlled
4      substances laws?
5      A.   That regulation is the controlled substances law.
6      Q.   Okay.   How does it relate to the statute itself, the actual
7      statute as opposed to the regulation?
8      A.   Those are the implementing regulations for the federal
9      statute.
10     Q.   Okay.   And in Maryland is there a similar regulation?
11     A.   Yes, there is.
12     Q.   And would that be Code of Maryland regulations 10.19.03.07?
13     A.   Yes, it is.
14     Q.   Okay.   And have you had an opportunity to look at those
15     statutes?
16     A.   Yes, I have.
17     Q.   Okay.   I'm marking for identification only, I need to put
18     up on the screen, this is 94 B.
19                  MR. RAVENELL:    Your Honor, may counsel approach?
20     It's for identification only and it's on the screen.
21                  MS. SMITH:   I was going to have him identify it and
22     then move it in.      May counsel approach?
23                  THE COURT:   You may.
24                  (At the bench)
25                  THE COURT:   I think that what you should do is just
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1      ask him about this rather than put it up on the screen.           If you
2      put it up on the screen, you're going to unduly emphasize,
3      you're going to ask him about, you know, the different points.
4                  Is that your objection?
5                  MR. RAVENELL:    Yes, Your Honor.      It should not be in
6      evidence.    And, secondly, again I'll see what the next question
7      is and I'm not sure where Miss Smith is going with this, I
8      think the witness has already indicated that COMAR and CFR, are
9      identical and the witness has testified.         I think the Court
10     indicated that she'd be moving into the areas of witnesses
11     discussions that relate to this particular case.           Not that
12     we're going to give the jury the law, either on paper or the
13     witness stating it, because, again, at some point, you're going
14     to tell the jury what the law is.
15                 The other problem is that it is so misleading to tell
16     this jury that the COMAR and CFR are the laws.          It is not the
17     law.   It is a regulation.      The law is what is in the CSA, the
18     law is what in Section 5, and the Court's going to be
19     instructing about what the law is, and the Court will certainly
20     use some of the terms that it's in COMAR when you talk about
21     the standards for this particular case.
22                 But that doesn't mean that this COMAR regulation
23     comes into evidence.
24                 MS. SMITH:    Your Honor, it's a demonstrative exhibit.
25     That's all it is.     I want to be able to show the jury that it's
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1      word-for-word, the only difference Maryland calls it controlled
2      dangerous substances, and the Feds called it controlled
3      substances.
4                  Then I was going to read the first paragraph and have
5      him explain what the terms in that paragraph mean.           I don't see
6      the harm.    This is the law.     I disagree with Mr. Ravenell.
7                  And if it is the law, and the Court's going to
8      instruct on the law, I don't see what the harm is if this
9      witness does it.
10                 THE COURT:    Well, the other thing is that it's highly
11     leading to show him this thing and then just ask him -- he's
12     already said that the CFR is the same as or similar to the
13     Maryland statute and just ask him, you can ask him what is a
14     prescription, and whose responsibility is it, and when is a
15     prescription valid and when is it invalid, just go through and
16     ask in general non leading question.
17                 But I don't think you can put the -- I'm somewhat
18     uncomfortable anyway about having an expert who's going to tell
19     the jury what the law is, and I thought that he was going to do
20     it in terms of defining a doctor/patient relationship, when is
21     a prescription valid, what is the scope of professional medical
22     practice.    So I'm going to get into it that way and not by
23     going through the two statutes.
24                 MS. SMITH:    Your Honor, the defense asked Dr. Christo
25     where is it written, and he said it's not in the law.             I mean,
                                                                                  63
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1      this is directly in response to where is it written.              Is the
2      Court telling me I can't read the paragraph and then ask him to
3      define the terms that are in it?
4                   THE COURT:   Yes.   Just go, ask him, you've
5      established that there is a writing and what does the writing
6      provide to pharmacists, specifically what's a doctor/patient
7      relationship, scope of professional medical practice,
8      legitimate medical purpose, under what circumstance may a
9      doctor validly issue a prescription, whose responsibility is
10     it?
11                  If you do it that way, you'll get all of it, if he's
12     going to testify to it.
13                  (Open court)
14     BY MS. SMITH:
15     Q.    Sir, I've asked you did you compare word-for-word CFR
16     1306.04, the federal regulation with COMAR, 10 19 0 3 0 7, the
17     Maryland regulation?
18     A.    Yes.
19     Q.    Are there any differences between that, those two
20     regulations as written?
21     A.    No significant differences except that the Maryland
22     regulations define controlled substances as controlled
23     dangerous substances, that's the only major difference.
24     Q.    Are there any other differences?
25     A.    Not that I could detect.
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1      Q.   Okay.   So it's not just a major difference, it's the only
2      difference?
3      A.   Correct.
4      Q.   Now, what is a refusal to dispense regulation?
5      A.   Under the law, and under the standards of practice, a
6      pharmacist has a legal responsibility not to dispense a
7      prescription when that prescription can cause harm to the
8      patient or when the pharmacist feels that that prescription
9      wasn't the right prescription for that patient even though the
10     doctor wrote that prescription, or when they believe that
11     prescription was provided or gained through fraudulent means,
12     somebody trying to buy medications they shouldn't buy, to sell
13     those drugs, or that there's something else that's not right
14     with that prescription, a pharmacist is supposed to refuse to
15     dispense that.
16     Q.   Now, going back to the regulation that I just talked about,
17     the Maryland one that is identical to the federal one, how many
18     states, sir, have such a regulation?
19     A.   All states have a refuse to dispense regulation.
20     Q.   Okay.   But I'm talking about the one before it.         The one
21     where it is the one we were talking about, CFR 13.0604, and the
22     one that Maryland has it has identical, how many other states
23     have a regulation like that?
24     A.   All of the states have a regulation on two basic areas.
25     One, every state says you must be in compliance with all state
                                                                           65
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1      and federal acts, and they check pharmacies to make sure
2      they're in compliance with all the federal acts.           And as
3      Maryland has, other states have incorporated specific language
4      into their state practice acts to mirror or be identical to the
5      federal regulations or federal laws.
6      Q.   And the refusal to dispense regulation, how many states
7      have that?
8      A.   All of the states have that.
9      Q.   Okay.   And generally, what is refusal to dispense
10     regulation?
11     A.   That's the pharmacist's legal obligation not to dispense a
12     prescription that would do harm to the patient or a
13     prescription that was fraudulent or based upon a fraudulent
14     interaction between a prescriber and a patient.
15     Q.   And going back to the one before that, that we were talking
16     about, what generally is that statute?
17     A.   The controlled substance statute?
18     Q.   The 13 -- CFR 13.0604, what is the directive again very
19     generally in that regulation?
20     A.   The directive is to allow the use of narcotics and highly
21     addictive medications for the treatment of diseases and
22     symptoms in a way that protects the patient.          So these
23     medications require special safeguards and special
24     recordkeeping and special verifications that are outside the
25     normal medications or usual medication like for diabetes or
                                                                               66
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1      high blood pressure.
2      Q.   Mr. Thompson, can I have defendant's exhibit number 1?
3                   Can you tell me, sir, how many states require an
4      out-of-state pharmacy to be licensed in that state before
5      sending drugs into that state?
6                   MR. RAVENELL:    Objection, Your Honor.      May counsel
7      approach?
8                   THE COURT:   You may.
9                   (At the bench)
10                  THE COURT:   Yes, ma'am.    What was the question?    I
11     lost it.
12                  MS. SMITH:   How many state regulations require that a
13     pharmacy be licensed in a state where they are sending drugs.
14                  MR. RAVENELL:    Your Honor, we would point out to the
15     Court before that the defendants are not charged with such
16     crime.     The Court indicated you were going to let Agent
17     Brashier with information before the jury.          It's now before the
18     jury.    And the Court indicated that it would not be harmful to
19     have this witness tell the jury that, now to have another
20     witness talk about a state's required pharmacies to be licensed
21     in the state, when that is not in issue before this jury, this
22     jury, and the Court has already indicated what the standards
23     are that defendants have to be held to, what the law is they're
24     on trial for.     To have the jury believe that the defendants
25     have committed a separate and distinct crime by somehow
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1      violating the law in each of the states that they in fact sent
2      drugs to is highly prejudicial and irrelevant to the facts of
3      this case.
4                   The Court is going to instruct the jury as to what
5      the standards the defendants must meet under the law for
6      alleged violation of the Controlled Substance Act.           There is no
7      element in the Controlled Substance Act that deals with whether
8      the defendants sent narcotics or used drugs outside the states,
9      it's just not, not there.
10                  And all it has done is going to additional facts the
11     government wants the jury to have that's something bad, it is
12     not relevant.
13                  THE COURT:   Now, did they ship to states?       By they,
14     did defendants ship hydrocodone to states where they were
15     unlicensed in and those states required them to be licensed in
16     order to issue ship prescriptions to those states?
17                  MS. SMITH:   Yes, Your Honor.     I would also point out
18     that the next question was going to be how many states require
19     doctors to be licensed in states where the patients are being
20     provided prescriptions.      That is something a pharmacy would
21     have checked online to make sure that a doctor in Florida who
22     is sending drugs to a patient in Texas, if he's not licensed in
23     Texas, he's practicing law without a license in Texas.            It goes
24     to the geography factor.       It also goes to this witness's
25     testimony to the similarity of all the states and the unified
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1      attitude in the laws of all the states and the federal
2      government.    And it goes to the basis of his knowledge of his
3      testimony.
4                   We're not -- I wasn't going to follow up by asking
5      whether New Care was licensed in any states.          This is overview
6      and yet it is relevant.
7                   THE COURT:   Why don't we do this, is there going to
8      be evidence that New Care was not licensed in some of these
9      states where they were shipping drugs?
10                  MS. SMITH:   I think there's already been some
11     evidence of that.     I know through agent Brashier, there was
12     some evidence of that.
13                  What there is, it goes to the knowledge of the
14     pharmacy whether the doctors are licensed in the other states.
15                  There has also been questions of Dr. Christo about
16     what Maryland regulates vis-a-vis what goes on in other states.
17     The defense brought that up.       And it was, yes, it was beyond
18     the scope of direct.      It was allowed in cross-examination, the
19     implication being is that Maryland thinks it's all great, do
20     what you want in any other state.
21                  And the point is each state regulates what goes on
22     within its own borders.      And that impression was made by the
23     defense.     I'm just trying to clear that up.
24                  THE COURT:   In order for it to be relevant, it has to
25     be -- it has to -- the testimony has to prove that the
                                                                            69
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1      prescriptions filled by New Care were invalid, which would mean
2      that there has to be a standard, that the standard requires the
3      pharmacist to be licensed in these different states, and that
4      standard is that the doctors must be licensed in the states
5      where the prescriptions are going.
6                  Then the second part has to be that the standard
7      requires that pharmacists to know that.
8                  MS. SMITH:    Uh-huh.
9                  THE COURT:    So the standard, under that the
10     prevailing pharmaceutical standards, the pharmacist must know
11     that he can only ship to a state where he's licensed and that
12     the doctor can only prescribe for patients in states where the
13     doctor is licensed.
14                 MS. SMITH:    And that pharmacist would know that, too,
15     right.
16                 THE COURT:    That's correct.     And then the third point
17     would be that these defendants, Mr. Sodipo and Mr. Nwaehiri,
18     were shipping to states where they had no license, and that
19     they knew or should have known that the Internet doctors were
20     prescribing for patients in states where the doctors were not
21     licensed.
22                 MS. SMITH:    Your Honor, I don't know under the
23     Court's ruling if there's a witness that exists, that I can put
24     a witness on the stand to say what the defendants knew or
25     should have known.      That's off limits.
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1                  THE COURT:    Willful blindness.
2                  MS. SMITH:    I think I've proven that, Your Honor.
3      Mr. Budlow reminds me the topic of shipping to other states
4      came up with Mr. Cloud, also.        He testified that his pharmacy
5      is licensed in 38 states.         I'll be happy to establish that this
6      is something pharmacists should know.         And I will be happy --
7                  THE COURT:    Just go back for a minute.
8                  He has to show what the standard is, is the standard
9      requires the pharmacist only to ship and that pharmacists must
10     know what the standard is.
11                 MS. SMITH:    Okay.
12                 THE COURT:    And then the pharmacist then the same
13     syllogism with respect to doctors.        Then you've got to tie it
14     into this case, that Mr. Sodipo and Mr. Nwaehiri were shipping
15     to places where they should not have shipped because they
16     weren't licensed or because the doctors weren't licensed.
17                 MS. SMITH:    Okay.
18                 THE COURT:    If you're not -- if you can't show that
19     the third step, then it is just irrelevant.
20                 MS. SMITH:    Your Honor, the evidence is already in
21     the doctors were not licensed in any other state.           It was the
22     evidence that was recovered at New Care showing in which state
23     each of these doctors was licensed.
24                 I will be happy to find a way before I rest my case
25     to prove that New Care was only licensed in Maryland.
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1                  THE COURT:    Well, you have to fast forward to the
2      closing.    And I assume, from what you've told me, that you are
3      going to argue that these prescriptions were invalid because
4      the pharmacists were shipping to states in which they were not
5      licensed and because the pharmacists were filling prescriptions
6      for patients in states where the Internet doctors were not
7      licensed, and that a competent pharmacist operating under the
8      prevailing standards would not have filled those prescriptions
9      because he would know where he could ship, and he would know
10     where the doctors must prescribe.
11                 Which means that you have to nail down those facts.
12     And I don't remember, did somebody tell me, one of these
13     experts that it was illegal under the prevailing state law for
14     Sodipo and Nwaehiri to have filled prescriptions in states in
15     which they were not licensed?
16                 MS. SMITH:    That's the point.     It is not illegal in
17     Maryland to send a prescription to Virginia if you're not
18     licensed in Virginia.      It's illegal in Virginia.       And the
19     question, that's exactly the point that Mr. Ravenell made when
20     he was cross-examining Dr. Christo, well, it's not illegal in
21     Maryland, is it?
22                 THE COURT:    Just if it's illegal.      So is he going to
23     testify that it was illegal for Sodipo and Nwaehiri to have
24     filled prescriptions in these other states other than Maryland?
25                 MS. SMITH:    I wasn't going to ask him directly if it
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1      was illegal for them.       I was going to ask him -- well, he's
2      already established, I think he already answered that every
3      state -- one moment, Your Honor.
4                  (Pause.)
5                  MS. SMITH:    Where was I?    I'm sorry, Your Honor, you
6      asked me a question?
7                  THE COURT:    It's here in this case we have red flags
8      and green flags.       So the evidence is relevant if it relates to
9      a red flag.
10                 One red flag would be that these doctors, these
11     pharmacists, were mailing prescriptions to states in which it
12     was illegal for them to fill prescriptions and that they either
13     knew, either prove that they knew it was illegal for them to
14     send hydrocodone to those states, or they were willfully blind
15     by the fact.    And the same analysis with respect to the
16     doctors.
17                 MS. SMITH:    Uh-huh.
18                 THE COURT:    So in order to show that, it can't be
19     sort of innuendo or half done.        You have to have somebody
20     testify that it was illegal under the prevailing state law for
21     Mr. Sodipo and Mr. Nwaehiri to have sent these prescriptions to
22     Utah, these prescriptions to Virginia, these prescriptions to
23     Hawaii.
24                 MS. SMITH:    He can do that.     He can testify that the
25     laws in all of those states require registration in all of
                                                                                73
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1      those states.
2                  And we will follow up with a witness on where they
3      were registered.
4                  THE COURT:    And the second step is was this disclosed
5      in the expert designation?
6                  MR. RAVENELL:    That's where I'm about to go.
7                  MS. SMITH:    It's part of the law, Your Honor.
8                  THE COURT:    This is an important and discrete part of
9      the case that has to be developed, Mr. Catizone is going to
10     testify that it is illegal for New Care to have sent
11     prescriptions to Virginia and these other states because New
12     Care was not licensed in those states.         And it was illegal for
13     them to have filled prescriptions for Internet doctors
14     prescribing in Utah or Virginia et cetera because the doctors
15     were not licensed in those states.
16                 MS. SMITH:    Yes.   Okay.
17                 THE COURT:    So it wasn't -- if that wasn't
18     advertised, then there wasn't proper disclosure.           You can try
19     to get it in rebuttal with this witness, that's fine with me,
20     but it has to be disclosed.
21                 MS. SMITH:    Your Honor, I would just like to state
22     for the record I think the Court is holding the government to a
23     standard that the Court is used to applying in civil
24     litigation.    I think the standard is much too high.         I don't
25     think it's realistic in this setting.         But obviously we will
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1      abide by the Court's ruling.
2                  THE COURT:    Thank you.
3                  (Open court)
4                  MS. SMITH:    One moment, Your Honor.
5                  (Pause.)
6      BY MS. SMITH:
7      Q.   Doctor, Mr. Catizone, what is a rogue pharmacy?
8                  MR. RAVENELL:    Objection, Your Honor.
9                  THE COURT:    I'll overrule the objection.
10     Q.   What is a rogue pharmacy?
11                 MR. RAVENELL:    Could I just be heard, Your Honor?
12                 THE COURT:    Well, the first question is there such a
13     term that is current within the pharmaceutical profession?
14                 THE WITNESS:    Yes, sir.
15                 THE COURT:    Good.   Then you can say what it is.
16                 THE WITNESS:    A rogue pharmacy is a designation
17     applied to Internet pharmacies that are operating illegally or
18     utilizing online questionnaires or cyberspace consultations to
19     establish valid relationships and valid prescriptions, or
20     proposed valid relationships and valid prescriptions.
21     Q.   And in your experience with the NABP, when did this type of
22     pharmacy first appear on the radar screen?
23     A.   We noticed these pharmacy surfacing in 1997 as the first
24     occurrence.
25     Q.   And what does VIPPS mean?
                                                                            75
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1      A.   It's the Verified Internet Pharmacy Practice Site program.
2      Q.   And who started that program?
3      A.   Our organization did in 1997.
4      Q.   Okay.   And what is the purpose of VIPPS?
5      A.   The purpose is to identify for consumers illegally
6      operating Internet sites and to distinguish them from rogue
7      sites, so consumers can make some safe decisions about their
8      medications.
9      Q.   And what standards does a pharmacy have to meet to become a
10     VIPPS certified pharmacy?
11                  MR. RAVENELL:   Objection, Your Honor.
12                  THE COURT:   I'll overrule the objection.
13     A.   Pharmacy must be in compliance with all state and federal
14     laws.
15                  THE COURT:   If I could just interrupt for one second?
16     I take it that there is no legal requirement that a pharmacy
17     had a VIPPS certification?
18                  THE WITNESS:    In four states there are, Your Honor.
19                  THE COURT:   Four states there are, but not in
20     Maryland?
21                  THE WITNESS:    No, sir.
22                  MR. RAVENELL:   Your Honor, that's why may counsel
23     approach, Your Honor?
24                  THE COURT:   Well --
25                  MR. RAVENELL:   I'd like to put something on the
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1      record.
2                  THE COURT:    You may.
3                  (At the bench)
4                  THE COURT:    So is the VIPPS pharmacy certification
5      the higher standard than is required by law?
6                  MS. SMITH:    No.
7                  MR. RAVENELL:    Yes.    Of course, it is.
8                  MS. SMITH:    Your Honor, Mr. Nwaehiri, in filling out
9      a questionnaire for McKesson, that asked if he was VIPPS
10     certified, put yes.
11                 THE COURT:    Well, but that might come in for false
12     exculpatory or some consciousness of guilt, but if you have a
13     standard, let's assume you have a legal standard, all
14     pharmacies must meet this standard, because that is the legal
15     standard, that's what he's supposed to be testifying to.
16                 Let's assume there's another, there's a super
17     designation, the good housekeeping seal of approval, and the
18     good housekeeping seal of approval is awarded only to those
19     pharmacists that are willing to meet some higher
20     classification.
21                 MS. SMITH:    It is not a higher classification, Your
22     Honor.    I disagree.    And this witness will testify to that.
23                 MR. RAVENELL:    Your Honor, if I could be heard on
24     this?
25                 THE COURT:    Well, he's got to then testify that the
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1      VIPPS standards are of the standards that are required by law.
2                  MS. SMITH:    I will have him do that.      I was about to
3      do that when I asked him how does a pharmacy become VIPPS
4      certified and then that was my next question.
5                  MR. RAVENELL:    Let me just be heard on this point so
6      that we're clear.     This witness has testified, A, NABP started
7      VIPPS.   It's something that they started in 1999.
8                  To be a member of VIPPS, there are 18 or 19 criteria.
9      No pharmacy is required to be VIPPS certified.          The doctors
10     already testified in two other hearings, and I have the
11     transcript, the government has it, you are not required to be
12     VIPPS to be a legal pharmacy.       So when they have these criteria
13     that you're not required to meet to be a legal pharmacy, how
14     then can it be the same?
15                 In fact, he has testified that it is a criteria that
16     many pharmacists are not willing to meet.          Hence, Judge, of
17     64,000 pharmacists in the country, only 15 are VIPPS certified.
18                 The government is suggesting that all other 64,000
19     are operating illegally.       The witness would say no, that they
20     are in fact operating correctly.        And so there's no way that, I
21     can't imagine, I can't believe the government's representing to
22     this Court that this witness would say based on his prior
23     testimony that if you are a VIPPS, the criteria is the same
24     that is required by law.       It is way above what is required by
25     law.
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1                   Hence only 15 people, 15 pharmacies have chosen to
2      join and pay 2 to $5,000 to join.        I can't imagine this being
3      offered.
4                   THE COURT:   He's testified that there are 18 or 19
5      criteria.
6                   MS. SMITH:   It's actually been reduced to 14 since he
7      testified last.
8                   THE COURT:   Good.   I'm going to sustain the
9      objection.
10                  MS. SMITH:   Well, how do I -- Your Honor, how do I
11     explain to the jury the significance of the lie that Mr.
12     Nwaehiri told?
13                  THE COURT:   Well, you can say -- just wait.         There's
14     there are two things at work here.        The first is, is the VIPPS
15     standard with the 14 criteria, is that the legal standard?             If
16     VIPPS standard is not the legal standard, then you can't
17     explain the VIPPS standard in great detail because there's a
18     danger that the jury is going to confuse the good housekeeping
19     standard with the bedrock legal standard.
20                  So he can't hold the VIPPS standard out to the legal
21     standard if there are only 15 members around the country.
22                  MS. SMITH:   Your Honor, it is not 15 members, it's
23     8,000 pharmacies.     There are 15 websites that represent 8,000
24     pharmacies that are VIPPS certified.
25                  MR. RAVENELL:   That is not correct.
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1                   THE COURT:   Just if Mr. Nwaehiri said -- it's a
2      factual issue.     Mr. Nwaehiri is on record as stating that New
3      Care was a VIPPS pharmacy.
4                   MS. SMITH:   Yes.
5                   THE COURT:   Then that raises, he can then be asked
6      what is a VIPPS pharmacy.        What does one have to do to be a
7      VIPPS pharmacy.     And is New Care a VIPPS pharmacy?        And was it
8      ever a VIPPS pharmacy?      Then he'll say I search the official
9      records of VIPPS, and New Care was never a VIPPS pharmacy.
10     That's all right because then the VIPPS standard is not held
11     out to be what the law is.       But it's an industry group that New
12     Care's not a member of.
13                  MS. SMITH:   And I can't ask him whether in his
14     expertise whether the VIPPS standard is the same standard in
15     the law, or is it a higher standard?
16                  THE COURT:   I would stay away from that.       You're just
17     going to find out whether New Care was a member of it, or
18     whether --
19                  MS. SMITH:   Well, I think when I ask him what it is,
20     he's going describe what it is, and I need to instruct him to
21     be very, very general in his response and not talk about
22     criteria and everything else, if that's the Court's wish.
23                  THE COURT:   Right.   So the industry group that's
24     voluntary that you can say how many people are a member of it,
25     and how many, but of the point that you can legitimately make
                                                                                80
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1      is that it's an industry movement and that holds itself out as
2      having certain standards and New Care is not a member of.
3                   MS. SMITH:   Very well.    Your Honor, I am just going
4      approach the witness for a moment.
5                   (Pause.)
6                   (Open court)
7      BY MS. SMITH:
8      Q.   Approximately how many members are there in the VIPPS
9      program?
10     A.   There are approximately 15 Internet sites, and they
11     represent 8,000 pharmacies.
12                  Now, we every year survey the state boards of
13     pharmacy to find out how many pharmacies they have licensed in
14     the country based upon their records.         And the estimate of
15     total pharmacies licensed is approximately 64,000 pharmacies.
16     Of that 64,000 pharmacies, 70 percent of those pharmacies are
17     community pharmacies.
18                  MR. RAVENELL:   Objection, Your Honor, way beyond the
19     scope of the question.       He was asked how many were VIPPS
20     certified.
21                  THE COURT:   Well, I'll permit it.      You may continue.
22     A.   Of those 64,000, 70 percent are Safeways, CVS and small
23     independent pharmacies, which represent about 45,000
24     pharmacies.    Another 25 percent of those pharmacies are
25     hospital-based pharmacies or nursing home pharmacies, which is
                                                                                81
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1      about another 50,000 pharmacies, which means of the 64, 65,000,
2      we have about 5,000 that are Internet pharmacies or that are
3      specialty pharmacies specializing in herbal medications or
4      veterinary medications.      So the number of VIPPS pharmacies in
5      15 websites and 8,000 pharmacies encompasses a large number of
6      Internet pharmacies as well as some of the traditional brick
7      and mortar pharmacies that are part of the Internet networks
8      for legitimate sites.
9      Q.   And is it mandatory or voluntary to become part of the
10     VIPPS program?
11     A.   In four states mandatory.      In order to participate or
12     dispense Medicare drugs, to Medicare patients, you have to be
13     VIPPS certified as a requirement of the U.S. government.
14                 MR. RAVENELL:    Objection, Your Honor, may counsel
15     approach?    It's just total -- may counsel approach?
16                 THE COURT:    Yes, you may.
17                 (At the bench)
18                 MR. RAVENELL:    I'm going to again move to strike.
19     It's beyond what the scope and the testimony is supposed to be
20     to dispense medications.       It has nothing to do with this case.
21     This is not Medicaid dispensation.        This was hydrocodone pain
22     medication.    And to leave the jury with the impression outside
23     of what I've already objected to is just wrong.           It should be
24     stricken.
25                 First of all, it's wrong in general.        Secondly, it's
                                                                            82
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1      wrong because it goes beyond what the Court has indicated the
2      government can go on my objection.
3                  THE COURT:    He testified that in four states that the
4      pharmacy must be VIPPS certified to dispense Medicaid patients.
5                  MS. SMITH:    I would point out Your Honor, it seems to
6      me I can ask him, since this case is not about Medicaid
7      pharmaceuticals, this doesn't have any application in this case
8      and just move on, and that Maryland is not one of the four
9      states.    That's all I was going to do.       Frankly, I didn't
10     anticipate an answer of that specificity.          I don't think I
11     necessarily asked for it.
12                 MR. RAVENELL:    I move that it be stricken, Your
13     Honor, because I don't this jury left with the impression
14     wrongly, first of all, that all of the states, all states
15     require anyone to be VIPPS certified, to dispense Medicaid,
16     because that's not what the issue.
17                 THE COURT:    That's not what he said, four states, but
18     I'm satisfied to have Miss Smith to do it as she proposes to
19     clear this up.
20                 (Open court)
21                 MR. RAVENELL:    Thank you.
22     BY MS. SMITH:
23     Q.   Sir, just so that we're clear, this case does not involve
24     filling Medicaid prescriptions or anything at all of that
25     nature so that wouldn't have any application in this case,
                                                                            83
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1      okay.   And Maryland is not one of those four states that you
2      mentioned?
3      A.   Correct.
4      Q.   Okay.   Can you tell us, sir, was New Care ever VIPPS, a
5      VIPPS member or VIPPS certified?
6      A.   No.
7      Q.   Are they now or were they ever?
8      A.   Never, and they are not now.
9      Q.   If someone wanted information about the VIPPS program, is
10     it hard to find?
11     A.   The information is available free via our website or anyone
12     that can access the Internet, it's right there.
13     Q.   And it talks about all the requirements and everything
14     else?
15     A.   Yes, it does.
16     Q.   Okay.   Thank you.
17                  Does education a pharmacist receives teach you how
18     drugs work?
19     A.   Yes.
20     Q.   Okay.   Is it a chemical education?       Is it -- what is --
21     what is sort of the format of that kind of education?
22     A.   It's multifaceted in the first two years of your program,
23     you'll learn about the chemical nature of drugs, how they work,
24     and the remaining years of the program, you'll learn how those
25     drugs actually work in a person and how they treat diseases and
                                                                         84
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1      symptoms.
2      Q.   Okay.   And hydrocodone, for example, what is it and how
3      does it work?
4      A.   It's a medication that works on your nervous system, and it
5      helps control pain for patients.
6      Q.   And what is a synergistic effect?
7      A.   A synergistic effect is something that adds to an already
8      occurring effect or to make something stronger or make
9      something last longer, it extends that effect, makes it more
10     powerful.
11     Q.   Okay.   Is that something that would also be included in the
12     education that a pharmacist receives in training?
13     A.   Yes, it is.
14     Q.   Doctors as well?
15     A.   Yes.
16     Q.   Now, can you tell us a little bit about pharmacy
17     technicians, is there a definition of a pharmacy technician?
18     A.   There's not a definition across all of the states, but the
19     definition accepted by the majority of states is that that
20     person is there to assist the pharmacist in the practice of
21     pharmacy.
22     Q.   And is there a movement in terms of unifying pharmacy
23     technicians throughout the country?
24                  MR. RAVENELL:   Objection, irrelevant.
25                  THE COURT:   I'm sorry.    Say again, Miss Smith?
                                                                         85
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1      Q.   As a director of the NABP, can you tell us is there a
2      movement across the country to unify pharmacy technicians, what
3      they do, how they become certified, things of that nature?
4                  MR. RAVENELL:    Objection, irrelevant.
5                  THE COURT:    I'll sustain the objection.
6      Q.   Sir, from the viewpoint of a pharmacist, what is a
7      doctor/patient relationship?
8      A.   Doctor/patient relationship is a valid relationship between
9      a doctor and a patient in which a legitimate medical condition
10     has been diagnosed, an examination has occurred, a medical
11     history has been taken, and the doctor's made a logical
12     connection between that history, that examination, and that
13     medical condition.
14     Q.   And who has to participate in that relationship?
15     A.   The doctor and the patient.
16     Q.   Now, is it expressly defined anywhere?
17     A.   No, it's not.
18     Q.   How does a pharmacist know what a doctor/patient
19     relationship is?
20     A.   The pharmacist utilizes a number of resources to know what
21     that doctor/patient relationship is.
22                 THE COURT:    If I could just ask, this has to be, your
23     testimony should be grounded in the standard, so you need to
24     reference from time to time to make sure that you're not
25     talking about what you do personally or what some group does,
                                                                          86
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1      but what the standard is that is incumbent upon all pharmacists
2      A.   The two federal laws that govern the regulation of pharmacy
3      practice, the Food Drug and Cosmetic Act and the Controlled
4      Substance Act set out two large parameters or two legal
5      parameters for a valid prescription in the doctor/patient
6      relationship.     Both say there must be a valid relationship
7      under the constitution under the regulation of pharmacy
8      practice that then is deferred to the state practice acts, to
9      actually define what is a valid patient prescriber relationship
10     and what is a valid prescription.
11                 And all of the state practice acts include the
12     parameters as to what defines a valid patient prescriber
13     relationship, not explicitly, but indirectly, and it talks
14     about the responsibilities that a pharmacist has to validate
15     those relationships.      It doesn't say explicitly that it is A or
16     B, it says these are the standards, these are the requirements
17     to establish that.
18                 Very similar to what we talked earlier about the
19     speed limit being 55.      State regulations say you may go less
20     than 55 in certain areas or under certain conditions where the
21     road may not allow 55, but there's no way that state can go
22     above 55 because that would violate that law.
23                 And the same way those regulations are placed saying
24     this is a standard for a patient prescriber relationship, you
25     can't go below that standard, and you can't alter it.
                                                                                 87
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1                   Pharmacists are trained based upon standards taught
2      in the pharmacy program and are part of the law exams use
3      examples of what constitutes a valid patient prescribing
4      relationship and what doesn't.
5                   So throughout curriculums they are taught and learned
6      what that is through the standards and through the laws.
7      Q.   So it is part of their training?
8      A.   Yes.
9      Q.   Without a doctor/patient relationship, can a prescription
10     ever be issued within the course of legitimate medical purpose?
11                  MR. RAVENELL:   Objection.
12     A.   Under all the state laws --
13                  MR. RAVENELL:   Objection.
14                  THE COURT:   I'll overrule the objection.       You may
15     answer.
16     A.   Under all state laws, that prescription is invalid and the
17     pharmacist has no legal authority to dispense it.
18                  MR. RAVENELL:   Objection, Your Honor.
19                  THE COURT:   I'll overrule the objection.       Instead of
20     that, let's put it this way, the testimony stands.
21     Q.   Okay.    With a doctor/patient relationship, does that mean
22     every prescription is always valid?
23     A.   No.    In the judgment of the pharmacist based upon the
24     safety of a patient, the pharmacist as the gatekeeper can
25     overrule --
                                                                               88
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1                  MR. RAVENELL:    Objection, Your Honor.
2                  THE COURT:    I'll overrule the objection.        You may
3      testify.
4      A.   Can overrule that doctor's prescription and decide not to
5      dispense it or to make another decision that that prescription
6      may not be legitimate.
7      Q.   Is the term red flags a term that is recognized in standard
8      of pharmacy practice?
9      A.   Yes, it is.
10                 MR. RAVENELL:    Objection, Your Honor.
11                 THE COURT:    I'll overrule the objection.
12     Q.   And what is generally a red flag?        What is that?
13     A.   Red flag is used to refer to warning signs or information
14     pharmacists should consider.
15                 MR. RAVENELL:    Objection.     May counsel approach?
16                 THE COURT:    You may.
17                 (At the bench)
18                 MR. RAVENELL:    Your Honor, I'd ask that this witness
19     be required not to just to say that it's the practice and the
20     standard.
21                 As the Court pointed out with Dr. Christo, there's
22     got to be a basis where this comes from, not just saying oh,
23     yes, it's tied to the standard of care.
24                 I want to know where this witness can point to
25     anywhere in the law, anywhere, there's talk about red flags in
                                                                                   89
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1      the standard of care anywhere.        So simply saying that, yeah,
2      it's a standard of care and I can go into it, as the Court
3      indicated, there's got to be some way the witness can tell us
4      where that comes from.
5                  THE COURT:    Well, that's a matter for
6      cross-examination.      He's been qualified as an expert.         He said
7      that there is a certain terminology that is used in the
8      pharmacy profession, and so it's my job to decide whether it
9      comes in or not.     He's the expert.     He's said there's a certain
10     terminology in the pharmaceutical profession, so you can
11     cross-examine on the point, but I'm not going to exclude it
12     because I don't think that there is one.
13                 MR. RAVENELL:    Your Honor, my point is asking is
14     improper where that comes from, the horse gets out of the barn,
15     Judge, so to speak, and when the witness goes on, yes, and
16     cross-examination may be used to deal with many issues, which
17     we certainly will, but I don't think we should be required to
18     wait for cross-examination if the government can't proffer
19     where this standard, where this witness deems is connected to
20     the standard of care.
21                 And as the Court, you know, required with Dr.
22     Christo, if there's not some proffer of where this is connected
23     to a standard of care other than the witness just saying it, we
24     should not be forced to put the horse back in the barn later
25     on.
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1                  THE COURT:    My ruling stands.
2                  MR. RAVENELL:    Thank you, Your Honor.
3                  THE COURT:    Welcome.
4                  (Open court)
5      BY MS. SMITH:
6      Q.   So what generally are red flags?
7      A.   Red flags are warning signs or criteria or signs that a
8      pharmacist looks for when they're trying to decide whether or
9      not a prescription is real or fraudulent.
10     Q.   Sir, do you know in your experience where the term red
11     flags comes from?
12     A.   No, I don't.
13                 MR. RAVENELL:    Your Honor, objection.       May counsel
14     approach?
15                 MS. SMITH:    If I might ask another question?
16                 THE COURT:    Why don't you ask another question?
17     Q.   Is it a term that's used in common parlance in the field
18     that you practice in?
19     A.   Yes, it is.
20     Q.   You just don't know the origin of it?
21     A.   Correct.
22     Q.   Thank you.
23                 What does a pharmacist do if they have concerns?
24     A.   If a pharmacist has concerns about a prescription, they
25     believe it's fraudulent or forged, they have a responsibility,
                                                                          91
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1      a legal responsibility under the state law and also under the
2      federal law to verify the identity of that prescriber, that the
3      they're prescribing within their scope of authority, and that
4      prescriber's established a legitimate patient prescriber
5      relationship, and that prescription is for legitimate medical
6      purpose.
7                    If they do believe that it is fraudulent, again under
8      state and federal law, they have legal authority to report that
9      doctor or prescriber to the pharmacy licensing board, the
10     medical licensing board, as well as to the DEA.
11     Q.    Okay.   Are fraudulent -- or define fraudulent or forged for
12     me.    I just want to make sure I understand what you're talking
13     about.
14     A.    A fraudulent prescription would be a prescription that was
15     obtained -- not obtained for a legitimate medical purpose,
16     perhaps a patient pretended to have a certain disease or
17     certain symptom in order to get a prescription, or there was
18     not a valid patient/doctor relationship.
19                   A forged prescription occurs when a patient may steal
20     prescription blanks from a doctor's office or when they receive
21     a prescription, the doctor writes 10 tablets on it, maybe the
22     patient add a zero and changes it to 100, those would be
23     considered forged prescriptions.
24     Q.    So a fraudulent prescription includes prescriptions issued
25     outside of doctor/patient relationship?
                                                                              92
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1      A.   Yes.
2      Q.   And fraudulent includes where there is a doctor --
3                   MR. RAVENELL:    Objection to Miss Smith testifying,
4      Your Honor.
5                   THE COURT:   Ask the question, and then I'll rule.
6      Q.   Does fraudulent also include where there is a
7      doctor/patient relationship but the prescription is issued
8      outside the usual course of practice and not for legitimate
9      medical purpose?
10     A.   Yes.
11     Q.   Sir, in preparation for your testimony, were you provided
12     documents and other materials by the government to review?
13     A.   Yes.
14     Q.   Okay.   Based upon your education and training and more than
15     20 years in the field, can you tell us, sir, as an expert, do
16     the dispensing activities of New Care ,based upon what you
17     reviewed, meet the accepted standards of practice for a
18     pharmacy certified to engage in this practice?
19                  MR. RAVENELL:    Objection, Your Honor.
20                  THE COURT:   I'll overrule the objection.       You may
21     answer.
22     A.   No.
23                  MR. RAVENELL:    Your Honor, may counsel approach?
24                  THE COURT:   You may.
25                  (At the bench)
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1                  MR. RAVENELL:    I thought the Court's ruling was that
2      the witness was not allowed to give testimony directly about
3      New Care as to whether New Care in these particular pharmacies
4      what they did is volitive of the law, but that it had to be
5      what a reasonable pharmacist would do under these facts.
6                  If I remember correctly, the Court told us to change
7      what we had with Dr. Lander because the testimony should not be
8      specific as to the defendants in this case, and that's what
9      that testimony just was, about the defendants and what New
10     Care's behavior was what I thought was totally off limits, it
11     would be as to a reasonable pharmacist.
12                 THE COURT:    Good.   What we're going to do is take a
13     15-minute recess.     I want to look back at my original
14     memorandum, and then I'll come back and rule.
15                 MS. SMITH:    Thank you, Your Honor.
16                 (Open court)
17                 THE COURT:    Ladies and gentlemen, we're going to take
18     a 15-minute recess.
19                 (Recess.)
20                 THE COURT:    If I could ask you to step outside for
21     one minute, please?
22                 Please be seated.
23                 The proper phraseology is essentially as follows:
24     That New Care's practice, he can opine that New Care's practice
25     did not meet a certain standard of care and because a
                                                                            94
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1      reasonable pharmacist acting within the confines of
2      professional standards would have known that the prescription
3      was invalid, or would have known that there was no
4      doctor/patient relationship, or would have known that he was
5      under a duty of inquiry.
6                  The expert can be asked also whether Mr. Sodipo and
7      Mr. Nwaehiri lived up to the professional standards, but it
8      must be because a reasonable pharmacist acting within the
9      confines of the professional standards would have known, would
10     have been under the duty of inquiry.
11                 What I am trying to avoid is having the expert
12     testify that Mr. Sodipo and Mr. Nwaehiri knew, they knew that
13     the prescriptions were invalid.        And I'm also trying to have
14     counsel skirt around testimony that Mr. Sodipo and Mr. Nwaehiri
15     should have known because I just don't like the way that's
16     phrased.
17                 If he says there's really no difference in ultimate
18     outcome between having him testify that Mr. Sodipo and Mr.
19     Nwaehiri should known that they were violating the standards,
20     because we're essentially getting to that by saying that they
21     did not live up to the standards, and a reasonable pharmacist
22     acting in light of the professional standards would have known.
23                 But if it's broken up, we're really getting into more
24     objective facts.     One is did the pharmacy in general and did
25     Mr. Sodipo and Mr. Nwaehiri in specific live up to certain
                                                                           95
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1      standards.     That's the same comparing their actions with the
2      standards.     And if the answer is no they didn't, then it's
3      permissible to say here are the standards, and a reasonable
4      pharmacist acting in light of those standards would not have
5      filled the prescription, would have inquired.
6                   If we look at the case law under McIver and the
7      Hughes case that under McIver, the Court said that the expert
8      could testify that the defendant's treatment was outside the
9      course of legitimate medical practice.
10                  That's equivalent to saying meet the standards of
11     care.
12                  Under the Lawson case, the expert could testify that
13     the prescription that the defendant filled contained flags of
14     illegitimacy that should have signaled to a pharmacist acting
15     under the standards that the prescriptions were invalid.
16                  In Hughes, the Court said that the expert could
17     describe the requirements of Michigan state law, or the
18     requirements that Michigan state law imposes upon pharmacists.
19                  My objection was having the law itself put up on the
20     Doar machine and have the expert go through the specific
21     language, but I ruled that he could testify to, and he did
22     testify as to the general requirements, which we've now gotten
23     through.
24                  In Liel and Hammond, the Court permitted the expert
25     to say that the defendant has as a pharmacist should have seen
                                                                               96
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1      a pattern developing in the prescriptions written by a doctor
2      and that the defendant violated ethical standards by filling
3      the suspicious prescriptions.       See also Hammond, 781 F. 2d at
4      1538.
5                  Well, the first part of that was from Liel, 75 F. 3d
6      at 223, and the second part is from Hammond, 781 F. 2d at 1538.
7      Expert testified that the high volume of drugs prescribed by
8      one doctor should have alerted the defendant, a pharmacist,
9      that the prescriptions were invalid.
10                 So this gets somewhat tricky, but the expert can
11     testify as to what the standards are.         He can testify that the
12     pharmacist and the pharmacy did not meet those standards.
13                 He can say why, but what I want him to avoid is
14     saying that Mr. Sodipo and Mr. Nwaehiri actually knew that the
15     prescriptions were invalid, and I would like him to steer away
16     from saying that specifically Mr. Sodipo and Mr. Nwaehiri
17     should have known that the prescriptions were invalid , because
18     I would rather not have him commenting directly on their state
19     of mind.
20                 But certainly that they violated the standards, what
21     the standards are.      And when he says why they violated the
22     standards, he should phrase it in terms of well, these facts
23     would have alerted a reasonable pharmacist acting within this
24     matrix of standards to the conclusion that the prescriptions
25     were invalid.     It's a subtle point, but that's what I'm trying
                                                                               97
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1      to accomplish.
2                  MS. SMITH:    Your Honor, avoiding saying actually Mr.
3      Sodipo or Mr. Nwaehiri, I inquired already of the witness that
4      whether New Care just generally, and I was going to also ask
5      about the pharmacists at New Care in terms of whether they
6      lived up to the professional standards and then why, but never
7      mentioning these defendants' names.         Is that over the line, or
8      is that acceptable?
9                  THE COURT:    Well, the phraseology you asked, I
10     believe, did New Care's practices meet the standard of care
11     applicable to all pharmacists, and that's a good question,
12     because his answer presumably is going to be that a reasonable
13     pharmacist acting within the confines would have known. So that
14     is all right?
15                 MR. RAVENELL:    Your Honor, I may?
16                 THE COURT:    Mr. Ravenell?
17                 MR. RAVENELL:    Yes, a couple points, Your Honor.     I'm
18     a little perplexed.      I'm looking at the government's disclosure
19     notice, and it's dated June 23rd, and the government in
20     paragraph 3 indicates that the witness will find that a
21     reasonable pharmacist should have made these observations,
22     referring back.
23                 And the Court may recall when we submitted our
24     disclosure as regarding Dr. Lander, the Court indicated that he
25     thought that we went beyond what the Court would allow the
                                                                            98
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1      witnesses testify to, particularly when we indicated anything
2      about the particular defendants.        And Mr. Budlow said that I
3      was -- because they had tailored their disclosure to what the
4      Court's ruling was, that the witness would not be allowed to
5      testify particularly about these defendants about what these
6      defendants, whether they met the standards or not, but as a
7      reasonable pharmacist.
8                  And then we went back and changed our disclosure as
9      the Court indicated was necessary to meet the Court's order and
10     to be consistent with the government's as well.
11                 So my understanding was that there would be no
12     testimony by our expert or the government's expert,
13     particularly about what these defendants, whether these
14     defendants met the particular standard of care or not, or just
15     whether as these things that were there, these red flags, et
16     cetera, would have caused a reasonable pharmacist to see these
17     things.    And that's how I thought Court's ruling was, and
18     that's why we both changed our disclosures.
19                 Additionally, Your Honor, I would certainly oppose
20     any testimony from this witness globally that the pharmacists,
21     you know, all the pharmacists at New Care did not meet certain
22     standards, because unless this witness knows what each and
23     every pharmacist did, that would be highly improper, and
24     unfair, because, for example, the Court is aware that Mr.
25     Hartwill, the government doesn't even suggest was a member of
                                                                                  99
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1      the conspiracy, so to blanket, you know, all of the pharmacists
2      when in fact Mr. Hartwill did fill prescriptions on two
3      occasions, there's been clear evidence from Mr. Hartwill, the
4      government's witness, that Takia I think it's Anthony didn't
5      really fill any Internet prescriptions and there's very little
6      evidence of her ever doing it, and indicated I think it's the
7      name, or Taylor, worked on the long-term care side.
8                  So to have that kind of testimony that, you know, the
9      pharmacists, you know, all of the pharmacists at New Care acted
10     inappropriately, that would be wrong, and it's also very
11     relevant to this CCE charge that is in this case.
12                 The Court's got to deal with at the end of all the
13     evidence of whether these particular people, you know,
14     qualified for the CCE counts.
15                 So I think that testimony would be improper.          If the
16     CCE count were to go to the jury with that evidence from this
17     expert that all the pharmacists acted in a certain way without
18     the basis for his conclusion about each particular pharmacist,
19     you know, then that's a problem, Judge.
20                 THE COURT:    Good.   Thank you.
21                 Simply to reiterate the ground rules, he can't say
22     that Mr. Sodipo and Mr. Nwaehiri knew.         Under the case law, it
23     would be permissible for the expert to testify that they should
24     have seen a pattern or should have known.          But for purposes of
25     this case, I'd like to break that up into two parts.
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1                  They violated the standard of care, number one.         And
2       number two, that they violated the standard of care because a
3       reasonable pharmacist acting within the confines, you might be
4       able to think of a shorthand way the expert can agree upon to
5       say that would have known/should have known.
6                  I'm simply semantically trying to avoid having this
7       witness say that Mr. Sodipo and Mr. Nwaehiri should have known
8       even though that is the import.       I'm just looking for a way not
9       to say that bluntly.
10                 My view is as an expert he can testify about the
11      actions of a pharmacy in general, how it behaved as an
12      organization, and the government's not required to establish
13      his familiarity with each individual pharmacist.          Certainly
14      you're entitled to an objection on that issue.
15                 Now, this is not, even though we're talking about the
16      generally accepted standard of care, this is not a medical
17      malpractice case, and the defendant is not being held to a
18      medical malpractice standard.       It's simply that the standards
19      of care, the professional standards, are germane in determining
20      whether there's a doctor/patient relationship, whether there's
21      a legitimate medical purpose, whether the prescription is valid
22      or invalid.    So that the generally accepted standards come in
23      to the case on those issues.
24                 MS. SMITH:    Your Honor, if I might, I think the
25      standard is the corresponding responsibility.          I mean, I think
                                                                              101
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1       the question is, if these pharmacists that were issuing
2       Internet prescriptions met their corresponding responsibility
3       within the standard of pharmaceutical practice, the standards
4       that this witness is familiar with.
5                    THE COURT:   You mean corresponding means the duty on
6       the pharmacist?
7                    MS. SMITH:   It's that specifically relates to the
8       pharmacist, whereas a lot of other language relates to the
9       doctor.    So that I think that is where meeting a particular
10      standard begins.
11                   So I probably shortened it by using the terminology
12      corresponding responsibility.
13                   THE COURT:   Just make sure that he buys into that and
14      that it's clear.     But he's here not as a doctor, but he's here
15      as a pharmacist, so he can testify as to what pharmacists, what
16      the standards require them to do and not to do.          And one of the
17      requirements I believe he's going to testify as to under
18      certain circumstances, the pharmacist has a duty to look
19      further.     Good.
20                   Why don't we simply, there are two things we can do.
21      It's 1:00.     We can simply break for lunch, bring the jury back
22      in for 15 minutes.
23                   Let me ask Miss Smith, what's your pleasure?
24                   MS. SMITH:   Your Honor, break for lunch.       That way I
25      will be able to instruct the witness at no time to use the
                                                                              102
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1       names of the defendants.
2                    THE COURT:   Thank you.     Good.
3                    MR. RAVENELL:    Your Honor, we do take exception to
4       the Court's ruling.
5                    THE COURT:   Yes.    That is clear and understood, and
6       you do have an exception.        Good.   Thank you.   If you would tell
7       the jury we're going to break until 2, thank you.
8                    (Luncheon recess.)
9                    THE COURT:   Please be seated unless you wish to stand
10      for the jury.     I apologize for the delay.
11                   (Pause.)
12                   (Jury present)
13                   THE CLERK:   Jurors all present.
14                   THE COURT:   Thank you, Mr. Thompson.      Please be
15      seated.     Ladies and gentlemen, I apologize for the long delay,
16      but we are ready to resume.        Miss Smith, whenever you're ready.
17                   MS. SMITH:   Thank you.
18      BY MS. SMITH:
19      Q.   Sir, at the break, I was asking you if the government
20      provided documents for you to review in preparation for your
21      testimony.
22      A.   Yes.
23      Q.   And did you review them?
24      A.   Yes, I did.
25      Q.   Okay.    Do you have an opinion, sir, based upon your
                                                                              103
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1       training, your experience, and your review of those documents
2       whether the pharmacists at New Care who filled the Internet
3       prescriptions were acting within the standards of professional
4       practice?
5       A.   Yes.
6       Q.   Okay.   And what is that opinion, sir?
7       A.   That the pharmacists were not acting within those
8       standards.
9       Q.   And why do you say that, sir?
10      A.   Based upon the federal and state laws and the professional
11      standards that every pharmacist would follow, those standards,
12      those laws were not adhered to and were not followed.
13      Q.   Okay.   And let me ask you, do you have an opinion, sir,
14      based on your training and experience and your review of the
15      documents whether the pharmacists at New Care who filled the
16      Internet net prescriptions met their corresponding
17      responsibility?
18                   MR. RAVENELL:   Objection, Your Honor.
19                   THE COURT:   I'll overrule the objection.       But you'll
20      need to define what corresponding responsibility is, and that
21      may have been substance of Mr. Ravenell's objection.
22      Q.   Yes, sir.
23                   Before answering that question, can you tell us what
24      is corresponding responsibility?       Let me begin by actually
25      asking you, is that a specific term used in pharmacy practice?
                                                                               104
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1       A.   Yes, it is.
2       Q.   Okay.    And what is a corresponding responsibility?
3       A.   It's a legal responsibility placed upon the pharmacist to
4       make sure that the prescriptions are legitimate and valid, and
5       responsibility and liability for the pharmacists do that, and
6       if they don't do that, penalties are in place, and the
7       pharmacist has certain responsibilities tied to that.
8       Q.   Okay.    Now, based upon your training and experience, sir,
9       do you have an opinion, also based upon review of the
10      documents, whether the pharmacists at New Care who filled the
11      Internet prescriptions met their corresponding responsibilities
12      as you have defined it?
13      A.   Yes.
14                   MR. RAVENELL:    Objection, Your Honor.     May counsel
15      approach?
16                   THE COURT:   You may.
17                   (At the bench)
18                   THE COURT:   Yes, sir.
19                   MR. RAVENELL:    Your Honor, two objections up to this
20      point.      One is I don't think that this witness should be
21      allowed to testify globally about what the pharmacists at New
22      Care did or did not do, whether in fact they met their
23      corresponding responsibility or not, or whether in fact they
24      met or violated these standards of care.
25                   Additionally, a corresponding responsibility is not,
                                                                            105
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1       as I see it, on what the Court will be instructing the jury on
2       what the law is.     And the jury will be confused by this witness
3       telling the jury about corresponding responsibility when, the
4       way I understand it, the Court would be instructing the jury,
5       and of course we haven't gotten the jury instructions yet, is
6       that the Court will be telling the jury that defendants have
7       certain responsibilities, and that is what the doctor has to --
8       I don't want to waste time going through all of those
9       standards, state on the record many times, the Court has stated
10      it just today several times, but that standard the Court is
11      going to instruct the jury on I don't believe talks about a
12      corresponding responsibility, and this jury may be confused by
13      that.   They're hearing this person is an expert, and if they
14      choose to accept him as an expert and credit his testimony, you
15      know, the trouble is that whether they can then or will put
16      aside his view about what this corresponding responsibility,
17      and that is the law.
18                   This witness is stating that it is the law, and it is
19      not the law.     It is part of a COMAR or CFR regulation.
20                   THE COURT:   Miss Smith, has he testified as to what
21      the corresponding duty is, and that it's part of the standard
22      of care?
23                   MS. SMITH:   Yes, Your Honor.
24                   THE COURT:   Then I will overrule the objection on
25      that part.
                                                                               106
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1                    And, two, my view is that he can testify as to how a
2       pharmacy operates and whether the pharmacists who were filling
3       the prescriptions at New Care met their corresponding
4       responsibilities.     So I will overrule the objection.
5                    MR. RAVENELL:   Thank you, Your Honor.
6                    (Open court)
7       BY MS. SMITH:
8       Q.    Sir, do you have an opinion, based upon your training and
9       experience and your review of the documents, whether
10      pharmacists at New Care who filled the Internet prescriptions
11      met their corresponding responsibility as you have described
12      it?
13      A.    Yes.
14      Q.    They did meet -- oh, you do have an opinion.        Thank you.
15      And what is your opinion?
16      A.    They did not meet their responsibility.
17      Q.    And why do you say that?
18      A.    The corresponding responsibility places certain
19      requirements on the pharmacist to be the gatekeeper to make
20      sure those prescriptions are not fraudulent, and there's a
21      legitimate doctor/patient relationship existed and the
22      prescription is valid.
23                   Based upon the information I reviewed, the
24      pharmacists took none of the steps necessary to verify and
25      serve as a gatekeeper.
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1       Q.   And based upon the documents that you reviewed, what are
2       some of the reasons based upon what you saw in the documents
3       why you reached this conclusion?
4       A.   When I went through the documents, there were a number of
5       red flags that immediately came to my attention that would come
6       to the attention of any pharmacist.
7                    MR. RAVENELL:   Objection.
8                    MR. MCCANTS:    Yeah, objection.
9                    THE COURT:   I'll overrule the objection.       But you
10      have to be talking about a pharmacist following the standards
11      as you have stated them to be.
12                   MS. SMITH:   Your Honor, I believe he wasn't talking
13      about what he would notice as a pharmacist, but what he
14      observed the reviewing the documents that the government gave
15      him to review.
16                   THE COURT:   Right.   But I think Mr. Catizone said any
17      pharmacist, and the lens is not any pharmacist but a reasonable
18      pharmacist following the standards.
19      BY MS. SMITH:
20      Q.   Okay.   And the answer you're about to give, if you would
21      confine it to what any reasonable pharmacist practicing within
22      the standards of pharmaceutical practice what would they have
23      observed?
24      A.   Well, a reasonable pharmacist would have seen the large
25      volume of prescriptions for controlled substances narcotics.           A
                                                                               108
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1       reasonable pharmacist based upon standards, warning flags, but
2       sought prescribing patterns of particular doctors involved with
3       the websites, or exclusively or 99.9 percent exclusively for
4       controlled substances, they would have noticed the prescribing
5       patterns for drugs were not typical, or similar or in adherence
6       with the standards that a tradition or legal pharmacy would
7       fill because the mix of medications were predominantly for
8       controlled substances and not for medications such as to treat
9       diabetes, high blood pressure, normal diseases and symptoms
10      that a pharmacist would treat under the standards and laws and
11      regulations.
12                 MR. RAVENELL:     Your Honor, objection.      May counsel
13      approach on one particular point?
14                 THE COURT:    You may.
15                 (At the bench)
16                 MR. RAVENELL:     I'm just trying to wait for the
17      witness to finish his answer before I objected, Your Honor, but
18      in his answer, he indicated Your Honor what a legal pharmacy,
19      and I think the Court has already indicated this witness is not
20      to be testifying about what is legal or illegal, that is now
21      for the jury to decide whether a pharmacy was legal or illegal.
22                 And I think it's highly improper to have this witness
23      saying that a reasonable pharmacist would have known that a
24      legal pharmacy would not have done this.         That is not a
25      standard of care.     A legal pharmacy is not a standard of care.
                                                                                 109
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1                   THE COURT:    Miss Smith?
2                   MS. SMITH:    Your Honor, I didn't necessarily expect
3       him to say the term legal.      I think if we just change it to a
4       pharmacy practicing within the standards of professional, not a
5       rogue pharmacy, just a pharmacy practicing within the
6       professional standards would have noticed those things.
7                   MR. RAVENELL:    I'll ask the Court to strike, tell the
8       jury to disregard the statement about a legal pharmacy.           It's
9       not properly before this jury.         If they want to reask the
10      question another way after the Court strikes it, that's one
11      thing.
12                  MS. SMITH:    The problem wasn't with the asking,
13      though, it was the witness's answer.
14                  MR. RAVENELL:    I understand.     I'm moving to strike
15      the answer.    I mean --
16                  THE COURT:    Well, strike the reference to a legal
17      pharmacy, and then you can follow up some other definition the
18      kind of pharmacy that he's talking about.
19                  MS. SMITH:    Very well.
20                  (Open court)
21                  THE COURT:    Ladies and gentlemen, I'm going to strike
22      the phrase legal pharmacy as that phrase might be interpreted,
23      pharmacy operating legally, and we're going to redefine the
24      question.
25                  Miss Smith?
                                                                              110
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1       Q.   Okay.   I think, well, the question was, sir, what would a
2       pharmacist within the ordinary practice have observed, and
3       confine your answer, sir, to pharmacies that are practicing
4       within the scope of professional standards.
5       A.   Pharmacies that are in compliance with state and federal
6       laws and are following practice standards acceptable for
7       reasonable pharmacists would have a variety of prescriptions
8       dispensed that would reflect other diseases, other symptoms,
9       and the majority of those prescriptions and medications
10      dispensed would not be for simply one or two pain medications
11      or controlled substances.
12      Q.   And what -- you had mentioned red flags.         What should a
13      pharmacist do who is acting within the professional standards
14      of practice, what should they do when confronted with red
15      flags?
16      A.   There are two actions that a reasonable pharmacist would
17      take based upon state law and the standard of practice.
18      There's, one, a duty to protect the patient.          So if the
19      pharmacist detects there may be a problem with that
20      prescription, it's the wrong medication or the dose is too
21      high, or the patient, if they're in child-bearing age shouldn't
22      take that medication because it could cause birth defects or
23      other problems with the fetus, the pharmacist has the
24      responsibility to refuse to dispense that prescription or
25      contact the prescriber and have that medication fixed or
                                                                          111
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1       adjusted so it doesn't harm the patient.
2                    Second responsibility as a gatekeeper if they
3       suspected there's a fraudulent prescription based upon red
4       flags, and red flags are signs that say to the pharmacist this
5       isn't something that seems right, in regard to state laws,
6       federal laws and standards, the pharmacist has an obligation to
7       verify that, with the prescriber, to verify the relationship
8       with the patient, and then to look at these red flags in total
9       and make a determination about whether or not that prescription
10      should be filled or not.
11      Q.   And if a pharmacist acting within the scope of the
12      standards of professional practice is not satisfied that the
13      prescription has been issued within the usual course, what
14      should a pharmacist do?
15      A.   A pharmacist has a legal responsibility not to dispense
16      that prescription.
17      Q.   Now, sir, based upon your training and experience, based
18      upon your review of the documents in this case, do you have an
19      opinion whether the Internet prescriptions issued in this case
20      were valid?
21      A.   Yes, I have an opinion.
22      Q.   Okay.   And by valid, let's be clear, do you have an opinion
23      whether these prescriptions were issued outside the usual
24      course of medical practice?
25      A.   Yes.
                                                                               112
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1       Q.   Okay.   And what is your opinion, sir?
2       A.   My opinion --
3                    MR. RAVENELL:   Objection, Your Honor.
4                    THE COURT:   I'll overrule the objection.       You may
5       answer.
6       A.   My opinion, based upon state, federal laws, and
7       professional standards, is that the prescriptions were not
8       valid and did not meet the requirements for a valid patient
9       prescriber relationship and, therefore, should not have been
10      dispensed.
11      Q.   And, sir, do you have an opinion, based upon your training
12      and experience and your review of the documents provided,
13      whether or not these prescriptions reflect a valid
14      doctor/patient relationship?
15      A.   Yes.
16      Q.   And what is that opinion?
17      A.   The opinion is that the prescriptions, again based upon
18      state and federal law, requirements specified in those
19      documents, did not meet the requirements for valid patient
20      prescriber relationship.
21      Q.   Sir, hypothetically, if a pharmacist acting within the
22      professional standards of pharmacy practice saw red flags,
23      called the doctor, and asked the doctor and the doctor said,
24      oh, sure, I issued it, it's fine, don't worry, is that
25      sufficient information for a pharmacist to rely upon?
                                                                          113
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1       A.   In some --
2                  MR. RAVENELL:     Objection.
3                  THE COURT:    I'll overrule the objection provided,
4       sir, that you're testifying the professional standards
5       applicable to all pharmacists.
6       A.   The professional standards and laws and regulations
7       require, again, that the pharmacist have knowledge and verified
8       whether or not the patient prescriber relationship exists in
9       order to establish whether it's a valid prescription.
10                 If a reasonable pharmacist utilizing those standards
11      called the doctor with whom they're familiar with that doctor's
12      practice, familiar with that doctor's patients, and the doctor
13      said, yes, that's okay, that would be an acceptable
14      authorization by that doctor.
15                 However, if that pharmacist was dealing with a
16      physician of which they knew nothing about their practice,
17      whether they were licensed, and if they looked at the
18      prescribing pattern and saw that that doctor was located in one
19      state and the patients were located in multiple states outside
20      of the practice area and the pharmacy was located in still
21      another state from those patients and doctors, the doctor said
22      on the phone, yes, go ahead do it, the pharmacist would not
23      meet the responsibility unless they went further and verified
24      all the requirements of a valid relationship that are again
25      spelled out in state laws and federal laws.
                                                                            114
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1       Q.   Sir, I'm going to show you what is in evidence as
2       government's exhibit 89-3.       I don't think I can put -- well, I
3       can put the whole thing on the screen, but then you probably
4       can't read it.
5       A.   I can read it.
6       Q.   Can you read it?     Otherwise, I'll bring it to you.
7       A.   No, that's fine.
8       Q.   Did you review this document in preparation for testimony?
9       A.   Yes, I did.
10      Q.   Okay.   And what, if any, observations did you make about
11      this document?
12      A.   In reviewing the document, based upon standards and state
13      and federal laws for practice that a reasonable pharmacist
14      would know and would follow, the prescribing patterns here, the
15      number of prescriptions and the number of dosage units for
16      hydrocodone is far beyond any standard that a pharmacist would
17      follow or know about.
18                   MR. RAVENELL:   Objection, move to strike.
19                   THE COURT:   Well, what I'll do is I will strike the
20      reference to any pharmacist.       We need to go back to the
21      standard, Miss Smith, if you would get us there, please?
22                   THE WITNESS:    I apologize, Your Honor.
23                   THE COURT:   That's quite all right.
24      Q.   Was your answer -- does your answer likewise or more
25      directly apply to the standard that a reasonable pharmacist
                                                                             115
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1       acting within the standards of professional practice would
2       observe?
3       A.   Yes.
4       Q.   At the end of this chart there's some totals.         And can you
5       read what those totals say?
6       A.   Yes, I can.
7       Q.   And what do they say?
8       A.   The total of prescriptions by state are 108,000
9       approximately, and the total dosage units are a number of pills
10      or capsules that were dispensed is approximately 10 million.
11      Q.   And what is your observation of the number of states that
12      were served prescriptions during this period of time by New
13      Care?
14      A.   It appears to be all of the states including the District
15      of Columbia.
16      Q.   And did the observations that you made in this exhibit,
17      sir, have any impact on your opinion that the pharmacists at
18      New Care who filled the Internet prescriptions were not acting
19      within the standards of professional practice?
20      A.   Yes.
21      Q.   Why?
22      A.   Again, upon review of the standards, the standards call for
23      certain verifications to occur.       They call for certain
24      knowledge about what the medications are that are being
25      dispensed, the totals, and whether or not those medications are
                                                                                   116
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1       being prescribed legitimately.
2                  And I could see none of those requirements being met
3       by the pharmacists at New Care.
4       Q.   Let me show you what's been identified as government's
5       exhibit 89-4 A.     It is entitled Dr. Stanley Mark Dratler, daily
6       hydrocodone prescription highest to lowest per day, did you
7       review this document?
8       A.   Yes, I did.
9       Q.   And it is approximately or exactly 14 pages.         And what do
10      the totals represent, as you understand this document?
11      A.   The number of prescriptions prescribed by that doctor and
12      total number of pills or tablets or capsules.
13      Q.   And let me ask you, sir, when you reviewed this, what, if
14      any, observations did you make?
15      A.   Based upon standards which require that a pharmacist, a
16      reasonable pharmacist be familiar with the prescribing patterns
17      of the doctors whose prescriptions they are dispensing and
18      whether or not that doctor's operating within the scope of
19      practice, it's clear to see that this individual doctor
20      prescribed outside --
21                 MR. RAVENELL:     Objection, Your Honor.
22                 THE COURT:    I will overrule the objection.           But it
23      would be clear to a reasonable pharmacist that, you may
24      complete that sentence, sir.
25      A.   It would be clear to a reasonable pharmacist that the
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1       doctor's prescribing totals and pattern here was outside the
2       scope of practice and was indicative of fraudulent or --
3                   MR. RAVENELL:    Objection.
4       Q.   Let's use the word invalid.
5       A.   Invalid prescriptions.
6       Q.   Sir, in preparation for your testimony, did you also review
7       a similar chart, government's exhibit 89-4 B with reference to
8       Dr. Juan Antonio Ibanez?
9       A.   Yes.
10      Q.   And did you make observations upon reviewing that document?
11      A.   Yes, I did.
12      Q.   And how did those observations compare to the ones you've
13      just described for the numbers with Dr. Dratler?
14      A.   The observations were again similar.        The number of
15      prescriptions prescribed by this doctor, and the product being
16      described, or prescribed by this doctor all indicate or should
17      indicate to a reasonable pharmacist that they are outside the
18      scope of practice, outside practice standards, and are invalid
19      prescriptions.
20      Q.   And, sir, did you review all of the doctors, charts A
21      through K, did you have all that information?
22      A.   Yes, I did.
23      Q.   And were your observations similar or different with
24      reference to all of these doctors?
25      A.   My observations were similar.
                                                                               118
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1       Q.   Okay.   Directing your attention, sir, to government's
2       exhibit 89-5, did you review this document?
3       A.   Yes, I did.
4       Q.   And what, if any, observations did you make about the
5       information in that document?
6       A.   Once again, looking at the requirements and the standards
7       for practice, it was clear for a reasonable pharmacist that the
8       physicians were prescribing to patients in almost all of the 50
9       states and that the total prescriptions that these individuals
10      were prescribing would exceed the normal standards of practice
11      that a reasonable pharmacist should be aware.
12      Q.   Sir, what would a reasonable pharmacist, upon observing a
13      pattern of 47 states and D.C, 48 states and D.C, 46 states and
14      D.C, what would a pharmacist, or what does the professional
15      practice standards require that a reasonable pharmacist do?
16      A.   The standards and the laws would require that the
17      pharmacist examine each individual prescriber's pattern and
18      basis for writing these prescriptions.         So the questions they
19      would easily come to mind for a reasonable pharmacist would be
20      what type of practice does this doctor have?          How is this
21      doctor seeing patients in 47 states?        And why is this doctor
22      only prescribing hydrocodone for those patients?
23                   Those are reasonable questions that a reasonable
24      pharmacist would ask based upon the standards and the laws in
25      the state and federal law and statutes.
                                                                                  119
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1       Q.   And would a reasonable pharmacist acting within the
2       standards of professional pharmacy practice have known that
3       these prescriptions were outside the scope of medical practice?
4       A.   A reasonable pharmacist looking at the factors that I've
5       just described would know that.
6       Q.   Directing your attention, sir, to government's exhibit
7       89-6.   Did you have an opportunity to review the information
8       contained in this chart in preparation for testimony?             And I
9       can't quite get the whole chart on here, I'll just sort of show
10      it to you.
11      A.   Yes, I did.
12      Q.   And what, if any, observations did you make about the
13      information contained in government's 89-6?
14      A.   Again, a reasonable pharmacist has the requirement and
15      responsibility to monitor the prescription patterns of the
16      doctors whose prescriptions they are dispensing to their
17      patients.
18      Q.   Let me stop you right there.      Tell us what is the
19      information that you learned looking at this chart, just the
20      factual information.
21      A.   What I've learned is that a small percentage of doctors
22      were responsible for the overwhelming majority of
23      prescriptions, and those prescriptions were almost exclusively
24      for hydrocodone.
25      Q.   Okay.   Now, based upon that observation, did it have an
                                                                           120
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1       impact on your opinion that the pharmacists at New Care who
2       filled the Internet prescriptions were acting outside of the
3       standard of professional practice?
4       A.   Yes.
5       Q.   Okay.   And how did it impact that?
6       A.   My decision was that these pharmacists were acting outside
7       of their scope of practice.
8                    (Pause.)
9       Q.   Directing your attention, sir, to 89-7, did you have an
10      opportunity to review this government's exhibit that reflects
11      for each of the 11 doctors, the breakdown of hydrocodone versus
12      other drugs prescribed by them during that period of time?
13      A.   Yes.
14      Q.   And did you make any observations?
15      A.   Yes.    The observations that I made is based upon, again,
16      standards of practice, that the totals are the complete
17      opposite of what you would see in a pharmacy operating legally,
18      won't generally see.
19                   MR. RAVENELL:   Objection, Your Honor.
20                   MR. MCCANTS:    Objection.
21      Q.   Operating within professional standards.
22                   MR. RAVENELL:   Your Honor, may counsel approach?
23                   THE COURT:   You do remember, sir, that it's within
24      the scope of the professional standards, so if you would
25      confine your observations to that standard?
                                                                          121
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1       A.   A pharmacy operating in compliance with professional
2       standards would show a different mix of prescription drugs.
3       The overwhelming majority of prescriptions would be for drugs
4       other than hydrocodone, and the totals would be reversed.
5                    So perhaps -- so the totals would be 90 percent other
6       drugs, 10 percent hydrocodone or pain medication.
7       Q.   Sir, skipping ahead to government's exhibit 89-9, did you
8       have occasion to review this document in preparation for your
9       testimony?
10      A.   Yes, I did.
11      Q.   And 89-9 indicates New Care's prescriptions by day for
12      March of 2006.     What, if any, observations did you make of that
13      chart?
14      A.   My observation was that the number of prescriptions and the
15      number of tablets that were dispensed by New Care exceeded
16      standards of care.
17      Q.   And did this impact your opinion that the pharmacists at
18      New Care who filled the Internet prescriptions were acting not
19      within the standard of professional practice?
20      A.   Yes.
21      Q.   Sir, did you have occasion to review government's exhibit
22      89-10, which are the daily totals of New Care beginning in
23      January of '05 and finishing in October of '06?
24      A.   Yes.
25      Q.   And what, if any, observations did you make about the daily
                                                                               122
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1       totals?
2       A.   As I reviewed the daily totals in comparison of standards
3       of care for a pharmacy and a pharmacist, I noticed that the
4       totals began as you would see that pharmacy or pharmacist
5       operating the number of prescriptions for hydrocodone meeting
6       the standards that other pharmacists and pharmacies adhere to,
7       and that increasing dramatically to totals that far exceeded
8       the standards that pharmacies and pharmacists practicing
9       reasonably would adhere to.
10                  MR. RAVENELL:    Objection, Your Honor.      May counsel
11      approach?
12                  THE COURT:   You may.
13                  MR. RAVENELL:    Thank you.
14                  (At the bench)
15                  MR. RAVENELL:    This is the second time that this
16      witness has given testimony about something far exceeding.
17      There's no such standard.      Either something exceeds the
18      standard or it does.     But for a witness to be giving this
19      testimony that something far exceeds a standard of care, there
20      is no written standard that says here is the number, so how can
21      you calculate whether something far exceeds the standard or
22      not?
23                  If this was something that was written where we had a
24      written standard and says you can only do 10 a day, I think
25      that's appropriate.      But having a witness say this far exceeds
                                                                               123
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1       the standards, when the standard is not quantified, it's just
2       improper.
3                    THE COURT:   Well, I'm not going to micromanage his
4       testimony.     If that's his testimony, that's his testimony.      I
5       think what he's saying is, you know, something can exceed, far
6       exceed is saying that this sticks out essentially like a sore
7       thumb.    So he's using that language.      I'm not going to
8       micromanage it.
9                    MR. RAVENELL:   And it's not an issue of
10      micromanaging.     We're objecting where we think something is
11      inappropriate, I don't think it's whether micromanaging, I
12      understand the Court's going to allow it.         I don't think the
13      standard is micromanaging or not, it's whether it's appropriate
14      or not.
15                   THE COURT:   I'll overrule the objection.
16                   MR. RAVENELL:   Thank you, Your Honor.
17                   (Open court)
18      BY MS. SMITH:
19      Q.   Sir, at the end of your answer, you said something about
20      dramatically increases, the numbers are dramatically increased.
21      I'm showing you randomly page 9.       Are there examples of numbers
22      that dramatically increase to that you can observe on that
23      page?
24                   If you touch the screen it will put a mark.
25      A.   Sure.   If you look at the total from beginning on December
                                                                            124
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1       23rd of '05 at 157 prescriptions and then move to January
2       fifth, '06, 537, and you see how those totals remain fairly
3       constant at a couple hundred throughout the rest of the
4       document.
5       Q.   And sir, would -- all right.      Strike that.
6                    And did this information impact your decision, I'm
7       sorry, your opinion that these prescriptions were invalid?
8       A.   Yes.
9                    (Pause.)
10      Q.   Sir, directing your attention to government's exhibit
11      89-12, did you have occasion to review Dr. Ibanez's
12      prescriptions for December 19, 2005 that were filled by New
13      Care?
14      A.   Yes, I did.
15      Q.   Okay.   And based upon your review of this document, what
16      were the total number of prescriptions written by Dr. Ibanez as
17      filled by New Care on that day, if you can tell?
18      A.   I can't tell from the document.
19      Q.   Okay.   Let me give you the document.       The prescriptions are
20      numbered down at the bottom.       If you would look at this
21      document and tell me how many prescriptions did Dr. Ibanez
22      issue that were filled by New Care on that date December 19th,
23      2005?
24      A.   December 19th?     514 prescriptions.
25      Q.   And of that 514 prescriptions, how many of them were for
                                                                          125
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1       hydrocodone?
2       A.   Approximately 99 percent of those.
3       Q.   Does that information contained in that document have any
4       impact on your opinion that these prescriptions were invalid?
5       A.   Yes.
6       Q.   And, sir, tell me why?
7       A.   The standards of practice would indicate to a reasonable
8       pharmacist that this prescribing pattern exceeded what the
9       standards for care were and what the requirements for
10      reasonable pharmacists are.
11      Q.   Would a reasonable pharmacist have made that observation?
12      A.   Yes.
13      Q.   Okay.   And showing you government's exhibit 89-13, again
14      with reference to Dr. Ibanez's prescriptions for December 19,
15      do you recall reviewing these?
16      A.   Yes, I do.
17      Q.   Okay.   And did it have an impact on your opinion that these
18      prescriptions were invalid?
19      A.   Yes.
20      Q.   Sir, could particularly 43 different states receiving
21      prescriptions from New Care issued by Dr. Ibanez on December
22      19th, why did that impact your opinion?
23      A.   Within the standards of care is the necessity that the
24      pharmacist validate the doctor's prescribing patterns, the
25      scope of practice, and the legitimacy of those prescriptions.
                                                                              126
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1       For a doctor to prescribe or see patients or treat patients in
2       those states without that being established and verified with
3       the pharmacy or pharmacist would be a violation of those
4       standards and legal requirements.
5       Q.   Should a reasonable pharmacist have made that observation?
6       A.   Yes.
7       Q.   Sir, I want to ask you, did you see government's exhibit
8       89-15?
9       A.   Yes.
10      Q.   And this chart lists the other drugs that were not
11      hydrocodone; is that correct?
12      A.   Yes.
13      Q.   And can you tell me, sir, in looking at these, what, for
14      example, is acetaminophen/COD?
15      A.   That's a product for Tylenol with codeine.         It's a pain
16      medication.
17      Q.   Okay.   What's the one right above it Accuprill?
18      A.   Accuprill is to treat high blood pressure.
19      Q.   Now, I'm going down the page, what is alprazolam?
20      A.   Alprazolam is something that works in the nervous system to
21      help treat anxiety, to relax the system.         Actually, the generic
22      name is Xanax.
23      Q.   What Ambien?
24      A.   Again, another medication to help relax people.          It's used
25      many times for as a sleep aid for people having trouble
                                                                            127
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1       sleeping.
2       Q.   What is carisoprodol?
3       A.   It's a muscle relaxant also known as soma.
4       Q.   Sir, what is Tylenol with codeine?
5       A.   Pain medication.
6       Q.   Okay.   What is Vicodin?
7       A.   Vicodin is a product to help suppress coughs, and it's also
8       a controlled substance.
9       Q.   Okay.   What is Lipitor?
10      A.   Lipitor's a medication to help reduce cholesterol.
11      Q.   What is nifedipine?
12      A.   Nifedipine is used in patients that have heart conditions
13      or high blood pressure.
14      Q.   What, sir, is propoxy?
15      A.   Once again, it's a controlled substance, it's a pain
16      medication.
17      Q.   Tramadol?
18      A.   Again, it's another medication used to the central nervous
19      system to help people relax.
20      Q.   Okay.   And Zaroxolyn, how do you pronounce that?
21      A.   Corallin, that's a newer medication.        I'm not sure exactly.
22      I think it may be for diabetes, but I'm not certain of that.
23      Q.   Just above that you've got Xanax, you already testified
24      there's another drug here, the brand name is Xanax?
25      A.   Yes.
                                                                          128
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1       Q.   So this would be the same as that other one?
2       A.   Yes.
3       Q.   Is that alprazolam?
4       A.   Yes, it was.
5       Q.   Okay.   Now, did you review this document?
6       A.   Yes, I did.
7       Q.   And what observations did you make in reviewing this
8       document?
9       A.   Again, based upon practice standards, the number of
10      prescriptions written for controlled substances, hydrocodone
11      and others, exceed practice standards that a pharmacist and
12      pharmacy in compliance with standards would dispense.
13                   The mix of non controlled substances, the medications
14      for the high blood pressure, for other diseases and symptoms
15      and the volumes that were written do not meet the standards of
16      care that pharmacists practicing and meeting those standards
17      would meet.
18      Q.   And would a reasonable pharmacist make the observation that
19      these prescriptions were issued outside the usual course of
20      medical practice?
21      A.   Yes.
22      Q.   Okay.   Now, of the other drugs, do you have any
23      observations about the other drugs that are on here, putting
24      the hydrocodone aside, what are the majority of these drugs
25      that make up the other?
                                                                          129
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1       A.   The majority, again, are controlled substances either for
2       anxiety or drugs that may be used in combination as other pain
3       medications to increase the effect or create a euphoria that's
4       been documented in the literature.
5       Q.   And finally, sir, exhibit 89-16, did you review this
6       document?
7       A.   Yes, I did.
8       Q.   And this document reflects the totals of hydrocodone and
9       other drugs for New Care during the relevant period?
10      A.   Yes.
11      Q.   What observations did you make, and what conclusions did
12      you draw?
13      A.   The observations are that the number of hydrocodone
14      products in comparison to the non hydrocodone products is
15      significant and outside the standards of care.
16      Q.   And outside the standards of care of a doctor?
17      A.   Outside the standards of care of a doctor and a pharmacist.
18      Q.   Okay.   Sir, in preparation for your testimony, were you
19      asked to review government's exhibits, they are 88 A, B, and D,
20      numbers from the ARCOS system?
21      A.   Yes, I was.
22      Q.   And are you familiar, sir, in your experience and in your
23      role as Executive Director of the National Association of
24      Boards of Pharmacy what ARCOS is?
25      A.   Yes, I am.
                                                                             130
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1       Q.   Okay.   And tell me, sir, did you look, this is 88 A, this
2       is New Care's purchases of hydrocodone from January 1, '02 to
3       October 10, '06, what, if any, observations did you make and
4       what conclusion did you reach?
5       A.   The observations are that --
6                    MR. RAVENELL:    Your Honor, may counsel approach
7       briefly?
8                    THE COURT:   You may.
9                    (At the bench)
10                   MR. RAVENELL:    Your Honor, this --
11                   THE COURT:   Yes, sir.
12                   MR. RAVENELL:    I'm just looking at something, not to
13      waste the Court's time, to make sure I'm looking at the
14      government's disclosure, and we were told about the charts that
15      this witness was going to rely upon from Mr. Short.           I'm
16      looking at the disclosure, and I see no reference to these
17      charts that were prepared.
18                   MS. SMITH:   Do you have the May 22nd letter?
19                   MR. RAVENELL:    I'm looking at June 23rd, which I
20      thought encompassed everything.       Do you have one where that had
21      something different?      I'm looking at your June 23rd, does may
22      22nd have something additional?       I thought this was your most
23      recent.    I can get the May.
24                   MS. SMITH:   If it's not in the 23, I agree with you,
25      it should have been in there.
                                                                          131
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1                  Here it is.     Well, it is not that he got that chart,
2       it's that it's his conclusions in all --
3                  MR. BUDLOW:     Maybe ask the clerk of the court.
4                  MR. RAVENELL:     I didn't want to that draw attention.
5                  MR. BUDLOW:     It's in evidence.
6                  MS. SMITH:    It's in evidence.
7                  MR. RAVENELL:     Whether it's in evidence doesn't mean
8       that you can --
9                  THE COURT:    So what's the --
10                 MR. RAVENELL:     I apologize for that.
11                 THE COURT:    Mr. Ravenell?
12                 MR. RAVENELL:     It was not something that was
13      disclosed that this would be used with this witness, the
14      particular charts.     The charts that were used a moment ago were
15      from Paul Short.     That was disclosed and we didn't object to
16      those.
17                 But these are different charts that the government is
18      now relying upon with this expert that were not disclosed that
19      he would be relying upon.      We're checking the disclosure to
20      confirm that I'm accurate.
21                 MS. SMITH:    Your Honor, I do have the volume of
22      hydrocodone to New Care substantially exceeds the amount told
23      to the rest of the pharmacies in Maryland and the rest
24      pharmacies in the United States, which are the next two charts.
25      It's B and D.
                                                                              132
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1                  THE COURT:    Well, let me ask this --
2                  MR. RAVENELL:     There's a difference in what -- I
3       apologize, the Court was speaking?
4                  THE COURT:    What's he going to say about this chart,
5       about the ARCOS chart?      This is just raw numbers of hydrocodone
6       pills that were sold to New Care during this period of time,
7       correct?
8                  MS. SMITH:    Yes.
9                  THE COURT:    And what's he going to say about that?
10                 MS. SMITH:    That he observed the spike.       It would
11      have been something that a reasonable pharmacist that would
12      have, that number of prescriptions for hydrocodone, again,
13      would have been a red flag to the pharmacist within the
14      practice professional standards.
15                 MR. RAVENELL:     Again, Your Honor, the government
16      disclosed us to in their June 23rd letter and then followed up
17      with a June 25 letter setting forth information that was
18      provided to the witness that formed the basis of his opinion.
19      This is not a chart that we were told was provided to the
20      witness that forms the basis of his opinion.
21                 So this is outside of that disclosure and should not
22      be used.   The government certainly has already gotten evidence
23      in about volumes from the Paul Short charts that were used
24      which were disclosed.
25                 THE COURT:    So this chart was not part of the raw
                                                                              133
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1       material that was given, disclosed as given to him?
2                     MS. SMITH:   Well, it was.   I guess I did not mention
3       it.    I did mention the conclusion he was drawing from it.
4                     THE COURT:   Let me ask you, where do we go from here?
5                     MS. SMITH:   A couple more pieces of evidence that he
6       relied on in reaching his collusion.         I can just skip to the
7       next one, Your Honor.
8                     THE COURT:   Good.   If it's something you can cure,
9       you can to bring it back on rebuttal.
10                    MS. SMITH:   Very well, Your Honor.
11                    (Open court)
12                    MS. SMITH:   Court's indulgence.
13                    THE COURT:   Take your time.
14                    (Pause.)
15                    MS. SMITH:   Mr. Thompson, can I have government's
16      exhibit 13, there's A B C D whatever.
17      BY MS. SMITH:
18      Q.    Sir, did you have an opportunity to review information
19      provided to you by the government relevant to undercover
20      purchases made by government agents?
21      A.    Yes, I did.
22      Q.    Okay.   And did that include computer screen printouts?
23      A.    Yes.
24      Q.    Did it include the medical records that the undercover
25      agents sent?
                                                                               134
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1       A.   Yes.
2       Q.   Did it include transcripts of the customer service calls?
3       A.   Yes.
4       Q.   Did it include transcripts of the consultation call?
5       A.   Yes.
6       Q.   And did the documents also include a disclaimer page?
7       A.   Yes, it did.
8       Q.   Sir, I'm going to show you what has been marked as
9       government's exhibit 13 A, which begins with some of the
10      computer screens.
11                   Did you make observations about those screens that
12      were used by the undercover agents to make these purchases?
13      A.   Yes, I did.
14      Q.   Okay.   And can you tell me, sir, what observation did you
15      make?
16                   MR. RAVENELL:    Objection, Your Honor.     May counsel be
17      heard?
18                   THE COURT:   Yes.   If you would come forward, please?
19                   (At the bench)
20                   THE COURT:   So these are the computer screens --
21                   MR. RAVENELL:    Yes.
22                   THE COURT:   -- of the websites?
23                   MR. RAVENELL:    Yes.   Your Honor, this witness is not
24      a doctor.    He's certainly not a medical doctor.        And to have
25      this witness review these items, you know, my understanding
                                                                             135
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1       that this witness is giving testimony about things that
2       particularly would be cause the defendants to know, you know,
3       the reasonable pharmacist to know that these were not
4       legitimate prescriptions or they were invalid prescriptions.
5                  There's no evidence that the defendants knew of what
6       information was provided, or when the screens went up, or when
7       someone called in.
8                  So this witness can not say not, for example, as he
9       said so far, would be a breach of the standard of care that a
10      reasonable pharmacist should be alerted by because there's no
11      evidence that the defendants or any promises that New Care was
12      privy to what went up on the screen.
13                 So this witness's testimony about a pharmacist is,
14      quite frankly, not relevant here, because he's not a doctor.
15      And the only thing he could be testifying to is whether this
16      would somehow indicate to a doctor, to the doctors, that this
17      was not a valid prescription.       And he's not in a position to
18      give testimony to what a doctor should know or not know.          He's
19      not a medical doctor.
20                 They had Dr. Christo, if they wanted to get him to
21      say what a doctor should know.
22                 THE COURT:    Good.    Thank you.
23                 Miss Smith?
24                 MS. SMITH:    Yes, Your Honor.      If the pharmacist went
25      to this computer screen, they could make the observations that
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1       he will testify to.     There is some evidence in the case at the
2       very least that the disclaimer page was recovered at New Care,
3       someone printed out the disclaimer page.
4                  And I believe he can testify the red flags that a
5       pharmacist would see.      This pharmacy is making millions and
6       millions of dollars through this process.         They knew the names
7       of the websites.     If they cared enough to look, if they had any
8       concerns at all, they would have looked at these websites, and
9       they would have seen what they've seen.
10                 If not, it goes to willful blindness that they never
11      looked.
12                 THE COURT:    Hold on one second.      Is it your view or
13      not your view, it's a matter of fair inference that, well, do
14      you believe that you could be able to argue in closing argument
15      that the defendants must have looked at the websites?
16                 MS. SMITH:    And if they didn't, shame on them, it
17      would be willful blindness because had they looked, this is
18      what they would have seen.      22 months in a relationship to have
19      never looked at the website.
20                 THE COURT:    So what is he going to testify about the
21      screens?
22                 MS. SMITH:    The screens and the things that he
23      observed that concerned him --
24                 THE COURT:    Well --
25                 MS. SMITH:    -- generally.
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1                  THE COURT:    As to?
2                  MS. SMITH:    That a reasonable pharmacist would have
3       observed that there's -- that they do not form the basis of a
4       doctor/patient relationship.       That, plus the consultation calls
5       with people identifying themselves as RN's or PA's.
6                  MR. RAVENELL:     I'm sorry.    Are you finished?
7                  THE COURT:    So you propose that he testify that if a
8       reasonable pharmacist were shown these pages, that a reasonable
9       pharmacist would have doubted that there was a doctor/patient
10      relationship because of certain factors?
11                 MS. SMITH:    Yes.
12                 THE COURT:    And how is he going to tie those factors
13      into his training and expertise and what pharmacists are
14      supposed to look for?
15                 MS. SMITH:    I'll be glad to ask him that question,
16      Your Honor.    I think it goes back to what he's been testifying
17      to all along, that there's never -- there's no contact with any
18      of the doctors, and I believe that his position is, his opinion
19      is, that there has to be communication between the patient and
20      the doctor, and there isn't any.       That alone, besides the
21      brevity of the questionnaire, the superficial nature of it, the
22      brevity and the superficial nature of the consultation, the
23      fact that the consultations were foregone conclusions.            The
24      choice of the drug was already made when the customer typed H
25      for hydrocodone.
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1                  THE COURT:    Well, let's see.      Let's send the jury out
2       and let's see how he answers this, because he simply can't
3       surmise.   He has to tie it into something that he learned in
4       pharmacy school or as a recognized pharmaceutical practice.
5                  MS. SMITH:    Sure.    Okay.
6                  (Open court)
7                  THE COURT:    Ladies and gentlemen, I'm going to have
8       to ask you to step outside while I take something up with
9       counsel, and we'll come and get you as soon as we're finished.
10      And I'm going to stay here with the attorneys.
11                 (Jury recessed)
12                 THE COURT:    You may stay, sir.      Thank you.
13                 The record will show that the jury has retired to the
14      jury deliberation room.      Please be seated.
15                 Miss Smith?
16      BY MS. SMITH:
17      Q.   Sir, can you tell us what observation you made about the
18      on-screen information that the customer filled in?
19      A.   The information that the customers required to fill in on
20      the prescription is different than any of the information
21      required for pharmacies that are practicing within the
22      standards of law and practices.
23      Q.   Tell me why you say that?      What is it -- what observations
24      do you make about the information that the patient has to
25      provide in order to obtain a prescription, if any?
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1       A.   What I noticed about this particular screen, this website,
2       one, there's no means for a patient to actually submit the
3       prescription information via their doctor.         It requires the
4       patient to sign up for a consultation with a doctor, no
5       discussion of a valid patient prescriber relationship.            And
6       that requires information about their drivers's license, their
7       name, the date of birth, and doesn't require other information
8       to verify the authenticity of that patient as pharmacies
9       operating within the practiced standards would require.
10      Q.   And are those observations things that you observed based
11      upon your knowledge of the professional practice of pharmacy?
12      A.   Those observations are based upon two tenets that I've used
13      to render that observation.       One, my experience with pharmacy
14      regulation and practice and, two, my involvement with Internet
15      pharmacies in which I have personally reviewed over a thousand
16      websites and been able to categorize whether or not those
17      websites appear to be in compliance with the law or appear not
18      to be in compliance with the law, and then publish that list of
19      pharmacies on our websites is not recommended for consumers to
20      use.
21      Q.   And that recommendation is based upon your expert opinion?
22      A.   Based upon my expert opinion, yes.
23      Q.   And that recommendation, based upon your expert opinion, is
24      based upon what you observed?
25                 MR. RAVENELL:     Objection to Miss Smith leading the
                                                                           140
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1       witness, Your Honor.
2                    THE COURT:   Well, the jury's not here, so I'll permit
3       it.
4                    MR. RAVENELL:   Your Honor, I still -- I understand
5       the Court's allowing some leading, but suggesting an answer is
6       still a problem, Judge, when we're trying to determine
7       something.
8                    THE COURT:   My ruling was I will permit it.
9                    MR. RAVENELL:   Thank you.
10                   THE COURT:   Go ahead, Miss Smith.
11      Q.    Is that based upon strictly your observations of what's on
12      the screen?
13      A.    It's based simply upon the public information provided by
14      website.
15      Q.    And did you also, sir, in reference to this set of
16      documents, review the transcripts of the consultation?
17      A.    Yes, I did.
18      Q.    And what, if any, observations did you make about the
19      consultation?
20      A.    What I observed is that the consultations did not meet the
21      requirements under the practice standards and the law for a
22      valid patient prescriber relationship.
23      Q.    And why do you say that?
24      A.    The requirements that would establish, one, that an
25      examination took place.      Two, that a history, legitimate
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1       history was taken.     And, three, that the physician actually
2       interacted with the patient or reviewed those documents.          I
3       could find no evidence of that in the conversations or in the
4       websites.
5       Q.   And would a reasonable pharmacist acting within the course
6       of professional practice, if they had looked at the website,
7       the questionnaire, would they have -- should they have made the
8       observations that you made?
9       A.   Yes.
10      Q.   Where would they have learned that?
11      A.   It would have been part of their training from pharmacy
12      school, part of the requirements that they are required to
13      know, and part of the practice of pharmacy that they're
14      regulated to monitor continuously
15                  THE COURT:   I'm sorry.    I missed the last part.
16      A.   It's part of the practice of pharmacy that pharmacists are
17      monitored and regulated on continuously.
18      Q.   And, sir, a moment ago you said that there be a physical
19      examination.
20                  Is it not okay that there was a physical examination
21      by some doctor somewhere in the universe within the year before
22      this request for a prescription was made?
23      A.   Based upon my observations, one, I couldn't ascertain
24      whether or not a physical examination ever occurred with these
25      patients or whether the persons, the patients, were simply
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1       allowed to submit documents and records that there was no way
2       to validate.
3                  And, second, even if a consultation occurred, there
4       was no evidence that the doctor at New Care had issued those
5       prescriptions had any consultation with that doctor or had any
6       doctor relationship.
7       Q.   The doctor's not at New Care?
8       A.   The doctor and the other end of the pharmacy questionnaire.
9       Q.   The doctor at the other end of the pharmacy questionnaire?
10                 Your Honor, I don't have any other questions on this
11      topic.
12                 THE COURT:    I had a few questions, sir.
13                 In all of the things that happened on the web screen,
14      let me jump back for a second.
15                 What we've just been talking about are interactions
16      between the website, the web doctors, and the patient, correct?
17                 THE WITNESS:     Yes, sir.
18                 THE COURT:    And these are interactions that occurred
19      before the prescription is ever submitted?
20                 THE WITNESS:     Yes, sir.
21                 THE COURT:    And what I am looking for essentially is
22      this, in a pharmacist's training and practice, is the
23      pharmacist required to determine whether there's a valid
24      doctor/patient relationship?
25                 THE WITNESS:     Yes, sir.
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1                   THE COURT:   In the normal writing of the
2       prescription, I take it that you would not call up the doctor
3       and grill the doctor on whether there's a doctor/patient
4       relationship, I would assume that most prescriptions just get
5       filled, correct?
6                   THE WITNESS:    Provided, Your Honor, that the
7       pharmacist is familiar with the doctor and the doctor's
8       practice.   If I can explain or --
9                   THE COURT:   Well, what I'm looking at, in thinking is
10      that these subjects all test the doctor/patient relationship
11      and whether there's a valid doctor/patient relationship,
12      correct?
13                  THE WITNESS:    Yes, sir.
14                  THE COURT:   And you have told me that and testified
15      earlier that a pharmacist must either verify that there's a
16      doctor/patient relationship, or if there are red flags to
17      suggest otherwise, must make a reasonable inquiry to determine
18      whether the valid doctor/patient relationship exists, correct?
19                  THE WITNESS:    Correct.
20                  THE COURT:   So we're now in the posture of our
21      hypothecated reasonable pharmacist operating under those
22      standards of practice who is now sitting in front of his
23      computer screen looking at the website, and that hypothecated
24      reasonable pharmacist is also privy to the telephone exchange
25      between the website and the people trying to order, because
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1       that's all things that you had access to, correct?
2                  THE WITNESS:     Yes, sir.
3                  THE COURT:    So what I'm looking to is to find out is
4       what you just testified to just your personal opinion, or how
5       could that be grounded in the standards and practice of
6       pharmacy and what you learn in pharmaceutical school and
7       practice every day?
8                  THE WITNESS:     Okay.   The first condition that a
9       pharmacist would look for is whether or not a physician was
10      licensed to practice medicine in the state where the patient
11      was.
12                 That would be the first question they would ask on a
13      prescription.
14                 If that was absent, the pharmacist then would see
15      that as a significant red flag.
16                 The second condition would be what type of medication
17      that prescription was for.      If it was for a non controlled
18      substance, the pharmacist would then validate with the patient,
19      the patient knew what the medication was for, and that there
20      was a reasonable occurrence of a legitimate medical purpose.
21                 If it was for a controlled substance, immediately
22      raises it to a more significant level, where the pharmacist now
23      has two conditions they're looking at.         One, whether the
24      physician is licensed in the state.        Two, they have an
25      out-of-state patient that's presented a controlled substance
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1       and the pharmacist now has a more significant degree of legal
2       responsibility to validate that prescription.
3                   There's nothing on these websites for one to indicate
4       the doctor's licensed to practice where is patient is located.
5       There's nothing to indicate that the cyberspace or the doctor
6       consultation is going to meet that the legitimate medical
7       purpose or doctor/patient relationship.
8                   THE COURT:   So if you were to summarize, it would be
9       fair to say that our hypothecated reasonable pharmacist would
10      have a significant red flag raised for him or her if they were
11      to look at the website?
12                  THE WITNESS:    Yes, sir.
13                  THE COURT:   Good.    If I could see counsel, please?
14                  (At the bench)
15                  MR. RAVENELL:    Could we ask the witness to step down
16      since the jury's not here?
17                  THE COURT:   Yes, certainly.     We're going to take a
18      five-minute recess afterwards, any way.
19                  Sir, you can step down.      Thank you.
20                  THE COURT: Yes, sir.
21                  MR. RAVENELL:    Your Honor, there's several things
22      that jumps out.     There is absolutely no way that the defendants
23      would have been privy to the information that this witness is
24      privy to.   It's impossible either gone onto the website.         For
25      example, they would never been privy to the phone conversation
                                                                                 146
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1       between the patient and the website people.         They just
2       wouldn't.   They would not be privy to whether there were
3       medical records reviewed.      You have a witness who says I could
4       find nothing on the website that tells me that the medical
5       records were reviewed.
6                   Well, you have testimony from the government's own
7       witness, Mr. Kaps, that the doctors reviewed all of the medical
8       records.
9                   This testimony about what a pharmacist should know,
10      based on what this witness has reviewed after the fact, and
11      Your Honor, let's be mindful, this witness himself only has
12      this information because after the fact, after the arrest, the
13      government was able to get this stuff out of the computer and
14      because there were undercover operations where they were
15      recording the calls for investigative purpose.
16                  These calls are not routinely recorded for people to
17      have, so the defendants couldn't have even gotten the calls
18      even if they had asked for them.
19                  So to suggest that they should now be able to held to
20      a standard where this witness can go in after the fact and look
21      at all this information, and this witness again is looking at
22      only where there was a planned undercover operation.              He's not
23      looking at any of the calls where there are legitimate patients
24      calling or whatever who is calling and making these contacts.
25                  He's looking at these undercover calls after the
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1       fact, where the defendants would never have access to the same
2       information that he has.
3                  THE COURT:    Good.    Thank you.
4                  Miss Smith?
5                  MS. SMITH:    Your Honor, it goes to whether the
6       doctor/patient relationship was a valid one.          It goes to
7       whether the prescriptions were valid, actually what's on the
8       website, and I did neglect to ask the witness while he was on
9       the witness stand just now about the language in the
10      disclaimer.    It's the government's position what is on the
11      website and what is the process that a customer goes through
12      would give the pharmacist notice.
13                 The testimony about the consultation goes toward the
14      first prong that these prescriptions were invalid.
15                 MR. RAVENELL:     Your Honor, I'll just add that this
16      witness said that his decision is based strictly on the public
17      information produced on the website.        Well, that isn't even
18      true, because the public information would never have the phone
19      calls that he was now able to listen to because it was part of
20      an undercover investigation.       It is not even true what he's
21      told the Court.
22                 THE COURT:    Well, let's do this, it's 3:20, let me
23      think about it, and we'll come back at 3:30, and then I'll
24      rule.
25                 But from the government's standpoint there are two
                                                                               148
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1       things at work here.     The first is was the prescription valid?
2       If it's valid, then he can look at anything.
3                   There's the second question is what the reasonable
4       pharmacist should know.      And Mr. Ravenell has a very good
5       point, and that is the only thing that even if Mr. Sodipo and
6       Mr. Nwaehiri had looked, the only thing that they could have
7       seen would be the web screens.
8                   MS. SMITH:   I will divide it that way, Your Honor.
9                   THE COURT:   So I'm going to think it through and see
10      whether I'm going to let it in at all.         But if it comes that,
11      it would have to be carefully gone through as to the two
12      different scenarios, and I'm going to be thinking about in the
13      next few minutes whether in my view there is a reasonable
14      inference that the websites when there's nobody who says that
15      they did.
16                  MR. RAVENELL:    Your Honor, on the valid prescription
17      aspect, I want to get this in before thinking about it is again
18      the valid prescription aspect really for this witness is
19      talking about what goes to the doctors, and Dr. Christo
20      certainly would be a doctor to testify, could have testified
21      about what was a valid prescription for a doctor.
22                  This witness has been called as an expert to talk
23      about what would a reasonable pharmacist have concluded under a
24      corresponding responsibility.       And if they fall short because
25      the defendants would not have had this information before them,
                                                                               149
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1       then his testimony about whether this is a valid prescription
2       is highly irrelevant because he's not a medical person who
3       could testify about what a doctor would look for.          It's just
4       not in his bailiwick.
5                    In fact, this witness has testified previously when
6       asked a question, and I can point to his testimony in a prior
7       trial, he's not competent to testify to what a doctor would
8       look for.
9                    THE COURT:   Good.   So let me think about it for ten
10      minutes.
11                   MS. SMITH:   Your Honor, I need to add one more fact,
12      recovered at the New Care at the search was a printout from the
13      computer screen of one of the websites, specifically the
14      disclosure page.     The disclaimer page, rather.
15                   And I did want to ask this doctor, this witness, what
16      is wrong with the disclaimer page and would it have given a
17      reasonable pharmacist notice.       We know somebody saw that at New
18      Care.   I think it's reasonable to suspect they saw all of it,
19      but they cannot deny that that those papers were recovered at
20      New Care.
21                   MR. RAVENELL:   That doesn't mean the defendants saw
22      it, Judge.
23                   THE COURT:   Good.   Thank you.
24                   (Recess.)
25                   THE COURT:   Please be seated.     And you might as well
                                                                            150
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1       wait outside for another minute, sir?
2                   In my view, the answers to the questions that we were
3       debating before the break can be found in United States versus
4       Lawson, 682 F. 2d, at 480.      In footnote 6, the Court wrote:
5       Lawson argues that Professor Fedder should not have been
6       qualified to testify about the medical legitimacy of the
7       prescriptions because the pharmacists and not the doctors were
8       on trial.   Admittedly, the only issue is whether the pharmacist
9       knew the prescriptions were not genuine.         However, contrary to
10      the defendant's arguments, Dr. Fedder's testimony did not stray
11      from that issue.     Although Professor Fedder was asked if in his
12      opinion the prescriptions were issued for a legitimate medical
13      purpose, he answered from a pharmacist's perspective pointing
14      to the flags of illegitimacy, such as the uniformity of the
15      prescriptions, which should signal a pharmacist that the
16      prescriptions were not legitimate."
17                  So if we extrapolate that ruling to the instant
18      situation, we need to have a flag of illegitimacy which will
19      signal to a pharmacist that the prescriptions were not
20      legitimate, which would mean that the Dr. Catizone can testify
21      as to what a pharmacist would see if the pharmacist visited the
22      website.
23                  And I think it's a fair inference that the fair
24      argument in this case is that based upon the length of the
25      association between the pharmacy and the pharmacists and the
                                                                             151
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1       website, and other factors, it's a fair inference, fair
2       argument, that the pharmacists did look at the websites and saw
3       what was there to be seen.
4                   But the pharmacist would not have been privy to the
5       telephone consultations because the consultations were not on
6       the website.
7                   So my ruling is that Mr. Catizone can testify about
8       flags of illegitimacy based on what was there in the web
9       screens if someone, if the pharmacist were to look at the
10      website, but that he should not testify as to the validity of
11      the prescriptions based upon all of the other factors that he
12      would not have been privy to, and it's redundant we've already
13      had all that testimony from the doctor who testified in
14      considerable detail about the examinations and his conclusion.
15      So in my view it's repetitive.       So we'll stick to the web
16      screens.
17                  And Miss Smith, you had mentioned a disclaimer, are
18      we talking about the disclaimer about the Florida statutes and
19      --
20                  MS. SMITH:   No, Your Honor.     The disclaimer that's on
21      the web screen.
22                  THE COURT:   And what does that say?
23                  MS. SMITH:   It's two pages long, very small print,
24      and it was included in government's exhibit 13 A.          It's in
25      evidence.
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1                    I will just provide it to the Court.       And I was just
2       going to ask him if that would give him any, provide any red
3       flags, so to speak.
4                    (Pause.)
5                    THE COURT:   Good.   That's there to be seen.         So the
6       question then is was there disclosure?
7                    MS. SMITH:   I'm not following the Court, whether the
8       defendants saw it?
9                    THE COURT:   That this was part of his expert
10      testimony.
11                   MS. SMITH:   Yes.    Oh, clearly it was disclosed to
12      him, yes, Your Honor.        And it was described in the government's
13      letter to the defense that it was included with the disclosure.
14      It was everything related to the undercover buys that is an
15      exhibit in evidence with the undercover business.
16                   THE COURT:   Good.   Then that is my ruling.         What was
17      there to be seen but not -- he can't testify about the oral
18      part of the communications that he may be privy to.
19                   MR. RAVENELL:    I just want to review the document
20      once the Court's finished.
21                   THE COURT:   Yes.    I'm done.
22                   (Pause.)
23                   THE COURT:   Good.   Mr. Thompson, if you would bring
24      in the jury, please?
25                   (Pause.)
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1                  (Jury present)
2                  THE CLERK: Jurors all present.
3                  THE COURT:    Thank you, Mr. Thompson.       Please be
4       seated.
5                  Miss Smith, whenever you're ready.
6       BY MS. SMITH:
7       Q.   Directing your attention, sir, to government's exhibit 13
8       A, which are from the undercover purchases on the screen, if
9       you would look at that document and tell us what are the red
10      flags that a reasonable pharmacist should have noticed if they
11      looked, if they'd gone to the website and looked at what's on
12      there?
13      A.   The red flag that a reasonable pharmacist would notice
14      would be, one, there is no information indicating whether or
15      not the doctor is licensed to practice medicine in the state
16      where the patient is located.
17                 Two, the website focuses on the doctor consultation
18      with no information about whether or not that's a valid patient
19      prescriber relationship.
20                 Two -- third, I'm sorry, third is the site focuses on
21      pain medications and doesn't provide any indication that there
22      are other medications that the patients can order.
23                 Fourth, there is no means for the patient to submit a
24      prescription through their doctor as other pharmacies that
25      operate within the law -- pharmacies meet.
                                                                            154
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1                    MR. RAVENELL:   Objection, Your Honor.
2                    THE COURT:   I'll strike operate within the law, if
3       you would find a different phrase, please?
4       A.   Sure.   Pharmacies that comply with standards in the state
5       and federal laws would provide for the patients.
6       Q.   Can you tell me, sir, what do you mean by there's no means
7       for a patient to submit a prescription?         What were you saying?
8       A.   There is no means for the patients through their doctor to
9       submit a prescription to this website.
10      Q.   From their own doctor that they know in their own town?
11      A.   Yes.
12      Q.   Okay.   So they couldn't send that prescription to the
13      website and have that pharmacy fill it?
14      A.   No.
15      Q.   Is there any means that you can see on there for a patient
16      to get a prescription and take it to the pharmacy of their
17      choice and fill it?
18      A.   No.
19      Q.   Sir, if you would turn a few pages back, there's a tab, to
20      page marked disclaimer, if a reasonable pharmacist went to the
21      website, clicking the hyperlink to look at the disclaimers,
22      tell us what is it in the disclaimers that would cause a
23      reasonable pharmacist to believe there are red flags?
24      A.   The disclaimer removes the legal responsibility from the
25      pharmacy or from the prescriber and places it on the patient,
                                                                                155
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1       and that is not possible.
2       Q.    Any other observations?
3       A.    Websites that display these disclaimers do not operate as
4       pharmacies that adhere to the standards and the state and
5       federal laws.
6                     I'm not aware of any pharmacy that adheres to
7       standards.
8                     MR. RAVENELL:   Objection, Your Honor, what he's aware
9       of.
10      Q.    In your training and experience, sir.
11                    THE COURT:   Well, if I can see counsel, please?
12      Q.    Your Honor, I'll just withdraw the question.
13                    THE COURT:   All right.
14      Q.    Sir, directing your attention to defendant's exhibit 2, I
15      don't know that I have it here, but I have a copy of it.          Mr.
16      Thompson, maybe you can provide it for me.         And I'll take that,
17      sir.    Thank you.
18                    Sir, as part of your preparation for today, did you
19      look at defendant's exhibit number 2?
20      A.    Yes, I did.
21      Q.    And did you make any observations about that exhibit?
22      A.    Yes, I did.
23      Q.    Okay.   And what would a reasonable pharmacist being
24      presented with that document or 300 of those documents --
25                    MR. RAVENELL:   Objection, Your Honor, may counsel
                                                                           156
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1       approach?
2                   THE COURT:   You may.
3                   (At the bench)
4                   MR. RAVENELL:    Your Honor, this is so blatantly in
5       violation of your rule this morning, your order this morning
6       that there was not to be any opinion about this witness
7       regarding the disclaimer, which is defense exhibit number 2.
8                   The Court said that all the witness could say that he
9       in fact had never seen this certification before, that it was
10      not disclosed, and that they could not -- for the government to
11      even attempt to go into this after the Court has ruled is just
12      blatantly wrong.
13                  THE COURT:   Are we in the certification or the
14      disclaimer on the website?
15                  MR. RAVENELL:    Certification.
16                  THE COURT:   Certification at the bottom of the
17      prescription?
18                  MS. SMITH:   I hadn't asked him about the
19      certification.     I was just having him observe the prescription
20      what are the things they observation, observes that the patient
21      is in one state, the doctor is in another state, things of that
22      nature that he's already testified to.
23                  THE COURT:   Well, is he now getting down to the
24      disclaimer?    The certification?
25                  MS. SMITH:   The certification, I was going to then
                                                                             157
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1       ask him if he'd ever seen that.       I hadn't asked him that yet.
2                  THE COURT:    So you're going to ask him if he's ever
3       seen a certification like this before?
4                  MR. RAVENELL:     That's fine, Your Honor, that's not
5       the way the question was being phrased.
6                  THE COURT:    Well, there was something about if he saw
7       a hundred or 300, just so we're now getting to the
8       certification.
9                  MS. SMITH:    Well, not yet, but unless the Court is
10      telling me I can't ask any other questions about the face of
11      the prescription.
12                 THE COURT:    What was the 100 or 300, what was the end
13      of that question?
14                 MS. SMITH:    What would a reasonable pharmacist would
15      notice when presented with this prescription or 300 of these
16      prescriptions, what would a reasonable pharmacist observe.
17                 MR. RAVENELL:     And, Your Honor, that's just a
18      backdoor way to get into, because that disclaimer is on the
19      prescription.    And what the government is attempting do is to
20      get this witness to say if I saw a prescription like this,
21      which of course includes the disclaimer, that this is what it
22      would mean to me.     It's just a backdoor way of getting around
23      your order, and it's so clearly just that.
24                 THE COURT:    Well, is he going to get into the
25      certification, or is he going to talk about the doctor in one
                                                                              158
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1       state and patient in another?
2                  MS. SMITH:    That's what I expect him to --
3                  THE COURT:    Make sure that the only thing comes out
4       about the certification that he's never seen wasn't like this
5       before.
6                  MR. RAVENELL:     Your Honor, it's not the phraseology,
7       to give the witness the document which the jury knows has the
8       disclaimer on it, and to ask a question, you know, if you were
9       given a hundred of these, 300 of these, you know, what would
10      that tell you, and the witness goes and launches into this
11      would tell me there's no valid doctor/patient relationship,
12      assuming that's his answer, that answer encompasses the
13      certification.
14                 Now we have to then back out of that answer about the
15      disclaimer.
16                 THE COURT:    Well, the only thing that he's going to
17      testify to is about the things other than the certification
18      until the certification is pointed, just please make sure that
19      happens.
20                 MS. SMITH:    I will begin my question with the
21      certification across the bottom do not look at that for the
22      time being I have a question about the rest of the
23      prescription.
24                 THE COURT:    Well, just when you go back, just make
25      sure he doesn't, don't do it that way.         Just I don't want to
                                                                               159
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1       hear about the certification until the end, when you ask him
2       have you ever seen one like this before.
3                    MS. SMITH:   Your Honor, what if I ask him about that
4       first get it out of the way and then ask him about the rest of
5       the prescription?
6                    THE COURT:   Good.   That's fine.
7                    (Open court)
8       BY MS. SMITH:
9       Q.   Sir, have you had an opportunity to look at that?
10      A.   Yes, I did.
11      Q.   And did you in fact have an opportunity to look at that in
12      preparation for your testimony today?
13      A.   Yes, I did.
14      Q.   Okay.   There is a certification at the bottom.         It says "I
15      certify that a patient/physician relationship exists as per
16      Street-wise Medical Risk Management, Inc.         Gaffner, Rosemary,
17      Edition D, page 57, 7th printing, and that the prescription was
18      given in compliance with the Florida standards for telemedicine
19      prescribing practice 64B8-9.014 and using federal guidelines.
20                   Do you see that, sir?
21      A.   Yes, yes, I do.
22      Q.   In your experience and training and background, have you
23      ever seen a certification like that?
24      A.   No.
25      Q.   And let me ask you, sir, have you reviewed Rosemary
                                                                               160
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1       Gaffner's Street-wise?
2       A.   Yes, I have.
3       Q.   Okay.   At my direction, did you turn to page 57?
4       A.   Yes, I did.
5                    MR. RAVENELL:    Objection, Your Honor, may counsel
6       approach?
7                    THE COURT:   Let me see counsel, please.
8                    (At the bench)
9                    MR. RAVENELL:    Is there a reason why?
10                   THE COURT:   I thought that all we're going to do with
11      the certification at the bottom was that he hadn't seen one.           I
12      didn't think that we'd be getting into Rosemary Gaffner or
13      Florida.
14                   MS. SMITH:   What I understood the Court to instruct
15      me, he was not to interpret the meaning of anything that was
16      contained in there.       My only question to him was do the words
17      doctor/patient relationship appear on page 57?
18                   THE COURT:   This is --
19                   MS. SMITH:   That's a fact question.      That's not an
20      analysis.
21                   THE COURT:   But it's beyond.     You can do it in your
22      rebuttal case, but you can't do it now.         The only thing that's
23      going to come in about this certification is that he's never
24      seen one like it before.      That was the ground rule that we
25      established last week and that we'll stick to.
                                                                               161
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1                  MS. SMITH:    Very well.
2                  MR. RAVENELL:     Thank you.
3                  (Open court)
4       BY MS. SMITH:
5       Q.   And, sir, looking at the rest of the prescription, putting
6       the certification aside for a moment, what, if any,
7       observations do you make about that prescription that would
8       cause a reasonable pharmacist to observe red flags?
9       A.   There are two general observations:        One, there's some
10      errors in the prescription.       There's misspelling of words, such
11      Apocillin that would suggest to the pharmacist that the
12      allergies as recorded, perhaps somebody was not familiar with
13      those allergies, or that someone conducted this that wasn't
14      competent to do so, it would be a red flag for the pharmacist
15      to make sure that was correct.
16                 MR. RAVENELL:     Your Honor, objection.      Your Honor,
17      may counsel approach?
18                 THE COURT:    You may.
19                 (At the bench)
20                 MR. RAVENELL:     This is not a prescription that New
21      Care filled.    It is a rejected prescription.        It is one that
22      New Care rejected.     So to have this witness testify about what
23      comes to mind, it's not relevant to this prescription.            It was
24      not filled.
25                 THE COURT:    It doesn't have to have been filled.
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1       It's simply a red flag.      It's simply generated by the website
2       that would make a prescription, or make a pharmacist think
3       twice about filling it.
4                  So the fact that it was either filled or rejected is
5       not the seen or known, so I will overrule the objection.          So
6       let's press on.
7                  Miss Smith, how much more do we have on this?
8                  MS. SMITH:    I think I've got three more areas that
9       I'm trying to get through, exhibits that he was provided.
10                 THE COURT:    Thank you.
11                 MR. RAVENELL:     Your Honor, there are -- I know we're
12      going get -- I don't know how much longer Miss Smith has, but
13      three areas, but if we get to the point of 4:30, there are a
14      couple issues we need to take up with the Court.          I was going
15      to ask the Court to break instead of starting the cross.          There
16      are at least three areas that I need to bring to the Court's
17      attention about a witness issue for a motion in limine that I
18      don't want to be giving to you tomorrow morning, so however you
19      want to handle it.
20                 THE COURT:    Let's see how far we get.
21                 (Open court)
22      BY MS. SMITH:
23      Q.   Sir, are there any other observations you would make on the
24      face of that prescription?
25      A.   One of the red flags indicated by practice standards of
                                                                               163
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1       state and federal law is the fact that the patient lived in a
2       state different than the prescribing doctor.
3       Q.   And how does that -- how is that fact a red flag?
4       A.   There's a legal and practice standard responsibility placed
5       upon the pharmacist to verify that that was a legitimate
6       patient prescriber relationship.
7       Q.   And, sir, are you familiar with the statistics issued by
8       the DEA for the number of prescriptions issued in the year 2006
9       across the United States?
10      A.   Yes, I am.
11      Q.   Okay.   And what number was that?
12      A.   The total number of prescriptions issued across the United
13      States was approximately 3.7 billion.
14                   MR. RAVENELL:    Objection, Your Honor.     May counsel
15      approach?
16                   THE COURT:   You may.
17                   (At the bench)
18                   MR. RAVENELL:    I'm looking, Judge, and I'm hopeful
19      I'm wrong, but I don't see any such disclosure.
20                   MS. SMITH:   June 23, be advised that he has been
21      provided the following items, prescriptions statistics provided
22      by DEA, this document is attached.
23                   On page 4 of the letter, the opinion is the volume of
24      hydrocodone prescribed, prescriptions filled by New Care during
25      the period, the question substantially exceeds the percentage
                                                                                    164
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1       controlled substances and the percentage of hydrocodone
2       prescriptions filled by pharmacies throughout United States.
3                  MR. RAVENELL:     Let me look at my June 23rd, what was
4       -- okay.   I have it now.
5                  (Pause.)
6                  MR. RAVENELL:     Let me check something.
7                  (Pause.)
8                  MR. RAVENELL:     Your Honor, this is basically hearsay.
9       What we have attached here is a witness.         This is what we were
10      given, Judge, by the government.
11                 THE COURT:    Thank you.
12                 (Pause)
13                 MR. RAVENELL:     The government says he has
14      information.    He doesn't have any information that he has any
15      personal knowledge of.      It's some piece of paper that we have,
16      that's what we have, and he's basing this information on.
17                 (Pause.)
18                 THE COURT:    Well, this goes to disclosure.           I don't
19      know what source.
20                 MR. RAVENELL:     I'm sorry.    I apologize.    I'm not
21      talking about disclosure.      I agree that it was disclosed.         I'm
22      talking about whether this witness is able to testify about the
23      number of prescriptions that was given, written in the United
24      States based on this piece of paper.        If that's his basis of
25      knowledge, it's hearsay.
                                                                              165
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1                    THE COURT:   He may have some other source, and
2       experts can rely upon hearsay.       So I think it's a matter for
3       cross-examination.     He says he knows how many prescriptions
4       were issued, so he can testify.
5                    MS. SMITH:   Based upon the statistics.
6                    MR. RAVENELL:   All right.    Thank you.
7                    (Open court)
8       BY MS. SMITH:
9       Q.   Sir, you were testifying that, according to statistics
10      released by the DEA in the year 2006, 3.7 billion prescriptions
11      were filled in the United States?
12      A.   Correct.
13      Q.   And based upon those same statistics and source of
14      information, can you tell us, sir, what prescriptions were for
15      -- what percentage were for controlled substances?
16      A.   Approximately 12 to 13 percent.
17      Q.   And of those 12 to 13 percent, what percentage were for
18      hydrocodone?
19                   MR. RAVENELL:   Same objection, Your Honor.
20                   THE COURT:   I'll overrule the objection.       Do you have
21      a basis of knowledge for answering it, sir?
22                   THE WITNESS:    Approximately 25 percent of the 12
23      percent.     So about three percent of the total 3.6 billion
24      prescriptions were for hydrocodone.
25      Q.   Okay.   Sir, your basis of knowledge for that information?
                                                                           166
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1       A.   The information that the states present to us in regard to
2       the prescriptions dispensed and the percentages, our
3       interactions with the Drug Enforcement Administration,
4       information that is widely available in the pharmacy journals
5       is what I base that information on.
6       Q.   Sir, in preparation for your testimony today, were you
7       asked to review the Maryland Board of Pharmacy newsletters?
8       A.   Yes, I was.
9       Q.   Before we move on, sir, do the numbers that you have just
10      described, the 3 percent of prescriptions issued in 2006 were
11      for hydrocodone, did that have any impact on your opinion that
12      these pharmacists at New Care who filled the Internet
13      prescriptions were acting outside the standards of professional
14      practice?
15      A.   Yes.
16      Q.   And why is that, sir?
17      A.   The 3 percent sets a standard that is used to regulate
18      pharmacies and pharmacists.       The percentages of hydrocodone
19      prescriptions dispensed by New Care far exceeded that standard.
20      Q.   Now, directing your attention, sir, to government's exhibit
21      22 C, as been identified, it might be on the back, it has been
22      identified as the July, 2001 newsletter.
23      A.   Yes, sir.   Yes, ma'am.
24      Q.   Have you reviewed all of these newsletters?
25      A.   Yes, I have.
                                                                               167
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1       Q.   Okay.   And in your opinion, are these consistent with
2       federal and Maryland laws on pharmacy practice?
3       A.   Yes.
4       Q.   And are the passages in there that address the
5       responsibility of a pharmacist consistent with your
6       understanding of what that responsibility is?
7       A.   Yes.
8       Q.   Okay.   Now, I'm going to ask you in a moment to read some
9       passages, and then the follow up question is going to be would
10      a reasonable pharmacist having read that been on notice as to
11      what their responsibility would be.        Okay?
12      A.   Understood.
13      Q.   So if we would turn to 22 C?
14                   MR. RAVENELL:    Objection, Your Honor.     It's not in
15      evidence.
16                   MS. SMITH:   It is in evidence.
17                   MR. RAVENELL:    No, they aren't.
18                   THE COURT:   If I could see counsel, please?
19                   (At the bench)
20                   THE COURT:   Now, these are the newsletters that were
21      purportedly mailed to New Care and the pharmacists, correct?
22                   MS. SMITH:   That is correct.
23                   THE COURT:   My understanding is that they are in
24      subject to Mr. Ravenell's request to redact certain portions of
25      them.
                                                                                 168
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1                   MS. SMITH:    Yes.
2                   MR. RAVENELL:    Actually, we never had any such
3       discussion.    What the Court -- can I just speak as the Court's
4       directed to me, I'll be happy to speak.
5                   The government has shown the newsletter to several
6       witnesses as ID only.       The documents have never been moved in
7       and never been accepted as being in evidence.
8                   The Court found that the documents could not come in
9       unless and until it was admitted through the expert.              We're now
10      at that stage, because the Court said that those other
11      witnesses would not be able to say whether these items were
12      used in the ordinary course, et cetera.         And there has never
13      been an offer since those documents were shown by the
14      government to move it into evidence.
15                  And the Court has not ruled on whether this is now in
16      evidence.   So it can't be shown.      I want to be heard on whether
17      it comes into evidence.
18                  MR. BUDLOW:     Your Honor, could I be heard from the
19      government?
20                  THE COURT:    That sort of refreshes my recollection.
21      I remember there was an issue about the mailing in the ordinary
22      course of business, and then we had the woman from the Board of
23      Pharmacy who came to testify, that she mailed it all in the
24      ordinary course of business.
25                  MR. RAVENELL:    Right.
                                                                                169
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1                  THE COURT:    I can't remember whether it was they were
2       all received, what number is it?
3                  MR. BUDLOW:     22 A, B, C, D.    And there's also a
4       defense exhibit, which number I don't have it handy.
5                  THE COURT:    Good.    Let me ask, Mr. Thompson?       22 A, B
6       C, D are they in?
7                  MR. RAVENELL:     Actually, Mr. --
8                  THE COURT:    Pardon?
9                  THE CLERK:    They're all identified.
10                 THE COURT:    Identified only.
11                 MR. BUDLOW:     Your Honor, my recollection is that
12      Summer Goodman testified, and I am very wary of ever
13      contradicting Mr. Thompson because I know I'm going to be wrong
14      but I'll say --
15                 THE CLERK:    If I could, 22 A and B are in.
16                 THE COURT:    Are?
17                 MS. SMITH:    But those aren't the newsletters.
18                 THE CLERK:    22 C, D, E, F are ID only.       G, H, I are
19      in.
20                 MS. SMITH:    Your Honor, as I recall, as I recall, the
21      Court had some concerns that they be established to be
22      consistent with Maryland and federal law.         My witness has just
23      testified to that.     I would move them into evidence at this
24      time, because I believe we have satisfied the Court's concerns.
25      That was the last concern.
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1                  The major concern was proving that they had been
2       mailed in the usual course, and we did that, too.
3                  THE COURT:    What portions is the witness testifying
4       consistent with Maryland law?
5                  MS. SMITH:    He testified that his review of all of
6       these documents, the contents, the part that discusses the
7       responsibility of a pharmacist, are consistent with his
8       understanding of the responsibility of the pharmacist as
9       defined in federal law and Maryland law.         He has just testified
10      to that.   And I was going to have him read a handful of
11      passages and ask if each of those passages would put a
12      reasonable pharmacist on notice of what his responsibilities
13      are.
14                 THE COURT:    And what passages were they?
15                 MR. RAVENELL:     Can I get my copies?
16                 THE COURT:    Sure.
17                 (Pause.)
18                 THE COURT: Thank you.
19                 MR. RAVENELL:     This is 2001.     Do I have a 2001?
20      Okay.
21                 THE COURT:    Good.    So the highlighted portion, let me
22      read it, please.
23                 (Pause.)
24                 THE COURT:    Miss Smith, what else?
25                 MS. SMITH:    The next page will have the next marking,
                                                                              171
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1       Your Honor.    These are just the passages I was going to direct
2       him to the exhibit number and the page number and then the
3       passage.   So this would be July '04, exhibit 22 D, and it's
4       that passage on page 3.
5                  THE COURT:    Miss Smith, everything that's
6       highlighted, or just the second one, is that everything that's
7       highlighted?
8                  MR. RAVENELL:     Thank you.    Let me make sure look at
9       it so I have the same thing.
10                 (Pause.)
11                 MR. RAVENELL:     Okay.    Thank you.
12                 (Pause.)
13                 THE COURT:    Good.    Thank you.
14                 Miss Smith, is there any others?
15                 MS. SMITH:    There's one more.      There's one more.   The
16      passage is -- I'm -- actually, Your Honor, it's this whole
17      passage.   It's that column and a half.
18                 THE COURT:    Good.    Thank you.    Do you have it?
19                 MR. RAVENELL:     I have it.    Just I'm looking at it.
20                 (Pause.)
21                 MS. SMITH:    That's it.    Your Honor, I would also like
22      to point out that the exhibits themselves are stamped in
23      evidence on July first, the date that they were marked for
24      identification.     He says they are in.     He indicates that they
25      are in.
                                                                           172
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1                  MR. RAVENELL:     Who's he?
2                  MS. SMITH:    Mr. Thompson.
3                  MR. BUDLOW:     I have a specific recollection of it.   I
4       examined Summer Goodman and made a motion in court in front of
5       the jury to admit these documents, and my recollection is that
6       they were admitted at that time. Without objection.
7                  MR. RAVENELL:     I'm sure it wasn't without objection,
8       of that I'm sure.
9                  THE COURT:    Thank you.    Mr. Ravenell?
10                 MR. RAVENELL:     Your Honor, first of all, whether Mr.
11      Budlow remembers without objection, the Court may recall that
12      we had objections to all these documents coming in from day
13      one, so I don't want the record to in any way suggest that Mr.
14      Budlow's accurate that these documents ever came in over our
15      objection, if they in fact came in.
16                 Turning to the documents, you know, themselves, the
17      government wishes to elicit information from this witness,
18      Judge, and if the Court, if these are somehow in evidence, you
19      know, we would again argue the aren't in evidence, the first
20      thing to decide is whether they're in evidence, or whether I'm
21      moving to have it stricken or whether I'm moving to keep it
22      out.   That would be I guess helpful in the Court's analysis on
23      what we're doing.
24                 So I'm not sure if the Court wants to determine that
25      first.   But I'll be happy to be heard on what's on the
                                                                            173
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1       document.
2                    THE COURT:    Well, the answer is I don't know, so just
3       tell me, why they shouldn't be in evidence, and what they are,
4       why they should be stricken?
5                    MR. RAVENELL:    Your Honor, turning first to the --
6       I'm sorry.     I don't have the government's numbers on this, this
7       July '04 newsletter.
8                    MS. SMITH:    22 D.
9                    MR. RAVENELL:    22 D, thank you.
10                   The first thing that comes out, Your Honor, is that
11      the Court -- and this is a problem that actually creeps up in
12      the April '05 newsletter, which is -- what number is that, Mr.
13      Budlow?
14                   MR. BUDLOW:     22 E.
15                   MR. RAVENELL:    22 E.   Is where we had, the Court has
16      indicated that you're not going to let the government place
17      before this jury through this witness, that these COMAR
18      regulations where he's comparing COMAR with the CFR's, and this
19      does exactly that.
20                   What we have are these COMAR, if we look at 22 E, for
21      example, you have a newsletter which says, you know, the
22      specific area of Maryland pharmacy law, and then cites COMAR,
23      10.190304 and then cites the purpose of issuing of prescription
24      21 CFR 13.0604.     We're doing exactly what the Court has
25      indicated should not be done with this witness, and because of
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1       the possibility of having a jury confused about what the law
2       is, which is one of the reasons we argued against this coming
3       in originally and continue to argue against it coming in, of
4       course, our other argument was there's no evidence that the
5       defendants saw it.
6                  But on this particular issue, what we will now have
7       is the jury having before it in these COMAR regulations that
8       the Court just said this morning should not be before the jury
9       for the reasons of confusion, and the jury thinking that, well,
10      if the Board of Pharmacy says this is the Maryland law and
11      cites to the COMAR regulations, that that is the law.
12                 And we have those same confusions that you're trying
13      to avoid by not having this witness do it.         And that's what
14      runs through these exhibits, particularly, additionally, on
15      exhibit 22 D, it's the question for the practice committee, is
16      it legal to dispense a prescription that was written for the
17      prescriber or a member of the prescriber's family?           And the
18      answers that flow from that are about whether it's proper to
19      for one to fill a prescription where it's for the prescriber's
20      family, which is not at all at issue in this case.
21                 Now, while it does talk about COMAR, it talks about
22      COMAR outside of the context of what's before this jury, with
23      additional references to COMAR is a problem as well.
24                 And then the 2001 newsletter, which if I may ask Mr.
25      Budlow what that number is?
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1                  MR. BUDLOW:     That is --
2                  MS. SMITH:    22 C.
3                  MR. RAVENELL:     22 C, is a reference to Oxycontin, you
4       know, which is obviously a Schedule II narcotic, not a Schedule
5       III, not before this jury, and now the jury's got information
6       about again COMAR, what the COMAR regulations say and what it
7       says as to Oxycontin.
8                  And what the jury -- what the government is going to
9       be doing is getting before this jury, again, what they term to
10      be a COMAR reg, which is they can say it as much as they want
11      it is the law, it isn't the law, but what it does have the jury
12      accept relying upon these references and the law is when the
13      Court has to be the one to instruct the jury of what the law
14      is.
15                 When the jury hears the law, I don't think they're
16      going to hear these references to COMAR.         It's one the thing
17      for the witness to have testified as he has, the Court has
18      aloud him to over our objection about the standard of care.
19      But this is about actually having before this jury a Board of
20      Pharmacy saying this is Maryland law when, A, it isn't Maryland
21      law.   And, B, it's for the Court to instruct on what the
22      federal law is that's in place.
23                 THE COURT:    Thank you.     My view is this, and my
24      ruling is this, that I will permit 22, these exhibits 22 C, D
25      and E.   In my view, the rule has been satisfied with the
                                                                             176
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1       testimony by the person who testified they were mailed in the
2       ordinary course of business, and they are admissible so long as
3       the witness is prepared to state that they accurately state the
4       duty imposed upon a pharmacist by the standards of professional
5       practice.
6                   MR. RAVENELL:    Your Honor, I'd ask the Court then to
7       move in the defense exhibit that the witness also testified to,
8       which is the 2002 newsletter, that the Court held in the same
9       purpose, I don't have it.
10                  MR. BUDLOW:     Actually, the government moved that in
11      as well, through Summer Goodman.
12                  MR. RAVENELL:    The point is the Court --
13                  THE COURT:    They're all admitted, so that if they've
14      been identified --
15                  MR. RAVENELL:    Right.
16                  THE COURT:    -- they're newsletters that were mailed
17      in the ordinary course of business, mailbox, and they're
18      admitted as well.
19                  MR. RAVENELL:    So the four items that are before the
20      jury would be the 22 C, D, E?
21                  MS. SMITH:    And F, which I'm not using, but there is
22      an F.
23                  MR. RAVENELL:    I understand the Court just said C, D,
24      E, and but I'm hearing an F from Ms. Smith.         Defense is 27.
25                  THE COURT:    27.
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1                   MR. RAVENELL:    And the Court has admitted it.       I
2       understand the government's 22 C, D and E, but I'm hearing --
3                   MS. SMITH:   I didn't offer to the Court to read any
4       part of it, but I'm not asking the witness to read any part of
5       it, but the mailbox rule is satisfied with regard to this one
6       as well.
7                   THE COURT:   What is that again?
8                   MS. SMITH:   December '05.
9                   MR. RAVENELL:    December '05.     That's fine, Judge.    So
10      that's 22 F.
11                  THE COURT:   22 F now over objection.
12                  MR. RAVENELL:    Yes.
13                  THE COURT:   So over objection 22 C, D, E, and F, and
14      27 is admitted, but the defense is they're only putting in 27
15      just to balance things out.
16                  MR. RAVENELL:    Correct.
17                  THE COURT:   And not put that in affirmatively.
18                  MR. RAVENELL:    That is correct, Judge.
19                  (Open court)
20      BY MS. SMITH:
21      Q.   Sir, directing your attention to government's exhibit 22 C,
22      page 4.    And all the way on the right hand column, about the
23      third of the way down, skipping the title, there's a passage
24      that begins much has been written and said.
25                  Do you see that?
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1       A.   Yes, I have.
2       Q.   And have you read that passage to the bottom of the page?
3       A.   Yes, I have.
4       Q.   Is that consistent with both your understanding of federal
5       law and Maryland law?
6       A.   Yes, it is.
7       Q.   Okay.   Would you, sir, read out loud that passage?
8       A.   "Much has been written and said about the use of Oxycontin
9       and other Oxycodone and hydrocodone products.          The Board of
10      Pharmacy expects pharmacies to handle these products in the
11      same way that they do all drugs which may be abused.
12                   While COMAR 10.19.03.07 do.     D 1, spells out that the
13      responsibility for the proper prescribing and dispensing of
14      controlled dangerous substances is upon the prescribing
15      practioner.    The corresponding responsibility rests with the
16      pharmacist who fills the prescription.
17                   The pharmacist must balance the problem of possible
18      inappropriate use with the valid needs of the patient.            The
19      December 1999 transmittal sent by the board to all permit
20      holders echo the concerns of the Attorney General of Maryland
21      that the goals of care and pain management might provide
22      adequate pain symptom management.
23                   In order to walk the line between the valid needs of
24      the patient in pain and the pharmacist's responsibility to help
25      control illicit drug use, it is advisable that a relationship
                                                                          179
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1       be established with both the patient and prescriber to gain as
2       much insight as possible.
3       Q.   Would a reasonable pharmacist reading this newsletter in
4       October of 2001 be aware of the corresponding responsibility as
5       required in the standards of pharmacy and in the law?
6       A.   Yes.
7       Q.   Directing your attention, sir, to government's exhibit 22
8       D, the July, 2004 newsletter.       And on page 3, sir, on the right
9       hand column, entitled "Questions for the Practice Committee,"
10      there is a paragraph beginning about halfway down, if the
11      pharmacist has cause to believe.       Do you see that?
12      A.   Yes, I do.
13      Q.   And have you reviewed that paragraph and the next paragraph
14      as well as the whole context of the article?
15      A.   Yes, I have.
16      Q.   And, in your opinion, is this consistent with Maryland law
17      and federal law?
18      A.   Yes, it is.
19      Q.   Could you read those two paragraphs, please?
20      A.   If the pharmacist has cause to believe that the
21      prescription is not being written for a legitimate purpose, the
22      pharmacist has an obligation to not fill the prescription.
23      This is especially an issue when the drug is a controlled
24      substance.    If the pharmacist fills a controlled substance in
25      this case, he or she is in violation of COMAR 10.34.10.08.
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1                  Furthermore, the pharmacist is obligated under this
2       regulation to report the prescriber to the prescriber's
3       licensing board.
4                  A dentist who writes a drug for erectile dysfunction
5       is obviously prescribing outside of the normal course of
6       professional practice.      In this case, the prescription is no
7       longer legitimate, and thus may not be filled.
8                  Furthermore, the board strongly advises the
9       pharmacist to report the prescriber to the prescriber's
10      licensing board.
11                 In fact, if the pharmacist has consulted with the
12      prescriber and the pharmacist has reason to believe the
13      prescription for a controlled dangerous substance was not
14      issued for a legitimate medical purpose in the usual course of
15      the prescriber's practice, the pharmacist is required to report
16      the prescriber to the prescriber's licensing board under the
17      pharmacist code of conduct.
18                 The illegitimate use of controlled substance --
19      Q.   You can stop there, sir.
20                 And, finally, directing your attention to 22 E.        And
21      that would be the April, 2005 Maryland Board of Pharmacy
22      newsletter, the very first page in the left hand column, third
23      paragraph down, it begins the specific area of Maryland
24      pharmacy law.    If you could begin there and read through the
25      end of that page, please?
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1       A.   This specific area of Maryland pharmacy law that affects
2       pharmacists who are filling prescriptions for controlled
3       substances in scenarios such as or similar to the above is
4       found in COMAR 10.19.03.07(C), purpose of issuing prescription
5       21 CFR 1306.04.
6       Q.   Let me stop you right there.      21 CFR, 1306.04 is the
7       federal law?
8       A.   Yes, it is.
9       Q.   Okay.   Continue.
10                   MR. RAVENELL:   Objection, Your Honor, federal law.
11      Q.   The federal regulation.
12                   THE COURT:   Are we reading from the newsletters
13      again?
14                   MS. SMITH:   Yes, sir.   I just asked him to note for
15      the record that when he was reading the Maryland law, there was
16      a reference within it to 21 CFR 1306.04.
17                   MR. RAVENELL:   Objection.
18                   MS. SMITH:   I simply just asked him to stop and tell
19      us again is that the federal law.        I will change the question
20      to is that the federal regulation that he was talking about
21      before.
22                   THE COURT:   I'll overrule the objection.       You may
23      answer.
24      A.   Yes, it is.
25      Q.   And now if you would continue reading after that subheading
                                                                                  182
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1       that cites the federal regulation?
2       A.   Number one, a prescription for a controlled dangerous
3       substance to be effective must be issued for legitimate medical
4       purpose by an individual practioner acting in the usual course
5       of the individual practioner's professional practice.             The
6       responsibility for the proper prescribing and dispensing of
7       controlled dangerous substances is upon the prescribing
8       practioner.    But a corresponding responsibility rests with the
9       pharmacist who fills the prescription.         An order purporting to
10      be a prescription issued not in the usual course of
11      professional treatment or in legitimate and authorized research
12      is not a prescription within the meaning and intent of the
13      Maryland Controlled Dangerous Substances Act, Criminal Law
14      Article Section 5-501, 5-505, Annotated Code of Maryland.               And
15      a person knowingly filling such a purported prescription as
16      well as the person issuing it shall be subject to the penalties
17      provided for violations of the provisions of law relating to
18      controlled dangerous substances.
19                 The wording above appears in Maryland law and in 21
20      CFR 1306.04 of the Code of Federal Regulations.          The above
21      regulation is also applicable to any prescription containing a
22      controlled substance that a pharmacist fills when he or she
23      should have reason to believe it is not written in the usual
24      course of practice for legitimate medical purpose even when the
25      prescriber's contacted and indicates that the medication is
                                                                              183
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1       appropriate.     COMAR 10.34.08, refusing to dispense a controlled
2       substance describes the steps a pharmacist must take for after
3       consulting with the prescriber, he or she decides not to fill
4       the prescription.
5                    Please do not confuse the above responsibilities with
6       the need to fill appropriate prescriptions for patients who
7       have legitimate need for pain relief.        Pharmacists have to be
8       willing to participate in the treatment when palliative care is
9       necessary.
10      Q.   Thank you, sir.
11                   And would a reasonable pharmacist reviewing the
12      Maryland Board of Pharmacy article that you just read a part of
13      from April of 2005, would they be on notice of what the refusal
14      statute says and the corresponding responsibility is?
15      A.   Yes.
16      Q.   Okay.   And what was the name of that article?
17      A.   "Prescriptions Sent Through the Internet."
18      Q.   Sir, do you know in your training and experience if a
19      pharmacy's license indicates that the pharmacy's doing mail
20      order or Internet, does that change their corresponding
21      responsibility in any way?
22      A.   No.
23      Q.   If a prescription is valid under federal law, is there a
24      limit to how many of those valid prescriptions a pharmacy can
25      fill on a given day?
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1       A.   No.
2       Q.   If a prescription is valid under Maryland law, did I just
3       say that, under Maryland law, is there a limit of how many of
4       those valid prescriptions can be filled on any given day?
5       A.   No.
6       Q.   Any state law that you're aware of that limits the number
7       of valid prescriptions a pharmacy can --
8                   MR. RAVENELL:    Objection.    By state law that he's
9       aware of.
10                  THE COURT:   I'll overrule the objection.        You may
11      answer.
12      A.   No.
13      Q.   Have you ever heard in your position, sir, as the Executive
14      Director of the National Association of Boards of Pharmacy, in
15      your training and experience of the DEA, or any state
16      regulating authority asking a pharmacy to limit the number of
17      prescriptions it fills in a single day?
18      A.   No.
19      Q.   Can you think of any reason why the DEA or any state
20      regulated authority would do such a thing?
21      A.   No.
22                  MR. RAVENELL:    Objection to what he can think of.
23                  THE COURT:   Well, I'll sustain the objection and ask
24      the jury to disregard the answer.
25      Q.   Finally, sir, if all you knew about this case were the
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1       number of prescriptions issued in 22 months, 122,549, and that
2       108,456 of them, or 88 percent, were for hydrocodone that 11
3       doctors wrote more than 98 percent of those prescriptions, and
4       that the doctors were mostly in Florida and the patients were
5       in 49 states and the District of Columbia, if that is all the
6       information that you had, would your opinion change the opinion
7       in question is whether the opinion that you've given is that
8       the pharmacists of New Care who filled the Internet
9       prescriptions were not acting within the standards of
10      professional practice, if that is all the information you had,
11      would that opinion change?
12      A.   My opinion would not change.
13                 MS. SMITH:    Thank you, sir.     I have no further
14      questions, Your Honor.
15                 THE COURT:    Good.    Thank you.    If I could see
16      counsel, please?
17                 MS. SMITH:    Your Honor, I do have one last question.
18      Sorry.   One last question.      I told him to remind me.
19      BY MS. SMITH:
20      Q.   Sir, are you being paid for your appearance here?
21      A.   No, I'm not.    I do this as part of my responsibility to
22      help the states protect the people --
23                 MR. RAVENELL:     Objection.
24                 THE COURT:    I'll sustain the objection.
25                 MR. RAVENELL:     Move to strike, the answer is no, I
                                                                                 186
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1       understand.
2                    THE COURT:   Right.   I will strike the answer so that
3       the answer is no, he is not.
4       Q.   Okay.   Is the government is reimbursing you for your travel
5       expenses?
6       A.   Correct.
7                    MS. SMITH:   Thank you.   No further questions.
8                    THE COURT:   Thank you.   If I could see counsel
9       briefly, please?
10                   (At the bench)
11                   MR. RAVENELL:    Your Honor, I'm going to be a while
12      with this witness, as you may suspect.         There are a couple of
13      issues that I know, for example, the government has indicated
14      they're going to be calling a medical examiner tomorrow, and we
15      want to bring up an issue with the Court about that.              And there
16      are couple other notes.       The jury instructions we wanted to
17      talk to the Court about, the jury instructions that we were due
18      to get some to you by the end of the day, I tried speak to your
19      clerk earlier.     He was tied up.
20                   THE COURT:   If they're all boilerplate.
21                   MR. RAVENELL:    I thought we were to get more than
22      just boilerplate.
23                   THE COURT:   Oh.   His piece of the puzzle, I've only
24      gone through the boiler plate.
25                   MS. SMITH:   I think he's talking about the ones he
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1       owes the Court.
2                    MR. RAVENELL:   That's what I want to talk to this
3       Court about that as well as other issues.         I was going ask if
4       we could break and discuss those issues.         And I mean I'll
5       soldier on tomorrow and be a while with this witness.
6                    THE COURT:   How long do you think you'll be with him,
7       any feel?
8                    MR. RAVENELL:   I would say two to three hours, maybe,
9       I guess.     I can't imagine more than that.      I've looked at my
10      notes, and I'll obviously review it again tonight and try to
11      incorporate what went on here today so that I can make it flow
12      as quickly as possible and may take out some things based on
13      some of the rulings the Court made earlier.
14                   MS. SMITH:   Yes or no answers don't take very long.
15                   MR. RAVENELL:   I don't think that's what it will be.
16      I have a feeling it won't be --
17                   THE COURT:   Good.
18                   MR. RAVENELL:   -- yes or no answers.
19                   THE COURT:   And then who else is in your panoply of
20      witnesses?
21                   MS. SMITH:   We're in a position where we have two
22      more witnesses from out of town.       Unfortunately, Mr. Catizone
23      will be spending the night, which was not planned.           We have two
24      more already here and another one that is expected tomorrow.
25      Those witnesses are Paul Short, Agent Wood-Brown, and Dr.
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1       Lewis, who is the medical examiner from Tennessee.           I'm
2       actually thinking maybe we need to call her off and put her
3       back on for Wednesday.
4                    Finally, our last witness is an IRS Agent Bennett
5       Strickland, who recovered one document at New Care.           And that
6       would be it for the government's case, barring something
7       unforeseen.
8                    THE COURT:   So is the only one of any length, is
9       Wood-Brown going to be long?
10                   MS. SMITH:   I don't think so, but I sort of never
11      imagined that Mr. Catizone would be all day.          I don't think any
12      of them are particularly long.       There's still a chance we could
13      rest by the close of business tomorrow.         Otherwise, it will be
14      Wednesday.
15                   THE COURT:   And is there any feel for how long your
16      case is going to be?
17                   MR. RAVENELL:   Judge, I don't know, because one of
18      the things that's going to determine is whether the defendants
19      testify.     If they testify, I would suspect Mr. Sodipo will be
20      on the stand for a couple days, you know, between direct or
21      cross at least a day maybe longer.
22                   THE COURT:   Let's assume they don't.
23                   MR. RAVENELL:   Assume they don't, Judge?       If we start
24      on Wednesday, I think we could get all of our testimony on by
25      Monday.
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1                  MS. SMITH:    Your Honor, can we get a copy of the
2       defendant's witness list and the order that they're calling
3       them?
4                  MR. RAVENELL:     When you finish your case.
5                  MR. BUDLOW:     That gives us --
6                  MS. SMITH:    That gives us maybe minutes.
7                  MR. BUDLOW:     We've been giving them notice as we go
8       along.
9                  MR. RAVENELL:     Knock off list we submitted to the
10      Court just as you do, what you've been doing is giving the us
11      the witnesses.
12                 MS. SMITH:    Maybe tomorrow you'll give us your
13      witnesses for Wednesday.
14                 THE COURT:    So it would be tomorrow.       So you need to
15      tell them tomorrow who's coming Wednesday.
16                 MR. RAVENELL:     And if that chances, obviously, as
17      they've done with us, if it changes.
18                 THE COURT:    If it changes, they have to have some
19      good faith assessment.
20                 MR. RAVENELL:     Sure.   Absolutely.
21                 THE COURT:    Who's coming the next day?
22                 MR. RAVENELL:     Now, Judge, at some point, I know
23      we're going to need to, once the government's rested, we expect
24      there's going to be at least some argument on some of these
25      issues about where we go on the JOA issues.         I fully expect it
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1       to be to make some arguments on this point and not just rest on
2       the JOA issues.     So we need to work that in as well.
3                  THE COURT:    Well, you have the motion for directed
4       verdict, which I can always table.        But then you have the
5       motion on the conspiracy.
6                  MR. RAVENELL:     Right.   Which I think the Court has to
7       hear us on before we decide to put on a case, you know, because
8       we need to know whether they are dealing with those issues in
9       the case or not, we should not be I mean that's my thoughts.
10      Obviously, we can talk about those things.
11                 THE COURT:    Why don't we do this, let me excuse the
12      jury, only 10 minutes left, tell them I'll see them tomorrow at
13      9:30.
14                 (Open court)
15                 THE COURT:    Ladies and gentlemen, we're going to
16      break for the day and come back tomorrow at 9:30 in the
17      morning.   Mr. Ravenell has a substantial cross-examination of
18      the witness and needs to get his exhibits ready so we only have
19      20 minutes left.     So instead of taking a recess for 10 minutes
20      and starting up again with only 10 minutes left to go, we might
21      as well just break for the day.
22                 We will start tomorrow at 9:30 a.m., and we should be
23      able to start promptly at 9:30.       So if you could all shoot to
24      be here on time.
25                 And remember the standard admonitions that you now I
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1        assume know by heart.       So I look forward to seeing you
2       tomorrow at 9:30.       I'm going to stay with counsel.      Thank you.
3                    Thank you.   You are excused until tomorrow at 9:30.
4       Have a pleasant evening.
5                    (Jury recessed)
6                    MS. SMITH:   We'll just be in our offices.       We'll be
7       down shortly.
8                    (Pause.)
9                    THE COURT:   Good.   Please be seated.     The record will
10      show that the jury has retired.
11                   Mr. Ravenell, you had an issue with --
12                   MR. RAVENELL:   Yes, Your Honor.
13                   THE COURT:   -- that medical examiner?
14                   MR. RAVENELL:   If I understood Miss Smith, they
15      intend to call the medical examiner probably on Wednesday.
16      What I will do, we've been working, Mr. Morrow and me, on my
17      time getting a motion in limine to exclude the testimony of
18      this witness.     I have a draft here.
19                   What I will do, Judge, is I can probably file this
20      tonight so if the Court will have it as well as the government.
21      I need to review the last draft with Mr. Morrow sent to me,
22      which I'm told is last copy was just sent.         But I do have a
23      copy.   I think I'm going to review this.        We'll get it to the
24      Court tonight, the government tonight, on a motion to exclude
25      Dr. Lewis.
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1                  Now, I just want to make sure, Your Honor, I was
2       trying to determine from the government whether they intend to
3       call both medical examiners or just one, and Miss Smith was I
4       think trying to tell me what she was going to do, and I yet
5       have -- don't have whether they're going to be calling both or
6       one.   But if they're calling both, I need to amend the motion
7       to address both of those medical examiners.         If they're only
8       calling one, then I will only deal with one intended to call.
9                  THE COURT:    What generally is the ground on which you
10      seek exclusion?
11                 MR. RAVENELL:     Yes, Your Honor.     It's the late
12      disclosure, again, of information regarding these witnesses.          I
13      will tell the Court that basically we got is a autopsy report.
14                 Now, these witnesses have never been designated as
15      experts.   We've asked over and over who the government will be
16      calling as expert witnesses.       These witnesses have never been
17      disclosed as being witnesses to be called as experts even to
18      that this day they haven't been disclosed.
19                 I'm filing a motion to exclude them, even though they
20      have not yet been disclosed as an expert, because I've been
21      told they're going to be called.
22                 THE COURT:    Good.    Thank you.    Miss Smith, on the
23      disclosure issue?
24                 MS. SMITH:    Your Honor, the autopsies were provided a
25      year ago, something like that.
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1                   In the ordinary course of criminal practice, that's
2       disclosure, Your Honor.
3                   Did we follow the same rulings we're doing for these
4       other experts?      No.   We have provided the autopsy report.     It
5       has the basis of the conclusions of the doctor.          It has the
6       doctor's opinion.      It has the doctor's qualification as medical
7       examiner.   I'm not sure what else there would be to give him.
8                   MR. RAVENELL:     Your Honor, I've never seen a medical
9       examiner report that hasn't been qualified as an medical
10      examiner.   What the report simply submits here is a medical
11      examiner's report that says this person died and tat the
12      conclusion is he died of this.
13                  I'm waiting yet to get one.      We don't even have a CV
14      for these medical examiners.       We have never received one.     So
15      and this will all be addressed in our written papers, but,
16      Judge, are those are the general issues.         I've tried many, many
17      murder cases, as both of these attorneys, and I can tell Your
18      Honor that never once has anyone shown me a medical examiner
19      report which I have both here that gives me any background
20      about the medical examiner.       It simply is an autopsy report.
21                  THE COURT:    Good.   I will look at it when it's filed,
22      and then I'll be prepared to rule.
23                  Good.   And then are there any other in limine issues,
24      Mr. Ravenell?
25                  MR. RAVENELL:     Your Honor, it was another issue I'm
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1       trying to --
2                  MS. SMITH:    Something about Mr. Short?
3                  MR. RAVENELL:     Yes, Mr. Short, Your Honor.
4                  Thank you, Miss Smith.      I was trying to remember what
5       it is, and I appreciate it.
6                  Your Honor, on Friday -- I apologize talking to the
7       Court with my back to you, I'm trying to find something.
8                  THE COURT:    No.   Take your time.
9                  (Pause.)
10                 MR. RAVENELL:     The Court, where you have that the
11      government had Mr. Short on the stand last week, and the
12      government disclosed to the defense some additional charts that
13      Mr. Short was prepared to testify about, and the Court found
14      that with the late disclosure of those charts that Mr. Short
15      would not be allowed to testify about those particular charts
16      at the time until certain documents were provided to the
17      defense to review.
18                 We were given at the time government exhibit 90-1 and
19      I believe through 14, which we have, Friday we received from
20      the government, not a chart, but a stack of documents that is
21      entitled New Care Pharmacy Refills 20 days and under.
22                 And then we were told, and this is by sent by e-mail,
23      says the government's still working on this, and there may be
24      changes, and we'll let you know what the changes are.
25                 Now, I'm not sure whether there are any changes
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1       because to date, I have not received any changes from the
2       government, and it has not been mentioned.         And I know we've
3       all been busy.    But I don't know whether there are any changes
4       to this document one way or the other, but we haven't received
5       any.
6                  Your Honor, here we are again, these -- and I will
7       give the Court a stack of these things, if I have a copy, so
8       you can see what we receive, if I may approach?
9                  THE COURT:    You may, if you would hand them to Mr.
10      Shea, please?
11                 MR. RAVENELL:     Yes.
12                 (Pause.)
13                 MR. RAVENELL:     Yes, Your Honor.     And I don't know,
14      again there are no numbers to tell us at this point how many
15      prescriptions these are, and we just have this, what the
16      government has turned over to us.        I don't know what he intends
17      to do with it.    This is what we have.      So we'll first get the
18      government's proffer what this is, other than the title refills
19      20 days and under, and what are we supposed to do with this?
20                 I will tell the Court, you know, we've spent -- Miss
21      Reamy will tell you hours yesterday with our client, including
22      Mr. McCants's, client trying to deal with some of these
23      particular what we think these issues are.         We did not -- Miss
24      Smith has communicated by email.       I don't know who she
25      communicated with.     She didn't communicate with me or Mr.
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1       Morrow over the weekend.      We got no further email other than
2       the one on Friday from the government about these documents.
3                  I'm not sure what the communication was she was
4       referring to that happened all over the weekend because we
5       didn't have it.
6                  THE COURT:    Good.    Thank you.    What I'll do is I'll
7       then ask the government, Miss Smith, is this a Rule 1006
8       compilation?
9                  MS. SMITH:    It is, Your Honor, and it's a compilation
10      from government's exhibit 89.1, which is already in evidence.
11      It's that monster box that has all 122,000 plus prescriptions
12      in it.
13                 It is right out of the New Care computers, which
14      information was available to Mr. Ravenell.         When I sent him
15      that information on Friday, the chart that he's provided to the
16      Court, number one, it was in an X-cel Spread Sheet.           And I know
17      counsel could have easily totaled the number of lines if that
18      was his concern.
19                 I also, which Mr. Ravenell didn't point out to the
20      Court, told him that this chart was drawn from the New Care's
21      computers by Mr. Short, who was then going to spend the weekend
22      manually checking it to make sure that there was no
23      double-counting, and there were no mistakes between names, and
24      if the document changed, it would enure to the defendant's
25      benefit.
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1                   In other words, this was as bad it was going to be,
2       and it would possibly be better.       I gave it to the defense as
3       soon as I had it.
4                   And, again, it is merely a summary of what is already
5       in evidence, and of what the defendants have had for quite some
6       time.
7                   This is from the defendants' server, and it is a full
8       five days before he testifies.
9                   THE COURT: Good.    And so I think I have a handle on
10      this.   Mr. Ravenell, are there any other?
11                  MR. RAVENELL:    Yes, Your Honor.     And continuing with
12      that point, Judge, which is that the information that the
13      government has given in this stack of, I don't know, I still
14      haven't heard whether there were any changes to this, I heard
15      that we were going to get it, and that Mr. Short was working on
16      it.
17                  The first question is, are there any changes?         And if
18      is there a new document that we'll be receiving is my first
19      question.
20                  THE COURT: Let me ask this, in order to check the
21      veracity of the document, you have to go into the box and look
22      at the individual prescriptions and then check them against the
23      accuracy of this document.
24                  MR. RAVENELL:    Actually, Your Honor, a little more
25      than that, that's part of it.       What the government has given
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1       us, for example, they show that if you look at some of the
2       prescriptions, it says -- well, look at the first one, it says
3       Michael Abatae, days since last prescription 14 days.             What it
4       doesn't have is anything that references when that other
5       prescription was.
6                  So we'd have to go back on each and every one of
7       those to check each and every one of these prescriptions to see
8       when the prescription before that, for example, particularly in
9       the first prescription for a patient was issued, to find out
10      whether in fact there was a prescription that was issued 14
11      days before by New Care, and it has to be done with each and
12      every one of those.
13                 Now, we attempted to do some of that on yesterday and
14      ran into a problem with the server that we have, which is our
15      server that we got back from the government, having a problem
16      getting information from the server, because I don't want to
17      rely on just, you know, the box information.          We want to
18      actually look at what's on the server, and that has not been
19      able to accomplished because there's a problem with that.
20                 So we can't really go into the server right now to do
21      that.
22                 And we had the defendants with Miss Reamy at their
23      office for several hours yesterday, and one of our IT persons
24      today, two IT persons in fact, our head IT person trying to
25      work on that server to get the information so we can properly
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1       review it.
2                    I understand that Mr. Short may testify tomorrow.
3       There's just no way without fully knowing what this information
4       is and whether this is a final copy and then force us to go
5       back and check all these things and not just rely on some paper
6       documents that were produced previously.
7                    I want to actually look at what's in the server based
8       on information my client has given me.
9                    THE COURT:   Thank you.    Are there other in limine
10      motions?
11                   MR. RAVENELL:   Your Honor, the other part of these,
12      one of the documents given to us by the government is a matter
13      regarding Florence Pharmacy.       I'm not sure what that exhibit
14      number is.     It says Foundational Information.
15                   Miss Smith, is there an exhibit number?       It's not
16      being introduced?
17                   MS. SMITH:   No.
18                   MR. RAVENELL:   Okay.     Is there an exhibit with this?
19                   MS. SMITH:   No, sir.     At the last time we were here,
20      I explained that I was going to elicit from the witness the
21      dates.
22                   MR. RAVENELL:   Your Honor, I apologize.      I'm asking
23      Miss Smith a question, but it would be helpful for me that
24      respond if the Court doesn't mind.
25                   MS. SMITH:   The witness was going to be ask the range
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1       of dates that Florence Pharmacy filled for the Florida
2       websites, and the total number of prescriptions that they
3       issued.   That was part of the reason why he was asked to come
4       back, so the defense would have time to look at that evidence.
5       It's from the Offplanet servers, which again have been
6       available to the defense for some time.
7                    THE COURT:   Now, is that part of the exhibits that
8       Mr. Short produced relatively late in his earlier, his
9       testimony in the first time?
10                   MS. SMITH:   This was provided to defense last, the
11      day that Mr. Short was here last.        I don't even remember what,
12      that it was that was part of it.       That's why the Court said he
13      had to come back.     It was that plus some other documents.      And
14      I'm not putting that evidence in, but that document was
15      provided so that they knew what the foundation of the numbers
16      he was going to testify to.
17                   So that they wouldn't have to go searching the
18      Offplanet server for it, they had it right there, because we
19      gave it to them.
20                   THE COURT:   Good.   So this supports the numbers to
21      which he'll be testifying tomorrow?
22                   MS. SMITH:   Yes.    It's just a momentary piece of his
23      testimony.     And then there were the 14 other exhibits that we
24      gave last Monday as well.
25                   MR. RAVENELL:   What I learned over the years, Judge,
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1       is to always be mindful of the momentary testimony.           That's the
2       one that gets you.     So you know just telling me that it's
3       momentary doesn't change whether in fact it should come in or
4       not, and particularly as to this Florence Pharmacy, to have a
5       witness testify about the involvement of Florence Pharmacy and
6       the website group, we move to strike, keep out for other
7       reasons.
8                  It's misleading, first of all.        The DEA did not
9       obtain this information that is on the Off-planet server until
10      Mr. Kaps's business was raided and or arrests, and in either
11      November or December '07, long after the defendants were
12      arrested and long after Mr. Cloud had been involved with the
13      Florence Pharmacy, I've had conversations by Florence Pharmacy.
14                 And what the government is attempting to do is have
15      this witness introduce information about Florence Pharmacy to
16      say, ah, the reason they went after New Care not Florence
17      Pharmacy is because Florence Pharmacy wasn't doing the kind of
18      numbers the defendants were doing.        So go after the defendants
19      and not Florence Pharmacy.
20                 Well, that is so misleading because the DEA didn't
21      have this information.      They had no such information, until
22      they got it from Off-planet server and in 2007 or later.
23                 In fact, this information was turned over to us
24      shortly before Mr. Kaps came to testify.
25                 And Mr. Kaps testifying obviously the first week of
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1       trial we got this information about 30 days or less before Mr.
2       Kaps testified.     That's the first anyone had it.       So to suggest
3       that it should be an introduction of this evidence about what
4       the government learned in 2007 that somehow explains why Mr.
5       Cloud was told not to call Florence Pharmacy in 2006, when the
6       DEA did not have this information, is improper and misleading.
7                   It does not in any way show why the DEA chose not to
8       pursue Florence Pharmacy because they didn't have the
9       information.     And it would be so misleading to have the jury
10      have the information and then take it and act upon it as, oh,
11      this is a reason why they did not pursue Florence Pharmacy.          It
12      should not come into this case, because that's all that it's
13      coming in for.
14                  THE COURT:    Good.   Thank you.
15                  Miss Smith?
16                  MR. RAVENELL:    I'm sorry.    I do you want me to go on
17      to other issues?
18                  THE COURT:    Why don't we leave this one, I'm going to
19      ask Miss Smith the relevance of the Florence Pharmacy
20      information, please.
21                  MS. SMITH:    Yes, Your Honor.     A couple of points.
22      Jennifer Koch testified I believe within the bottles that were
23      recovered and put into evidence were bottles from Florence
24      Pharmacy.   Agent Graumlich also testified that Florence
25      Pharmacy was amongst pharmacies that were involved.           Paul Short
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1       has of course identified it as one of the pharmacies.
2                  But most specifically, Mr. Ravenell specifically
3       asked Mr. Cloud and made frankly very big deal about the fact
4       that he wasn't asked to go after Paul Brand, who was the
5       pharmacist operating Florence Pharmacy.         There have been a
6       number of questions that have hinted at a selective
7       prosecution?    Why are you picking on New Care?        Why aren't you
8       going after these other pharmacies?
9                  Now, Mr. Ravenell's point that the DEA might not have
10      had this information till after the fact is true.          But all the
11      indicia of a pharmacy putting out 10 million doses of
12      hydrocodone versus a substantially smaller amount would have
13      shown up in other places.
14                 That's how the government got involved in the
15      investigation on New Care, because their packages were turning
16      up in Baton Rouge.     Their packages were turning up all over the
17      place.   And that is precisely what got the government involved.
18                 Not because someone gave us a computer printout and
19      said look at what New Care did after the fact.
20                 See, it's for the very same reasons that Florence was
21      not targeted because, compared to New Care, they were a real
22      bit player, and the numbers bear that out.         There wouldn't have
23      been indicia all over the country of these packages.              They were
24      involved for maybe six months.
25                 And I can't remember now off the top of my head.             I
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1       don't know if Mr. Ravenell wants to look at the numbers, but it
2       was a substantially tiny amount in comparison to New Care.         And
3       we think that is a fair showing because we think the defense
4       opened that door and made argument to the defendant, to the
5       jury.
6                  MR. RAVENELL:     Your Honor, if the government had
7       information that they wanted to present about what the
8       government, what the DEA knew about Florence Pharmacy at the
9       time in April of '06, that would be one thing.          But to simply
10      bring in the fact that, oh, we now learned about Florence
11      Pharmacy's involvement and the scale of their involvement a
12      year after the defendants were arrested and that that somehow
13      plays into what the DEA chose to or did not choose to do, quite
14      frankly, does not rebut any points that Miss Smith believes we
15      have unfairly raised.
16                 THE COURT:    Good.    And you had another argument, sir,
17      another motion in limine?
18                 MR. RAVENELL:     Yes, Your Honor.     And Your Honor, we
19      were also given by the government provided a doctor, on Friday,
20      July second, or Thursday, excuse me, that Paul Short will also
21      testify to the totals from Off-planet server, that the total
22      number of customers with unique names as 62,189, the number of
23      prescriptions are 583,367, and the total number of hydrocodone
24      prescriptions was 514,520, and the number of doses of
25      hydrocodone described as reflected in the server was 46,974,176
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1       doses.   And we object to this evidence.
2                  This is certainly not something that the defendants
3       would have had notice of or any red flags for defendant of what
4       was in Off-planet's server that the government seized in late
5       2007 that wasn't even taken from the computer web, from the
6       server until this year.
7                  THE COURT:    And what again is the Off-planet server?
8                  MR. RAVENELL:     The Off-planet server, Your Honor, is
9       the server from the website, you know, Mr. Kaps brought, took
10      information from the website server, and Off-planet, that is
11      Off-planet website, excuse me, server, where the information
12      from IHE and the other websites were stored.
13                 And when Mr. Kaps was talked to in November '07, you
14      know, he in fact took the DEA over to give them certain
15      information off the servers.       And then as you all know, some
16      time later, he came into this Court to testify about
17      information that he had pulled off of the servers, and this
18      information Mr. Short is going to testify to is information off
19      of that server, then information the defendants would not have
20      had any notice of about the 46 million doses of hydrocodone
21      that was dispensed by the website as a whole, websites as a
22      whole, Judge.
23                 THE COURT:    And when did you get the summary exhibit?
24                 MR. RAVENELL:     We didn't get any exhibit.       All we got
25      were these numbers in a letter.       We've gotten no exhibit.     We
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1       just have these numbers.      We have nothing to check it against,
2       other than if we then go back through the server.          This is not
3       even a summary chart.      This is just a letter that says the
4       witness will testify to these numbers, and I guess we can then
5       go through the server, the server and check it all out.
6                  I'm not sure how we're supposed do that, but I guess
7       that's what we're supposed to do.
8                  THE COURT:    Thank you.    On that issue, Miss Smith?
9                  MS. SMITH:    Yes, Your Honor.      While I didn't provide
10      the exact numbers, I advised counsel last week that Mr. Short
11      would be testifying to the totals in the Off-planet computer.
12                 I provided them the totals sort of as an
13      afterthought, but I provided them to him.         They've had access
14      to it.
15                 They have also had, there has also been admitted into
16      this trial a lot of similar information from Adam Kaps, on
17      government's exhibits 2 I and 2 J, reflect data from the web
18      servers, the Off-planet servers on the credit card totals.          2
19      J, again already in evidence, shows the top pharmacies, and the
20      summaries, and what each of the prescriptions, what each of the
21      websites provided.
22                 This information actually may already be in evidence,
23      just in a different form.
24                 I would -- Your Honor, it shows the scope of the
25      conspiracy.    It does not go to notice.       It goes to the size of
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1       the conspiracy, the scope of the conspiracy.          This is what
2       their co-conspirators Dr. Ibanez and Dr. Brooks were doing from
3       the beginning to the end.
4                    THE COURT:   Good.   Thank you.
5                    Mr. Ravenell, are there any other motions in limine?
6                    MR. RAVENELL:   Let me look at my notes, Judge, if I
7       may.
8                    THE COURT:   Good.
9                    (Pause.)
10                   MR. RAVENELL:   I'm trying to think of all of them now
11      before we leave, and I think I've covered them all, Judge.
12      There is another issue that is not a motion in limine, that I
13      need to address with the Court regarding the jury instructions
14      when the Court's ready to hear from me.
15                   THE COURT:   Why don't I hear that about that, then,
16      jury instructions?
17                   MR. RAVENELL:   Your Honor, you had indicated that you
18      were going to give I think to us what you had worked up on the
19      boilerplate instructions and you didn't.         We would then work
20      from what you had, and you were going to try to get that to us
21      last week.     I understand you didn't, it happens, talk about
22      things happens.
23                   I know we called and spoke to Mr. Shea I think on
24      must be Thursday, or Friday, Thursday, and he indicated that
25      you were not able to get those to us yet.         So --
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1                  THE COURT:    Well, think of the jury instructions,
2       there's the beginning boilerplate.
3                  MR. RAVENELL:     Right.
4                  THE COURT:    There is the non standard instructions,
5       and then there's the ending boiler about how they're to
6       deliberate.    I made some mostly cosmetic changes to the
7       beginning boilerplate and he should be able to get--
8                  MR. SHEA:    Should be by the end of the day.
9                  THE COURT:    And then I haven't touched the end
10      boilerplate, but I will do the same.        And I have looked at it,
11      but I have not changed the middle because I want to see what
12      you have to say about it.
13                 MR. RAVENELL:     I was going ask whether we could get
14      that to you by the end of the day tomorrow versus today because
15      we've been working on these other matters that have come up.
16      We were short an office.      Mr. Morrow had to leave early today
17      for a matter with his son, excuse me, so he couldn't finish it
18      up for me to review.     So I ask to get it to you tomorrow.
19                 THE COURT:    So this is all --
20                 MR. RAVENELL:     We're going to do, yes.
21                 THE COURT:    Everything tomorrow, Miss Smith?
22                 MS. SMITH:    Your Honor, Mr. Ravenell has a team.          He
23      has a lawyer that's been writing his cross-examination and his
24      experts for him.     I mean, he has this extensive team.          I'm not
25      real clear why he couldn't make the Court's deadline, but
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1       that's fine.
2                  MR. RAVENELL:     Writing my cross-examination?        Okay.
3       Apparently I do, Judge.      Thanks for telling me.
4                  THE COURT:    I do need, do you have a feel for what
5       the middle section is going to look like?
6                  MR. RAVENELL:     I have a estimated number of pages,
7       Judge, you mean or --
8                  THE COURT:    Well, just whether you have a lot of
9       difficulty with it, whether mostly out of Sand and Siffert, if
10      you --
11                 MR. RAVENELL:     Judge, quite frankly, I do not, but I
12      haven't had a chance to even review.        Mr. Morrow's going to
13      work on the draft.     He and I have had conversations, but what
14      I'm looking for, but I've not even seen the draft at this point
15      which I will do tonight.
16                 THE COURT:    I'll need it tomorrow then by the close
17      of business.
18                 MR. RAVENELL:     You will have it.
19                 THE COURT:    On the co-conspirators, if you could, I'm
20      trying to think through that issue, if we think about the
21      hearsay problems based upon the testimony of co-conspirators,
22      who are they, at least at this point?
23                 MR. RAVENELL:     I'm sorry.    Who are the
24      co-conspirators?
25                 THE COURT:    Who are the co-conspirators who have
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1       offered hearsay?     Who are the co-conspirators who have made
2       statements that the government wishes to attribute to your
3       clients as members of the conspiracy?
4                   MR. RAVENELL:    Your Honor, there would be all the
5       people who were on the phone calls, and I did not write the
6       list out, on the phone calls, Dr. Ibanez, Mr. Brooks,
7       Cammarata, Jason Greene, Jack Kennedy.
8                   THE COURT:   All right.    So they'd be all the people?
9                   MR. RAVENELL:    On the calls.
10                  THE COURT:   That's a manageable, and I have a handle
11      on those.
12                  MR. RAVENELL:    I don't know if the Court is
13      indicating that the texts are not part, there's Miss Walker, I
14      guess, who testified.
15                  THE COURT:   The second would be --
16                  MR. RAVENELL:    I'm sorry.
17                  THE COURT:   The second theoretical group would be the
18      pharmacists who worked at New Care, but I don't think that
19      there were many.     We didn't have a lot of hearsay statements.
20      I'm trying to remember.
21                  MR. RAVENELL:    I don't think there were a lot from,
22      you know, Mr. Hartwill, you know, is not a part of the
23      conspiracy the government has indicated, so we're not worried
24      about -- I'm trying to think Miss Walker is the only pharmacist
25      who has testified who worked at New Care other than Mr.
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1       Hartwill.
2                   So now there are statements that, for example, miss
3       Brinnegar has indicated those people made, Robin Brinnegar,
4       indicated she spoke to Miss Jones and spoke to Miss Walker.
5                   THE COURT:   Before we get there, let's talk about
6       Miss Walker.
7                   MR. RAVENELL:    Yes.
8                   THE COURT:   The only statements that can I recall
9       that she testified about were statements that she said were
10      relayed to Mr. Sodipo and/or Mr. Nwaehiri, so I don't remember
11      from her any statements that she made.
12                  For example, she didn't say I had a conversation with
13      another pharmacist at New Care who said X, Y, and Z.              And that
14      and X, Y and Z was not related to one of the defendants.             I
15      just don't remember that.
16                  MR. RAVENELL:    Your Honor, again, Your Honor, I have
17      not done that, gone through my notes about all these witnesses,
18      which I would certainly intend to do before we have a hearing
19      on it to refresh my recollection.        I don't want to tell the
20      Court that I recall exactly either what Miss Walker said about
21      whether there was information communicated to her that or
22      didn't get to Mr. Sodipo.
23                  I don't recall, to be honest with you.
24                  THE COURT:   And the next would be we had some
25      testimony from other people about their conversations with New
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1       Care pharmacists.
2                  MR. RAVENELL:     Correct.    Robin Brinegar testified
3       about conversations she had New Care pharmacists, and those
4       were not, is my recollection, communicated to Mr. Sodipo.         She,
5       Miss Brinegar, testified about the conversation she herself had
6       with Mr. Sodipo, but was also allowed to testify about
7       conversations she had with other pharmacists, particularly
8       Latia Jones, Ruth Walker, and I believe Abu Abraham, but I'm
9       not sure on the Abraham part.
10                 THE COURT:    And these are conversation that Miss
11      Brinegar had with the other pharmacists?
12                 MR. RAVENELL:     Right.   But were not communicated to
13      Mr. Sodipo.
14                 THE COURT:    Then can you think of anyone else I
15      should be thinking about?
16                 MR. RAVENELL:     I'm trying to think.      I know others,
17      Kelly and Ryan indicated, they spoke directly to Mr. Sodipo,
18      but I think they also indicated they spoke to other
19      pharmacists.
20                 At least I know Miss Ryan said she spoke to other
21      pharmacists is my recollection.       Again don't hold me to it, but
22      that's my recollection.      And I don't recall whether Miss Kelly
23      said she spoke to other pharmacists or not, that I don't
24      recall.
25                 THE COURT:    And then testimony from Adam Kaps, I know
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1       he testified about talking to Ibanez and Brooks, but I was
2       trying to think about his conversations with New Care, and I'm
3       sort of drawing a blank.
4                  MR. RAVENELL:     I think he said he doesn't have any
5       recollection of speaking to anyone at New Care, but he did
6       testify as to the Court indicated about conversations he had
7       with these other individuals.
8                  THE COURT:    So it seems as though it's a fairly
9       manageable group.
10                 MR. RAVENELL:     Manageable as long as we can all
11      recall and after weeks of testimony, but I'm sure we'll all
12      review our notes and do the best we can.
13                 THE COURT:    Good.    So we'll start tomorrow at 9:30.
14                 Miss Smith, anything else we need to be talking
15      about?
16                 MS. SMITH:    No.
17                 THE COURT:    Good.    Thank you.
18                          (Proceedings adjourned)
19                     I, Jacqueline Sovich, RPR, CM, do hereby certify
        that the foregoing is a correct transcript from the
20      stenographic record of proceedings in the above-entitled
        matter.

21                 ___________________________________________________
22                 Jacqueline Sovich                              DATE
                   Official Court Reporter
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2                              I N D E X
3       WITNESS                 DIRECT     CROSS    REDIRECT     RECROSS
4       Carmen Catizone              22
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